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        CERTAIN TINDERWRITERS AT LLOYD'S, LONDON, SYNDICATES 26231623

    SOLUTIONS RECOVERY CENTER, LLC, DANIEL J. CALLAHAN, SEAN CALLAHAN,
                          ANd RICHARD GLASER




          EXHIBIT A
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF F'LORIDA

     KIPU SYSTEMS LLC,
     a Florida limited liability company,
                                                                 Case No.
            Plaintift
                                                                JURY TRIAL REQUESTED

                                                                PRELIMINARY INJUNCTIVE
     ZENCHARTS LLC, a Florida limited liability           RELIEF REQUESTED
     company, ZEN MEDICAL,LLC, an
     administratively dissolved Florida limited liability
     company, SOLUTIONS RECOVERY CENTER, LLC,
     a Florida limited liability company, SOLUTIONS
     RECOVERY, LLC, an administratively dissolved
     Florida limited liability company,
     WEBSITE CONSULTANTS INC., a Florida corporation,
     CALLAHAN HOLDINGS, INC., an administratively
     dissolved Florida corporation, RICHARD 'RICK' GLASER,
     an individual, KEITH HOULIHAN aIWaKEITH HOOTIE,
     an individual, SEAN CALLAFIAN, an individual,
     DANIEL J. CALLAHAN, an individual,
     SEAMUS CALLAHAN, an individual,
     YANKO KARKALICHEV, an individual, and
     ANTON ALADZHOV, an individual,

            Defendants



                                              COMPLAINT

            Plaintiff, KIPU SYSTEMS LLC ("Kipu"              or the "P-lgin!i-ff'),   sues Defendants,

     ZENCHARTS LLC ("ZenCharts"), ZEN MEDICAL, LLC ("Zen Medical"), SOLUTIONS

     RECOVERY CENTER,           LLC    ("S_olu!iou!._   Becqvefy"), SOLUTIONS RECOVERY LLC

     ("SRL"), WEBSITE CONSULTANTS INC. ("Website Consultaffi"), CALLAHAN
     HOLDINGS, INC. ("Callahan Holdines"), RICHARD 'RICK' GLASER ("Glaser"), KEITH

     HOULIHAN a/k/a KEITH HOOTIE ("Houlihan"), SEAN CALLAHAN ("Sean Callahan"),

     DANIEL J. CALLAHAN ("Dan Callahan"), SEAMUS CALLAIIAN ("Seamus Callahan"),

     YANKO KARKALICHEV ("Karkalichev"), and ANTON ALADZHOV ("Aladzhov") (Zen
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     Charts, Zen Medical, Solutions Recovery, SRL, Website Consultants, Callahan Holdings, Glaser,

     Houlihan, Sean Callahan, Dan Callahan, Seamus Callahan, Karkalichev, and Aladzhov are

     collectively referred to as the "Defendants") for: (a) Violations of the Defend Trade Secrets Act

     of 2016 (18 U.S.C. $ 1836(b) et a[); (b) Civil Conspiracy to Commit Trade                 Secret Theft; (c)

     Violations of Florida's Computer Abuse and Data Recovery Act (Fla. Stat. $ 668.801 et at); (d)

     Conversion       of   Confidential and Proprietary Information;         (e)    Trespass   to   Chattels; (0

     Counterfeiting of a Registered Trademark (15 U.S.C. $ 1116(dX1)); (g) Willful Infringement of

     a Rcgistcrcd Trademark (15 U.S.C. $ 111a(1)); (h) Federal Unfair Competition (15 U.S.C.                   $


     ll25(a)); (i) Florida Common Law Unfair Competition; fi) Violations of the Florida Deceptive

     and Unfair Trade Practices      Act (Fla. Stat. $ 501.201 et at); (k) Florida Common Law Breach of

     Terms of Service; (l) Florida Common Law Breach of License Agreement; and (m) Florida

     Common Law Tortious Interference with Business Relationships.

                In support of these thirteen causes of action, Kipu states   as   follows:

                                                INTRODUCTION

                L      The Defendants deceived and defrauded Kipu, and engaged in an orchestrated,

     illicit   scheme to steal Kipu's valuable trade secrets and intellectual property. These actions were

     taken to illegally develop copycat software, called "ZenCharts", which would compete with

     Kipu's industry-leading, proprietary electronic medical records (EMR) software called the "Kipu

     EMR System." Kipu has consequently suffered damages in an amount not less than

     $30,000,000.00, and demands          a preliminary and permanent injunction against Defendants
     including ZenChafis, and other relief set forth below.




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                                        STATEMENT OF FACTS

        Kipu Becomes the Industry Leader in Cloud-Based Electronic Medical Records for the
                                  Addiction Treatment Industrv

             2.     Kipu is the leader in cloud-based EMR specifically designed for drug and alcohol

     addiction treatment centers.

             3.     Drug and alcohol addiction represents an unfoftunate and growing epidemic in the

     United States. Recent statistics released in2016 by a U.S. Surgeon General report show: (a)

      over 22 million Americans struggle with substance abuse, (b) 58,000 Americans died of

     addiction related causes in 2016, and (c) over 66 million Americans reported they had abused

     drugs or alcohol in the past year. The result of the foregoing represents a $442 billion impact on

     our economy. In August 2017, President Trump announced that the "'opioid crisis" was               a

     national emergency.

            4.      Approximately seven years ago, Kipu's founders recognized the alarming and

     unfortunate escalation   of drug and alcohol addiction. They also understood how addiction
     treatment centers were strained to deliver effective treatment solutions due to the vast records

     that needed to be maintained, and the difficulty in offering access to such information to the

     treating clinician. Accordingly, Kipu's founders reahzed a true need for a robust, flexible and

     effective EMR system and related technology necessary to help automate addiction treatment

     centers, to allow them to better deliver improved care with better patient outcomes.

            5.      After thousands of development hours and millions of dollars spent                on

     programming and development, Kipu created the Kipu EMR         Syste       first of its kind, unique

     EMR system that improves addiction patient care through the innovative use of technology. In

     creating this breakthrough technology, Kipu worked hand-in-hand with several addiction




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     treatment centers to understand the demands of the industry, and met with doctors, medical staff

     and clinical staff at various addiction treatment centers.

            6.       The Kipu EMR System automates addiction treatment centers and enables them

     to deliver improved care when treating those sulfering fiorn drug and alcohol addiction. Kipu's

     advanced EMR system automates the entire episode              of care in addiction treatment including

     detoxification, residential treatment, intensive outpatient treatment, as well as aftercare. The

     innovative technology eliminates paper medical forms, helping clinicians treat patients by

     automating assessrnents, diagnosis, history and physicals as well as creating treattnent plans. In

     shoft, the Kipu EMR System allows clinicians to deliver better overall patient care and increased

     productivity.

             7.      In or about September 2012, the Kipu EMR System was launched. As a unique

     and proprietary cloud-based system, the Kipu EMR System was created to enable scalability and

     to allow the medical clinician the ability to access the technology via smart phone, tablet, PC,

     laptop and/or any other Internet-connected device. Prior to the Kipu EMR System, no such

     cloud-based EMR technology was available in the addiction recovery industry.

             8.      Since its inception, Kipu has spent millions         of dollars to create, market   and

     promote the Kipu EMR System. The software has since gained considerable notoriety in the

     addiction treatment industry. Over 480,000 patients have been treated using the Kipu EMR

     System. Today, it is used by some 1,300 treatment facilities worldwide.

             9.      Kipu's rapid success is based on its development and creation of valuable trade

     secrets found   in the underlying computer architecture and design of the Kipu EMR             System.

     Examples of such trade secrets include the OTO@ Program, a proprietary algorithm for assisting

     in treating patients; the "Urgent Issue" feature; easy laboratory ordering interface and related



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      functionality; and the "Golden Thread" feature which connects the entire patient treatment

     process.

             10.       Kipu engages in appropriate efforts to register, protect, and if necessary enforce

     its intellectual property. Kipu owns five issued Federal trademark registrations before the United

     States Patent    & Trademark Office ("USPTO"), including Trademark Registration No. 4,442,687,

     for the mark KIPU, in International Class          9.   Kipu also owns United States Copyright

     Registration No. TX0008280027 entitled "Kipu EMR" having an effective date of December 22,

     2016 (listing a first publication date   ofApril27,2012).

             1   1.    One of the many unique and proprietary programs within the Kipu EMR System

     is the aforementioned "One Time Only" algorithm, which is extensively marketed and promoted

     under the distinctive trade name OTO@ and protected by Trademark Registration No. 5,727,508

     (the "OTO Mark").

             12.       This groundbreaking program (the "OTO Proeram") allows clinicians to create     a

     record of disruptive patients who negatively affect others in the facility, often by bringing drugs

     into a treatment facility. Clinicians in the drug and alcohol treatment industry have come to

     recognize and associate the OTO Program as one of most identifiable and beneficial protocols

     found in the Kipu EMR System. Attached as Exhibit A is a true and correct copy of the USPTO

     prosecution history of the OTO Mark.

            13.        Based on the foregoing,   Kipu has created considerable goodwill and reputation

     through the Kipu EMR System, including under the KIPU@ Mark, as well as the OTO@ Mark.

                      Dan Callahan. Sean Callahan-     Richard Glaser's Illicit Scheme
                                 to Steal and Copy the Kipu EMR Svstem

            14.        By February 2013, self-proclaimed recovery "guru" Dan Callahan (owner of

     Coconut Creek, Florida-based Solutions Recovery) noticed the incredible success and value of



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     the Kipu EMR System, and specifically how Kipu had quickly amassed a considerable number

     of addiction treatment center clients.

             15.    Accordingly, Dan Callahan hatched a plan with his son, Sean Callahan, and

     Richard Glaser, the owners of Website Consultants (a soliware development and progratnttring

     company). The plan was simple: approach Kipu under the false pretense that Dan Callahan's

     drug treatment center, Solutions Recovery, was interested in purchasing a license to use the Kipu

     EMR System, gain access to the Kipu EMR System, and then create a copycat EMR product

     without having to spend nrillions of dollars and thousands of hours developing the software.

             16.    Dan Callahan, Sean Callahan and Glaser had already come up with a name for the

     copy-cat EMR program: "ZenCharts". On February 23, 2073, Glaser purchased the domain

     name www               .com.      The three would soon engage Website Consultants' various

     international programmers-including Bulgarian-based Karkalichev and Aladzhov-to assist in

     their conspiracy to steal Kipu's trade secrets through improper logins to the Kipu EMR System.

     In or about August 2013, Glaser and        Sean Callahan were added as managing members to

     Solutions Recovery's publicly available corporate documents with the State of Florida. This

     deception served   to legitimize all of Glaser and      Sean Callahan's inquiries   to Kipu through

     Solutions Recovery.

             17.     With the foundation of their illicit scheme in place, Dan Callahan, Sean Callahan

     and Glaser reached out to      Kipu and expressed interest in licensing the Kipu EMR System for

     Solutions Recovery. However, Kipu was never made aware that Sean Callahan and Glaser were

     also the owners of a software development company, Website Consultants.

             18.     On or about October 1,2013, Kipu provided an in-person demonstration of the

     Kipu EMR System to, among others, Dan Callahan, Sean Callahan, and Glaser at Solutions

     Recovery's facilities (under the representation all three were managing members/officers at

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      Solutions Recovery). This demonstration highlighted the Kipu EMR System's features without

      revealing any proprietary information or trade secrets.

               19.    A week after the demonstration, on or about October 8, 2073, Solutions Recovery

      entered into a binding, non-exclusive software license agreement with Kipu (the "2013 License

     Agreement") for purposes of limited and restrictive use of the Kipu EMR System at Solutions

     Recovery's Coconut Creek facility. A true and correct copy of the 2073 License Agreement,

      executed by Glaser as the purported CFO     of Solutions Recovery, is attached   as   Exhibit B. By

     that time, the Kipu EMR System had been launched for over a year and had considerable praise

     and traction in the addiction treatment and recovery industry.

               20.    Kipu then began the laborious task of implementing and customizing the Kipu

     EMR System under its licensing terms with Solutions Recovery.

               2I.    About one week later, Solutions Recovery obtained three "super Admin" log-in

     credentials to the Kipu EMR System. These logins would provide Glaser, Sean Callahan, Dan

     Callahan, and their co-conspirators, with expanded access and review rights to the Kipu EMR

     System.

             22.      Through use   of his "Super Admin" log-in credentials        (username: dcallahan;

     associated e-mail: dan@solutionsrehab.com) Dan Callahan, as Solutions Recovery's managing

     member and      CEO (or   someone to whom he provided unauthorized access) signed into the Kipu

     EMR System 52 separate times over the course of only one month (from October 15, 2013 to

     November 15,       2013). That      volume   of   entries, relative   to   other Kipu clients,   was

     disproportionately high and could only be explained by an effort to misappropriate the Kipu

     EMR System. Solutions Recovery's website, https://www.solutionsrehab.com/meet-our-team/

     identifies Dan Callahan as Solutions Recovery's curent CEO (last viewed December 29,2017).




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               23.      The 2013 License Agreement obligated Solutions Recovery, as well individuals

     using login credentials provided by Solutions Recovery, to agree (via click-through) to Kipu's

     Terms of Service      ("TOS"). Moreover, the 2013 License Agreement statedthatthe most current

     version of the TOS would apply to any use of the Kipu EMR System and that the TOS "may be

     revised by fKipu] from time to time, without prior notice."

               24.      The TOS were updated in Januar y 2014 (becoming effective on January         6,2014)

     the "2014 Kipu TOS"). The 2014 Kipu TOS governed and restricted Solutions Recovery's use

     of the Kipu System, as well as those to whom login credentials were provided. Specifically, thc

     TOS stated that the:

               Structure, organization, flows, processes, and source code of the Service
               (collectively, "Intellectual Property") are the valuable trade secrets and
               confidential information of Kipu Systems, LLC.

     See    Exhibit C.

               25.       The 2014 Kipu TOS also expressly limited the permissible scope of use of the

      Kipu EMR System. System users were "authorized only to use the Service for legitimate

      business purposes      in relation to site-level administration of   its   facility". The 2014 Kipu TOS
      further stated that "[e]xcept as expressly permitted in writing by Kipu Systems, LLC, User may

      not modify, port, adapt, or translate the Service" Id. (emphasis added),

               26.       Users having access log-ins to the Kipu System were further prohibited to:

                         reverse engineer, decompile, dissemble, or otherwise attempt to discover
                         or reduce to human readable form the source code of the Service [nor
                         could users] access the service for the purposes of copying the flow,
                         process, or any other Intellectual Property belonging to Kipu Systems for
                         the purposes   of   incorporating any such Intellectual Property into a
                         competitive product.

      See   Exhibit C




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             27.     Unbeknownst      to Kipu, from October 10, 2013 until January 16, 2014, Dan
      Callahan, Sean Callahan and Glaser, with Website Consultants' international programmers,

      engaged   in a targeted mission to log into the Kipu EMR System an astonishing amount of

      times-over 150 in total-to review the architecture, functionality, process, flows, capabilities

      and advancements Kipu had developed.

             28.     Unable to replicate the Kipu EMR System on their own, Dan Callahan, Sean

      Callahan and Glaser peppered Kipu's staff with various technical questions, seeking extensive

      details about the inner development and implementation of the Kipu EMR System.

             29.     Under the false impression that Dan Callahan, Sean Callahan and Glaser were

      genuinely interested   in   maximizing the benefits of the Kipu EMR System for their addiction

      treatment center, Solutions Recovery, Kipu earnestly responded to these inquiries.

             30.     On or about November 19, 2013, when it came time for Solutions Recovery to

      pay Kipu for the implementation of the Kipu EMR System, Solutions Recovery flatly stated that

      it would not be using the product,   and needed to pause the service and any bills relating to its

      use. Solutions Recovery also stated that it would only be using paper client files.        Indeed,

      Solutions Recovery paid       just $2,000 of the $10,000 due to Kipu for Kipu's             custom

      implementation and extensive technical support.

             31. In fact, Solutions       Recovery would then use their existing login credentials to

      create yet another additional "Super   Admin" login, listing a Solutions Recovery e-mail   address.

     However, the additional "Super Admin" credential was not for an actual Solutions Recovery

     employee. Instead, it was created for Karkalichev, a Bulgarian programmer serving as Website

     Consultants' Chief Technology Offi cer.




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            32.            On December 2,2013, Solutions Recovery granted Karkalichev "Super Admin"

     uedentials (through use of the email address vanko@solutionsrehab.com) to access the Kipu

     EMR System (the "Karkalichev

            33.            From December 2, 2013 to January 16,2074, Karkaliohev used those credentials

     to access the Kipu EMR System 56 times. Solutions Recovery never disclosed that Karkalichev

     was a software engineer working in Bulgaria for Sean Callahan and Glaser's company, Website

     Consultants.

            34.             Karkalichev also maintains an ofhce               in Plovdiv, Bulgaria, the approximate
     location of the IP addresses used (or attempted to) log in with various usernames to review the

     Kipu EMR System.

            35.             Upon information and belief, Karkalichev orchestrated three unauthorized "put"

     attempts in January 2014 to improperly enter the Solutions Recovery's Kipu account through a

     back-door (which Kipu's security measures successfully thwarted without knowing the source                                     of

     the attempt).

             36.            The chart below summarizes Solutions Recovery's voluminous logins aJier

     "pausing" use of the Kipu EMR System:

                      Name                     User Name      User Name               Last Sign In Date              # of ooSuper
                                                             Creation Date                                          Admin'o Logins
             Sean Callahan             Sdieeles              October 10,2013            January 17,2014                   43
             Rick Glaser               Rickglaser            October 10,2013           November 9,2013                    2
                      n   tt,t   ,_-                         n ^.^1-^-.   1a 4n 1a    \T^-,^---l-^--   I i   aAla         <a
             f,,ail uailartar.t        I   )trAttdudlt       \JULUUEI     tJ1 LV r)

             Karkalichev               Yankokark            December 2,2013               January 15,2014                 s6




             37   .          There is simply no rational explanation why a 24-bed addiction clinic in Coconut

      Creek, Florida would provide unlimited "Super Admin" access to the Kipu EMR System                                         to   a


      Bulgarian-based enterprise level software programmer. Instead, there is only one reason why

      Karkalichev would log-in to the Kipu EMR System:                            to study and misappropriate                  Kipu's


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      workflows and trade secrets, and reverse engineer Kipu's proprietary software in order to create

      a copycat EMR system.

              38.     In fact, Karkalichev was not the only individual that continued to log into         the

      Kipu EMR System for illicit purposes. Sean Callahan's last login was on January 19,2014, and

      Glaser's last login was on January 15,            2014. Both came well after Solutions     Recovery

      represented that it was no longer using the Kipu EMR System.

              39.     Notably, in the approximate 100 days during which the Kipu EMR System was

      active at Solutions Recovery, its clinical director, Matthew Rosen, only logged into the Kipu

      System once,   andfor less than a single minute. It is highly unusual that a clinical director would

      not have the most logins of any user of the Kipu EMR System.

                  ZenCharts' Illicit Financinp and         of its Convcat EMR Svstem.
                                         and Theft of Kipu Clients

              40.     To finance the development of the planned ZenCharts system, Glaser, Dan

      Callahan, andlor Sean Callahan approached Houlihan.

              4L At that time, Houlihan              operated an illegal boiler room out   of Miami   Lakes,

      Florida, selling stock     in a    company called Sanomedics International Holdings, Inc.
                                                                     I
      ("Sanomedics") to elderly and unsophisticated investors.

              42.     Houlihan would later plead guilty for his role in the $23 million boiler room

      scam, and was recently sentenced   to   11 1   months in Federal prison.2




      l See https://wwwjustice.gqv/usao-sdfl/prlmiami-resident-sentenced-15-years-prison-23-million-boiler-
      room-fraud-scheme (Deparlment of Justice, U.S. Attorney's Office, Southern District of Florida press
      release entitled "Miami Resident Sentenced to I5 Years in Prisonfor $23 Million Boiler Room Scheme."

      2
        ,See http://www.miamiherald.com/news/local/communitlz/miarni-dade/miami-
      lakeslarticle164437382.html ("Main Cogs in 523 Million Investment Fraud Get Sentenced to Prison",
      Miami Herald, July 30, 2017).


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             43.      Sanomedics-though Houlihan-agreed             to fund the venture. Houlihan then
     formed two shell companies, "VitaCura LLC" and "Biscayne Medical LLC", each owned by

     Sanomedics and controlled by Houlihan.

             44.      Upon information and belief, Sanomedics' ill-gotten funds flowed to these shell

     companies, and ultimately funded the development and programming              of ZenChafts'   competing

     EMR system by reverse engineering the Kipu EMR System.

             45.      Zen Medical and VitaCura LLC's formation had one purpose: to finance the         illicit

     ZenCharts venture with the proceeds fi'om Sanomedics' $23 million boiler room scam.

     Tellingly, Sanomedics was listed as Zen Medical's sole manager. This allowed for the simple

     transfer   of Sanomedics' illegally obtained funds to        ZenCharts   to bankroll the completion of

      ZenCharts' copycat EMR system, and pay Website Consultant's Bulgarian programmers.

                46. In furtherance of the conspiracy, Sanomedics even moved to 444 Brickell
     Avenue, Miami, Florida-where Kipu is headquartered.

             47.      By June 20l4,Dan Callahan, Sean Callahan and Glaser's had uncovered the bulk

      of the proprietary information needed to create a copy-cat EMR program.

            ZenCharts Launches its Copycat Software and Continues its Surreptitious and
                          Unauthorized Access oi the Kipu EiviR. Sysiem

                48.   In January 2015, ZenCharts launched its copycat EMR system (the "ZenCharts

      System"). By this time, however, the Kipu EMR System had made continued technological

      advancements. In comparison, ZenCharts' copycat EMR service was clearly inferior. However,

      Solutions Recovery had lost access to the Kipu EMR System, since it had failed to pay Kipu, and




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      its efforts to hack into Kipu through older, prior use Solutions Recovery's root and sub-level

      URLs were thwafted by Kipu's security systems.3

               49.     Houlihan, Dan Callahan, Sean Callahan and Glaser then launched the next phase

      of their scheme: third party, disguised access to the Kipu EMR System, and related economic

      espionage to steal Kipu's clients.

               50.     In connection with this phase of the scheme, on or about September 10, 2015, and

     after Kipu turned off access rights under Sean Callahan's "sdiggles" username, Sean Callahan

     facilitated a second username      -   scallahan   -   with an existing third party Kipu EMR     Systems

     licensee (the "Kipu     Client"). The scallahan username was created solely to facilitate            Sean

     Callahan and Website Consultants' continued, unauthorized access to the Kipu EMR System

     without Kipu's knowledge. Indeed, from September 10 to early October 2015, the scallahan

     username obtained from the Kipu Client was used an additional 20 times for purposes of

     reviewing the inner workings of the Kipu EMR System. During this period of unauthorized

     access    to the Kipu EMR System, the scallahan username enabled the Defendants unfettered

     access    to a live treatment facility treating real patients, and containing hundreds of thousands of

     PHI (Patient Health Information) data points protected by HIPAA.

               51.     Many of the September-October 2015 scallahan username's unauthorized access

     originated remotely from computers in Bulgaria, where Karkalichev and Aladzhov maintain

     offices and/or a physical presence, along with potential other ZenCharts System developers.

               52.     These 63 login entries-during the October 10, 2013             to   January 19, 2014

     timeframe and the additional September-October 2015 timeframe-were used to misappropriate




     ' Whil. Kipu was aware of anonymous attempts to hack into its systems,    it was not until recently that it
     discovered these attempts emanated from Bulgaria.



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     the Kipu EMR System, to steal its underlying trade secrets, and to reverse engineer a copycat

     program to unfairly compete against Kipu.

              53.     Once Kipu discovered the "scallahan" account, Kipu checked the IP address

     though which the access was made. Incredibly, the IP address emanated from Bulgaria.

     However, the IP address was not merely located in Bulgaria, it was the exact IP address used to

     attempt to access the Kipu EMR System through older,            prior   use Solutions Recovery's root and

     sub-level UELs.

              54.     Through carly Octobcr 20i5 thc scallahan account loggcd into thc Kipu EMR

      System from the same Bulgarian IP address some 20 times and spent a total of seven hours in the

     Kipu EMR System.

              55.     The reason for the September-October 2015 unauthorized access is clear. After

      developing a copycat system 1n 2013-2014, ZenCharts needed                  to study and replicate new
      functionalities, technical improvements, and updates Kipu programmed into the Kipu EMR

      System-all of which was borne from significant investment and development.

              56,     The unauthorized access not only constitutes a misappropriation                of   Kipu's

      valuable trade secrets, but allowed unfettered access into hundreds of private medical records.

              57.     Patient medical records-and especially those battling addiction-are not only

      sacrosanct, but are protected by   HIPAA.a In stealing Kipu's proprietary information and clients,

      the Defendants have exhibited an astonishing insensitivity and disregard for Federal privacy laws

      and individual patient privacy.




      4   HIPAA  The Health Insurance Portability and Accountability Act of 1996 provides for civil fines and
                  -
      in some cases, imprisonment where medical files containing patient health information ("PHI") are
      accessed by an individual or entity to sell, transfer, or use an individual's PHI for commercial advantage,
      personal gain or malicious harm.



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              58.    Furthermore, the unfettered access permitted ZenCharts to misappropriate key

      Kipu functionalities. As an example, ZenCharts brazenly misappropriated Kipu's                 OTO@

      program-calling     its   copy-cat system the "OTO option"-4 counterfeit and                 a willful
      infringement of Kipu's registered OTO Mark.

              59.    Having relocated     to Kipu's headquarters,      Houlihan    is   believed   to   have

      eavesdropped on   Kipu's communications with Kipu clients. ZenCharts would then target those

      same clients, offering them the copycat ZenCharts EMR system at a steep discount to the Kipu

      EMR System.

             60.     ZenCharts has since employed even more brazen methods to promote the copycat

      ZenCharts EMR system-including offering bribes to Kipu employees for information regarding

      Kipu's technology and customer lists.

             61.     In September 2015, Houlihan officially formed "ZenchartsLLC" with the Florida

      Department of State's Division of Corporations.

              Kipu EMR System Trade Secrets Misappropriated in the ZenCharts System

             62.     The Kipu EMR System is comprised of numerous trade secrets, all of which meet

      the criteria defined by 18 U.S.C. $ 1839(3). These trade seuets are in the form of financial,

      business and economic information, including designs, methods, techniques, processes, and

      procedures which are writings stored or memorialized electronically (as well as in print form).

             63.     Kipu is the sole owner of these trade secrets under 18 U.S.C. $ 1839(4), and the

     only entity that has rightful legal or equitable title to these trade secrets (including those trade

     secrets created prior to the formation of   Kipu in2012).

             64.     Kipu, as the l8 U.S.C. $ 1839(4) owner of the trade secrets, has taken reasonable

     measures to keep this underlying information secret as required   by   18 U.S.C. $ 1839(3XA).




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                65.   The "reasonable measure" standard of 18 U.S.C. $ 1839(3)(4.) is satisfied bythe

     following

                      "by 'not having this information    accessible to the public; only having
                      portions of this information known on a need-to-know basis by those fthe
                      trade secret owner] worked with or employed; having it known that this
                      information was to remain confidential; having fthe trade secret owner's]
                      business accounts password protected; having [the trade secret owner's]
                      business accounts only known to [the allcgcd misappropriator], cxccpt as
                      they were divulged to [those in a] position of trust . . . when acting as fthe
                      trade secret owner's] agent and/or employee for marketing and sales
                      purposes."'

                66.   Kipu's varit-rus reasonable rneasures includes the ernployrnent of written license

     agreements   with prospective andlor actual licensees, obligating users to "click-through" approve

     of Kipu's TOS. The Kipu TOS restricts users and limits the manner they can use the Kipu EMR

     System, and requires the use of user accounts and passwords. The Kipu TOS also have specific

     and express confidentiality obligations as well as prohibitions against reverse engineering andlor

     dissembling of the Kipu EMR System.

                67.   Trade secrets developed and now owned by Kipu, as found within the Kipu EMR

     System include (a) the OTO program, (b) the OTO algorithm, (c) Kipu EMR System workflows,

     and (e) the overall Kipu EMR System architecture (hereinafter collectively referred to as the

     "trade secrets"). These trade secrets were developed over the course of many years and at great

     expense, entirely by Kipu's U.S.-based development team and programmers.

                68.   Kipu's trade secrets are intended for, and used in, interstate commerce through

     their employ within the Kipu EMR System.

                69.   Without the Kipu trade secrets, the functionality and usefulness of the Kipu EMR

     System would be negligible, meaning the Kipu trade secrets derive independent economic value

     from not being generally known and subject to commercial exploitation by competitive third

     parties.


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                70.   The Defendants improperly used and employed the Kipu EMR System in an

     unauthorized manner that violated the Kipu TOS, as the Defendants' unauthorized access did not

     have   a legitimate   business purpose related    to the site-level administration of an addiction
     treatment center.

                71.   As one of many examples, Kipu has created certain system workflows to better

     improve clinical staff effi ciencies.

                72.   This includes, for example, clinical staff signatures for an evaluation, as well as a

      review functionality. Kipu created these fields and inputs to accomplish such evaluations.

                73.   Upon review of publicly available information on the ZenCharts' EMR System,

      such evaluation protocol likewise includes overlap signatures (as well as separate review

      signatures), all having similar fields and inputs.

                74.   The promotion, sale and use of the ZenCharts' EMR System is a continued

      misappropriation of Kipu's trade secrets, which has continued from October 2013 to the present

      day. Because ZenCharts' EMR System is based upon and derived from the Kipu EMR System, a

     temporary, and later permanent injunction is required to protect Kipu's intellectual property

      rights.

                The Defendants' Counterfeiting and Related Infringement of the OTO Mark

                75.   The Kipu EMR System contains several distinctive non-functional               source

      identifying indicia which associate the EMR system as originating from Kipu. One such example

     is the OTO Mark, which represents the underlying features and functionality of Kipu's OTO

     Program. Its proprietary algorithm assists in addressing treatment for relapsed patients.

                76.   The OTO Mark has achieved notoriety in the drug and alcohol addition treatment

     industry, based upon considerable efforts by Kipu in the marketing, advertising and promotion of

     the Kipu EMR System. Moreover, the OTO Mark is distinctive (either inherently and/or through


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     acquired distinctiveness) as such maintains secondary meaning to the relevant consumers of the

     Kipu EMR System.

            77.     The OTO Mark connotes considerable good         will   and repute, as   it   relates to the

     OTO Prograur, a unique and proprietary aspect of the I(ipu DMR System.

             78.    In short, the OTO Mark is affiliated with an indication (through the algorithm

     found within the OTO Program) whether a relapsed patient is not suitable for return treatment

     based upon a variety    of uniquely selected factors-and instead should only be treated once by

     the treatment center.

             79.    The OTO Mark is strongly associated as being a part of the Kipu System as well

      as Kipu's unique software offerings   -   and is thus highly coveted as a unique part of Kipu's

      branding strategy. Current and potential Kipu customers have come to recognize and associate

     the OTO Mark solely and exclusively with Kipu.

             80.    Throughout the October 2013         to   January 2014 timeframe, when Solutions

      Recovery, SRL, Dan Callahan, Callahan Holdings, and Website Consultants engaged                     in   a

      carefully orchestrated and illicit plot to review the inner workings, functionality and source

      identifying components of the Kipu EMR System, these Defendants also copied unique attributes

      of the OTO Program. In doing so, and as demonstrated below, ZenCharts would call its relapse

      patient algorithm the "OTO option":




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             81.      As shown in the above screen capture, this confusingly similar indicia and use of

      the term "OTO option" with related visual representations risks consumer confusion. In

      addition, it provides and/or suggests that ZenCharts is authorized and/or licensed to use the Kipu

      EMR System's OTO Program.

             82.      As ZenCharts uses the exact mark-OTO-which is a registered Kipu trademark,

      ZenCharts (as   well as its predecessor in interest Zen Medical) created a "counterfeit mark"                                                      as


      defined by 15 U.S.C. 1116(d). ZenCharts (as well as its predecessor in interest Zen Medical)

      have adopted and are now using the OTO Mark on the same exact EMR related services, to the

      same types   of drug and alcohol addiction treatment                                        centers which typically license the Kipu

      EMR Software.

             83.      Moreover, ZenCharts (as well as its predecessor in interest Zen Medical)                                                       uses


      "OTO" as a spurious designation that is identical to (or substantially indistinguishable from) the

      OTO Mark in connection with the same exact services Kipu provides.




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               84.    In addition to being a spurious designation, ZenCharts' (as well as its predecessor

     in interest Zen Medical) use of "OTO" in the ZenCharts System is a reproduction, copy or

     colorable imitation of the OTO Mark in connection with the sale of services in competition with

     Kipu, which are likely to cause confusion, mistake and/or to deceived, in violation of 15 U.S.C.

     11   1a(1)(a).

               85.    Lastly, such use of "OTO" in the ZenCharts System violates 15 USC 1125(a)in

     that use of OTO creates a false designation of origin that is likely to cause mistake, or to deceive

     consumers as to affiliation, connection of associatiou with Kipu.

               86.    Kipu spends millions of dollars per year maintaining, improving, and updating the

     Kipu EMR System, including advertising and promotions under the marks KIPU and OTO.

               87.    Kipu takes reasonable and appropriate measures in protecting its intellectual

     property, including its valuable trademark registrations.

               88.    In an unfortunate effort to increase the risk of consumer confusion      -   as   well as

     related acts of adopting a spurious designation         - ZenCharts (including   but not limited to its

     agents and affiliates) as   well as   Sean Callahan and Glaser, have contacted     Kipu employees to

     solicit information regarding Kipu' s functional capabilities.

               89.    This effort has included offering refenal fees to Kipu employees        if   an existing

     Kipu customer is referred to ZenCharts.

               90.    In early 2016, certain of Kipu's clients notified Kipu that      ZenCharts contacted

     them and offered the competingZenCharts System. Upon review, these clients remarked that the

      functionality was derived andlor copied from the Kipu EMR System, and remarked as to the use

      of the OTO Mark (questioning whether there was a license grant or approval).




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                91.    In marketing the Kipu EMR System to prospective new clients, Kipu has been

      told that ZenCharts appears to be an affiliated EMR system to Kipu, offered at a discounted

      price.

                92.    As such, Kipu is suffering (and will continue to suffer) irreparable harm    unless

      the Defendants are preliminarily (and then later permanently) enjoined from the foregoing

      infringing and unlawful acts. Kipu has been damaged considerably by the foregoing actions and

      is entitled to fair and appropriate financial compensation for the ill-gotten gains made by the

      Defendants through the creation and later sale of the copycat, infringing ZenCharts System.

                THE PARTIES AND THEIR RELATION TO THE STATEMENT OF FACTS

            a. Kipu and its Proprietarv"   IndustrV-Leadins EMR Software

                93.    Kipu was formed and organized on September 30, 2072, and is located at 444

      Brickell Avenue, Suite 850, Miami, Florida 33131., Over the last seven years Kipu-and its

      founders before Kipu's formation-designed, developed, architected, programmed and advanced

      a   proprietary, industry leading cloud-based EMR system marketed under the name KIPU.

           b.   The Defendants. their Affilia      Entities" and Co-Consoirators

                                                                    Center LLC

                94.    Solutions Recovery, which also does business under the trade name "Addiction

      Solutions of South Florida," is a Florida limited liability company located at 6115 Lyons Road,

      Coconut Creek, Florida 33073. Solutions Recovery markets itself as a24-bed drug and alcohol

      treatment center.

                ii.    SRL (Solution,s Recoverv   LLC)

                95.    SRL was a Florida limited liability company formed on or about October 28,

      2013, and was located at 16145 State Road 7,Unit D, Delray Beach, Florida 33446. SRL was

      administratively dissolved on or about September 23,2016. Upon information and belief, SRL


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     is a Solutions Recovery affiliate. Dan Callahan is its last known manager. Upon information

     and   beliei SRL had access to,      accessed, andlor benefited from the Kipu EMR System, with such

     access obtained through Dan Callahan's "Super        Admin" login credentials.

              iii.      Website Consultants

              96.      Website Consultants is a Florida corporation organized on or about August 8,

     2009, initially located at   11   680 Tundra Drive, Unit   3   1   03, North Fort Myers, Florida 33917   .




              97.       On or about October 23,2013 (two weeks after execution of the 2013 License

     Agreement), Website Consultants changed its business address to 16145 State Road 7, Unit D,

     Delray Beach, Florida 33446, the exact address of Callahan Holdings. Website Consultants

     purports to provide "enterprise level" computer programming, software development, and related

     web-based design services.s

              98.       Website Consultants is the registrant and owner               of the Solutions Recovery
     Website, which lists Glaser as its principal contact.6 The Website Consultants website also

     identifies as its officers Sean Callahan (CEO), Glaser (Chief Marketing Officer), Karkalichev

     (Chief Technology Officer), and Seamus Callahan (Account Manager). Aladzhov identifies

     himself as an agent andlor consultant of Website Consultants.                                                See


     http://www.aladzhov.com/portfoliov2/zencharts-app/ (last viewed December 29,2017).

              iv.       Callahan Holdinss

              99.       Callahan Holdings was a Florida corporation formed on or about February 23,

     2015,and was located at 150 East Palmetto Park Road, Suite 800, Boca Raton, Florida 33432.
              s    Attached   as Exhibit D is a true and correct copy of a                      screen shot of
     www.websiteconsultants.ors/our-services/ (last viewed December               27, 2017) which identifies these
     enterprise level computer design services.

              6
                  Attached as Exhibit E is a true and conect copy of the WHOIS information for the Solutions
     Recovery website.




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      Callahan Holdings was administratively dissolved on or about September 22, 2017.                  At all
      relevant times, Seamus Callahan was Callahan Holdings' sole owner and manager. Upon

      information and belief, Callahan Holdings was formed to provide computer programming andlor

      related web development assistance to Website Consultants for purposes of creating the copycat

      ZenCharts EMR system.

               v.      Zen Medical

               100.     ZenMedical, originally named "Biscayne Medical LLC", was a Florida limited

      liability company formed on or about June 30, 2074,          and was located   a|7777 Glades Road, Suite

      100, Boca Raton, Florida 33434. ZenMedical was administratively dissolved on September 23,

      2016.

               101.     Sanomedics acted as Zen Medical's sole manager.                  As set forth above,
     Sanomedics was nothing more than a boiler room scam directed Houlihan, ZenMedical's former

     CEO.

               vi.     ZenCharts

               102.    ZenChafts is a Florida limited liability company organized on Septemb er 74, 2015

      and located at7777 Glades Road, Suite 100, Boca Raton, Florida 33434 (the same exact location

      as Zen   Medical).    ZenCharts has also maintained a business address           at 444 Brickell Avenue,

      Miami, Florida 33131, the same address    as   Kipu's headquarters.

               103.    According to the USPTO's assignment records, on October 20,2016 (one month

      after Houlihan's indictment) ZenMedical assigned to ZenChafts all rights to the ZenCharts Logo

      (as defined    below). The USPTO assignment was effectuated by Sean Callahan, who was never

      identified as a manager or executive of Zen Medical in its corporate records. Upon information

      and belief Zen Medical similarly assigned to ZenChafts all rights and title to the ZenCharts'

      copycat EMR system.


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             104.       Upon further infbrmation and belief, the assignment of trademarks to ZenCharts

     was paft of an effort to distance the ZenCharts System from the Sanomedics/Houlihan fraud, and

     as a vehicle to quickly transfer Sanomedics' assets after Houlihan's indictment and after

     Sanomedios was forcecl irtto atr ittvoluutary bankruptcy.T

             1   05.     On or about July 25, 2016 Zen Medical filed a Section I (a) trademark application

     before the UPSTO for the ZenCharts logo              in Class 42 (alleging    a first use in commerce date        of

     January 2015) (the "ZenCharts Loso") which became Trademark Application Serial Number

      87/115,058. ZenCharts is the successor-in-interest (assigned from Zen Medical) to thc

      ZenCharts System, and actively engages             in the marketing, promotion, and distribution of that

     misappropriated software        - under the ZenCharts      Logo.

             vii.        Glaser

             106.        Glaser is an individual working at 7777 Glades Road, Suite 100, Boca Raton,

      Florida 33434 (same address as ZenCharts and formerly Zen Medical). Glaser is Solutions

      Recovery's former managing member and CFO, the primary contact for the Solutions Recovery

      Website, the current Chief Marketing Otticer           of Website Consultants,      as   well as one of the five

      known software programmers who illicitly created the ZenCharts System.

             viii.       Sean Callahan

             107.        Sean Callahan is an individual working at 11680 Tundra Drive,              Unit 3103, North

      Fort Myers, Florida 33917. Sean Callahan is a Solutions Recovery's former manager, and at all

      relevant times was an co-owner of Website Consultants and one of the software developers who

      created the ZenCharts System. The Website Consultants website touts Sean Callahan's "wealth




             '   L   R" Sonortedics, Inc., Bankruptcy Court Case No. 1:16-bk-21659 (Hon. Robert A. Mark, S.D. Fla.).



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      of experience" as a "user experience designer" and "front end developer" for software. Below is

      his Facebook profile (listing himself as Zen Chart's CIO):




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             ix.    Dan Callahan

             108.   Dan Callahan is an individual working in Coconut Creek, Florida. He is the

      primary owner of Solutions Recovery and its CEO/Program Director. He is also the last known

      manager andlor owner of SRL before its September 2016 administrative dissolution. As shown

      below, Dan Callahan holds himself out to the public as one of ZenCharts' two co-founders:




                                                        Daniel J. Callahan; CAP, LMSW, .rnt
                                                                                 Co;Founder ZenCharts
                                                                          Zefi   Charts. Fordhafi Univer:ity




                                                                                         Page 25     of51
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              x.         Keith Houlihan

              109.       Houlihan (who also uses the alias Keith Hootie) is an individual whose last

     known address was 18008 Jazz Lane, Boca Raton, Florida 33496. Houlihan consented to

     sunender himself to Federal authorities to serve his                                            1   1l month           sentence for his participation in

     the $23 million Sanomedics "boiler room" fraud. To date, he has yet to begin serving his

     sentence.

              110.       Houlihan is the "[c]o-founder and former CEO"                                                       of   ZenCharts       'kho skillfully
     guided [the] innovative and disruptive EMR from concept to commercialization in record time."

     ,See   www.KeithHoulihan.com (last viewed Dec. 27, 2017). Houlihan is now attempting to

     distance himself from ZenCharts                         by removing from Linkedln any identification of the EMR

     company he "co-founded" and instead suggests he is now merely a "coffee enthusiast":




                                                                      Keith Houlihan .:na
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              xi.        Seamus Callahan

               11   1.   Seamus Callahan is an individual working at 150 East Palmetto Park Road, Suite

      800, Boca Raton, Florida. Callahan is the last known owner and director of Callahan Holdings

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      before its administrative dissolution. He is cunently an officer of Website Consultants, and is

      one of the software developers tasked to create the copycat ZenCharts.

             xii.    Karkalichev

             lI2.    Karkalichev is an individual who maintains an office address at 16145 State Road

      7,Unit D, Delray Beach, Florida 33446 (the                          same address as Website Consultants, and formerly

      of SRL). Karkalichev          serves as Website Consultants' Chief Technology Officer (CTO) and is

      one of the five software developers tasked to create the copycat ZenCharts System. According to

      the Website Consultants' website, he holds a degree in "Software Engineering" and creates

      enterprise level software. His Linkedln profile confirms his role as an executive of Website

      Consultants:




                                                      Yanko Karkalichev                ':ts
                                               Software Technology Oesigner, CIS Ltd.
                                      Web5iteConsultailts,lnc, Plovdivskiuniversitet'Pnisii Hilendarski'
                                                              Rulgaria area   . 108c


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                       Experience

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                               WebsiteConsultants, lnc
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             113.    Aladzhov is an individual who maintains an office address at 16145 State Road 7,

     Unit D, Delray Beach, Florida 33446 (the same address as Karkalichev). He also maintains                             a

     business location in Sofia, Bulgaria. According to his Linkedln Profile he publicly touts he is a

     "Contractor" of Website Consultants:




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                                                                             Anton Aladzhov .;ro
                                    UI &   6raphic Designer for the Web & hlobile Platforms. Freelnn.€r. contractdr.
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                                                                    Sofia. Sofia City Province, Bulgaria           '   500+ 8s



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     Aladzhov also identifies himself on http://www.aladzhov.com as being an agent of Website

     Consultants:

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                                                                 JURISDICTION AND VENUE

                11.4. This Court                has jurisdiction over the subject matter                                                    of this action pursuant to 28

      U.S.C. gg 1331 and 1338(a) and (b), and this Court's supplementaljurisdiction under 28 U.S.C.

      $ r367.




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                115.   This Court has personal jurisdiction over the Defendants on the grounds that

      Defendants reside in this     judicial district and/or conduct substantial and not isolated business

      activities in this judicial district.

              116.     Venue is proper in this district pursuant to 28 U.S.C. $$ 1391(b)(l) and/or (2)

      because   (i) a substantial part of the events giving rise to the claims occurred within this judicial

      district; (ii) certain of the Defendants reside within this judicial district; and (iii) certain of the

      Defendants have a principal place of business within this judicial district.

              ll7.     The 2014 Kipu TOS also state that "[i]n the event of a dispute involving

      Intellectual Property, including copyright, trademark, or any other cause of action provided for

      by law li.e,trade secret law], venue shall be proper in the appropriate Federal or State Court,        as


      dictated by the cause of action, with jurisdiction over Miami-Dade County, Florida.

                                      COUNT I
        VIOLATIONS OF FLORIDA'S COMPUTER ABUSE AND DATA RECOVERY ACT
                            Florida Statute $ 668.801-805
                               (against all Defendants)

              118. Kipu re-alleges and incorporates by reference                 paragraphs one (1) through one

      hundred eighteen (1 18) as    iffully    set forth herein.

              119. This Count I is an action, pursuant to Florida's                  Computer Abuse and Data

      Recovery    Act ("CADM"),          directed against      all    Defendants regarding their knowing and

      clandestine acts to obtain information from Kipu's servers (and related computers) regarding the

      Kipu EMR System through unauthorized access, and by the nefarious acquisition of login

      credentials.

              120. One of two primary               purposes       of CADRA, set forth in Florida Statute     $


      688.801(1),    is to protect and        safeguard the owner         of information stored on a "protected




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     computer" used in the operation of a business from harm or loss caused by unauthorized access

     to such computer.

            l2l.       A "protected computer" is defined broadly in Florida Statute $ 668.802(6)&(7) to

     include a computer used in oonnection with the operation of a business that stclres information,

     programs or code in which the stored information, programs or code can be accessed only by

     employing   a   technological access barrier ("a password, security code . . . or similar measure").

               122.    CADRA prohibits an individual who knowingly and with intent to cause harm or

     loss "obtains information from a protected computer without authorization and, as a result,

     causes loss or harm" or "causes the transmission of a program, code, or command to a protected

     computer without authorization and, as a result of the transmission, causes harm or            loss."   See


     Fla. Stat. $ 688.803.

               123. While a user may have previously                 obtained access    or log-in   credentials

     appropriately (i.e., was an "authorized user"), a login          to a protected computer qualifies       as


     "without authorization" when the later access "fc]ircumvents a technological access barrier on a

     protected computer without the express or implied permission of the owner . . . or the express or

     implied permission of the owner of information stored in the protected computer."

               I24.    Under CADRA, a sufficient "harm" may be any impairment to the integrity,

     access,   or availability of programs, systems or information." See Fla. Stat. $               688.802(4)

     Likewise, a "loss" may include any fbrm of economic damages, lost profits, consequential

     damage, or "profits earned by a violator as a result of the     violation."   See Fla. Stat. $ 688.802(5).

               125.    Kipu's operation of the Kipu EMR System requires Kipu to employ servers that

     meet the definition of a "Computer" and "Protected Computer" because tlie Kipu EMR System

     servers are high speed data processing devices that perform logical and storage functions. In

     addition, the Kipu EMR System servers require users to enter a user name and password (a

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      technological access barrier) to access the Kipu EMR System. Kipu's employ of a username and

      password is sufficient to effectively control access to Kipu's protected computers because the

      usernames and passwords are individually created and not publicly available information.

              126.    Between October 10,2013 and January 16,2014, Kipu allowed for ceftain "Super

      Admin" login-in rights (via appropriate technological         access barriers)   to be provided to Dan

      Callahan, Sean Callahan, Glaser and later Karkalichev-all under the false pretense that they

      were involved in the implementation of Solutions Recovery's license of the Kipu EMR System.

              127.    Between September       I0,2015 to early October 2015, these Defendants          again

      accessed the   Kipu EMR System under false pretenses, after obtaining a username and "Super

      Admin" log-in rights through a Kipu client.

              128.    In reality, Dan Callahan, Sean Callahan, Glaser and Karkalichev (individually and

      through the various Defendant entities) employed their "Super Admin" login-credentials during

      the above mentioned periods for the primary purpose of reviewing and understanding the

      underlying structure, organization, flows, processes, and function of the source code found

      within the Kipu EMR System. As such, Dan Callahan, Sean Callahan, Glaser and Karkalichev

      were not "authorized users" of the Kipu EMR System due to the manner and purpose forwhich

      they gained access to Kipu's protected computers and/or servers.

             129.     During these times, Solutions Recovery, as well as Dan Callahan, Sean Callahan,

      Glaser and Karkalichev (and/or those acting under their direction, control and/or supervision,

      including, but not limited to, Website Consultants, SRL, Callahan Holdings, Seamus Callahan,

      and Aladzhov) employed these four "Super Admin" login-credentials some 150 times. Each

      time, these "users" were required to   "click"   and agree to the terms of Kipu's TOS.

             130.    Under the 2014 Kipu TOS, each of the aforementioned parties had to recognize

      that the underlying structure, organization, and flows of the Kipu EMR System were valuable


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     trade secrets, confidential information, and intellectual property owned by     Kipu. Moreover,   each


     time the user would log-in they agreed that they could only access the Kipu EMR System for a

     "legitimate business purposes in relation to site-level administration of its facility."

             131.   As such, none of the Defendants were "authorized users" under either the 2014

     Kipu TOS or CADRA, and their log-ins were a circumvention of a technological access barrier.

             132.   Each of Defendants who accessed the Kipu EMR System through the "Super

     Admin" login credentials provided to them either by Kipu or a Kipu client qualify as a "user"

     under CADRA who has knowingly and with intent to oause harm obtained inlormation frotn

     Kipu's computer servers which maintain the Kipu EMR System, without Kipu's authorization,

     which actions have caused Kipu to suffer damages.

             133.    Kipu is entitled to injunctive relief against Defendants to protect Kipu from future

     violations of Florida Statute $ 688.803.

             134. Kipu is further entitled to recover any and all              information that Defendants

      misappropriated (including   all copies of the ZenCharts System and ZenCharts code) that were

      obtained through CADRA violations.

             135.    Kipu is also entitled to its reasonable attorneys fees.

             136.    Kipu's remedies under CADRA are in addition to remedies available for the same

      conduct under federal or state law.

                                       COUNT II
                      BREACH OF CONTRACT (2013 LTCENSE AGRIEMENT)
                                         (against Solutions Recovery only)

             I37.    Kipu re-alleges and incorporates by reference paragraphs one (1) through           one

      hundred eighteen (118) as   if fully   set forth herein.

             138.    This Count    II   is an action, under the common law of the state of Florida, for

      Solutions Recovery's breach of the 2013 License Agreement.


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             139.   Kipu performed each and all of its obligations under the 2013 License Agreement,

      or was excused from doing so.

             140.   Solutions Recovery materially breached the 2013 License Agreement by failing to

      comply with its payment obligations thereunder.

             I4l.   Specifically, the 2013 License Agreement required Solutions Recovery to pay

      Kipu $2,000.00 upon the executing the 2013 Licensing Agreement,     and an additional $1,000.00

      per month for the eight months period commencing on December 1,2013.

             142.   Solutions Recovery never tendered any of the eight $1,000.00 monthly payments.

             143. As a direct     and proximate result of Solutions Recovery's breach of the 2013

     License Agreement, Kipu has suffered damages in an amount to be determined at trial.

                                     COUNT III
             BREACH OF CONTRACT (KrpU JANUARY 2014 TERMS OF SERVTCE)
                               (against all Defendants)

             144. Kipu re-alleges and incorporates by reference paragraphs      one (1) through one

     hundred eighteen (118) as   if fully   set forth herein.

             145.   This Count    III is an action, under the common law of the state of Florida, for
     breach ofcontract.

             146.   Each of the Defendants entered into the 2014 Kipu TOS and agreed, on their own

     behalf and on behalf of those acting under their direction, to be bound by its terms and

     conditions.

             I47.   Kipu performed each and all of its obligations under the 2014 Kipu TOS, or was

     excused from doing so.

             148.   The Defendants breached the 2014Kipu TOS by, inter alia, engaging in activities

     that were "not for a legitimate business purpose" as well as failing to use the Kipu EMR System

     for site level administration of an addiction treatment facility. These illegitimate activities

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     include, without lirnitation, reverse engineering of the Kipu EMR System, copying work flows

     and other Kipu intellectual property, and accessing the Kipu EMR System to develop                     a

     competing, infringing product.

                149.     As a direct and proximate result of Defendants'breaches of the Kipu 2014 TOS,

     Kipu has incurred damages.

                                          COUNT IV
                    MTSAPPROPRTATTON OF TRADE SECRETS                     -   18 U.S.C. $ 1836(b)
                                    (against all Defendants)

                150. Kipu re-alleges and incorporates by reference paragraphs             one (1) through one

     hundred eighteen (1 l8) as     if fully   set forth herein.

                151.     This Count IV is an action against the Defendants for violation of 18 U.S.C.        $


      1   836(b).

                152.     The OTO program, the OTO algorithm, Kipu EMR System workflows, and Kipu

      System architecture constitute trade secrets within the meaning         of   18 U.S.C. $ 1839(3) as they

     are types      of   business, technical information, engineering information, patterns, formulas,

     techniques, procedures, programs, and codes that Kipu has taken reasonable measures to keep

      secret (including the employ of the Kipu TOS and requirement for users to have user names and

     passwords).

                153.     Kipu owns the trade secrets.

                154.     The Defendants used, accessed, reviewed, maintained andlor employed the Kipu

      EMR System to misappropriate Kipu's trade secrets, including, but not limited to, the OTO

      program, the OTO algorithm, Kipu EMR System workflows, and                          Kipu EMR     System

      architecture.




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               155.    Defendants knew, or had reason to know that they acquired Kipu's trade secrets

      by improper means, and/or disclosed or used those trade secrets without Kipu's express or

      implied consent.

               156. Kipu derives economic      value from its trade secrets as they are not generally

      known to, and not readily ascertainable by, other persons who may be able to obtain economic

      value from their disclosure or use within the meaning of 18 U.S.C. g 1839(3XB).

               157. Kipu has made reasonable       efforts to maintain the secrecy of its trade secrets,

      including, without limitation, requiring the use of usernames and passwords to limit the access to

      its trade secrets.

              158. As a result of the Defendants' actions Kipu has suffered          damages, and   will

      continue to suffer irreparable injury unless the Defendants' conduct is preliminarily and then

      permanently enjoined under 18 U.S.C. $1836(bX3XA).

              159.     Such preliminary (and then later) permanent injunction should be sufficient in

      scope and effect so as to prevent any actual or threatened misappropriation, as identified above,

      on such terms as this Court deems reasonable to prevent the Defendants from further

      misappropriation.

              160.     The Defendants' conduct was willful and malicious, with disregard for Kipu's

      rights, so as to justify an award of attorneys' fees under 18 U.S.C. $ 1836(bX3XD).

              161.     The Defendants' conduct requires the Defendants to pay damages to Kipu for (i)

      Kipu's actual loss caused by the misappropriation of Kipu's trade secrets and (ii) damages for

      any unjust enrichment caused by the Defendants' misappropriation of Kipu's trade secrets.

              162.     Moreover, the Defendants' conduct was so willful and malicious so as to justify

      and warrant exemplary damages under 18 U.S.C. $ 1836(bX3)(C) in the amount twice that of the

      amount of damages incurred by Kipu.


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                                                   COUNT V
                       CIVIL CONSPIRACY TO COMMIT TRADE SECRET THEFT
                            (against Glaser, Sean Callahan, Dan Callahan, Houlihan,
                                 Karkalichev, Seamus Callahan and Aladzhov)

                163. Kipu re-alleges and incorporates by reference       paragraphs one   (l)   through one

     hundred eighteen (1 l8) as if fully set forth herein.

                164.   This Count V is an action for civil conspiracy to commit trade secret theft directed

     against Glaser, Sean Callahan, Dan Callahan, Houlihan, Karkalichev, Seamus Callahan and

     Aladzhov in their individual capacities.

                165.   Between approximately October 2013 to January 2074, Glaser, Sean Callahan,

     Dan Callahan, Seamus Callahan, Karkalichev, and Aladzhov engaged in some 150 unauthorized

     and inappropriate logins,      in a carefully organized and clandestine      scheme   to review    and

     misappropriate Kipu's trade secrets, and the inner workings and functionality of the Kipu EMR

     System, including, without limitation, the OTO program, the OTO algorithm, the              Kipu EMR

     System workflows, and the Kipu EMR System architecture.

                166.   In January 2014 Kipu disabled the login credentials Glaser, Sean Callahan,Dan

     Callahan, Seamus Callahan, Karkalrchev, anci Aladzhov used and employeci to engage in these

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      il ilult auLS.


                167.   Between January 2014        to   September 2015,     Kipu greatly improved       the

      functionality and capabilities of its Kipu EMR System.

                168. In or     about September 10, 2015, Sean Callahan improperly and without

      authorization from Kipu obtained a username from a Kipu client, which username was then used

      by Sean Callahan, Seamus Callahan, Karkalichev, and Aladzhov to make 20 some unauthorized

      logins to the Kipu EMR System during a two-week period. These unauthorized acts were all




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      done under the authorization, knowledge, approval, consent and/or guidance of Houlihan, Glaser,

      Sean Callahan, Dan Callahan, and Seamus Callahan, Karkalichev, and Aladzhov.

                 169.   These unlawful acts          -   conducted during these two timeframes        -   were all in

      furtherance   of a carefully planned conspiracy to steal Kipu's trade secrets and misappropriate

      proprietary information regarding the Kipu EMR System, and to develop a copycat, competing

      product.

             170. All of the foregoing occumed without Kipu's                        knowledge, authorization or

      consent.

             l7I.       As a result of the foregoing, Kipu has suffered damaged, for which Houlihan,

      Glaser, Sean Callahan, Dan Callahan, Seamus Callahan, Karkalichev, and Aladzhov are                     jointly

      and severally liable. These damages include Kipu's (D actual loss caused by                                 the

     misappropriation of the trade secrets; and              (ii)   damages   for any unjust enrichment caused by

     misappropriation of the trade secrets that is not addressed in computing damages for actual loss.

                                                     COUNT VI
            CONVERSION             OF''   CONFIDENTIAL AND PROPRIETARY INFORMATION
                                               (against all Defendants)

             172. Kipu re-alleges and incorporates by reference                   paragraphs one (1) through one

     hundred eighteen     (l l8)   as   if fully set forth herein.

             173.       This Count VI is an action for conversion, under the common law of the state of

     Florida, regarding the Defendants' unauthorized conversion of Kipu's trade secrets and other

     proprietary and confidential elements of the Kipu EMR System, and specifically those elements

     which may not necessarily rise to the level of a trade secret as defined under           1S   U.S.C. $ 1S36.

             174.       The Defendants, on multiple occasions, did knowingly,            willfully, unlawfully,   and

     with intent to steal, commit an          act   of conversion of the Kipu's intellectual propefty, including,

     without limitation, the Kipu EMR System and its underlying components.

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               17   5.   These acts of conversion were committed with the intent to permanently, or for an

      indefinite time, deprive Kipu of its rightful possession, access to and use of the converted

      property, and to deprive Kipu ofthe value of converted property.

               176.      As a direct and proximate result of the conduct of Defendants, Kipu has suffered

      the deprivation of its property.

               177.      The Defendants' actions have interfered with Kipu's enjoyment of its ownership

      rights over the convefted property, over which the Defendants have improperly exercised acts of

      dominion and control.

               L78.      Further the Defendants' actions have created the opportunity         to   disclose,

      distribute, andlor sell the convefted property, which property provides Kipu with a competitive

      advantage.

               I79.      As a direct and proximate result of the Defendants'conduc| Kipu has suffered

      and   will continue to suffer   damages.

               180.      As such, Kipu seeks (i) compensatory damages equal to the loss incurued as a

      result of the Defendants' actions and proximately caused by the Defendants' misconduct; (ii) a

      preliminary and permanent injunction; (iii) punitive damages; (iv) costs of this action; and (v)

      such additional relief as the Court deems appropriate or to which Kipu may be entitled by law.

                                           COUNT VII
                                 COMMON LAW TRESPASS TO CHATTBLS
                                                  (against all Defendants)

               18i.      Kipu re-alleges and incorporates by reference paragraphs one (1) through       one

      hundred eighteen (1 18) as      iffully   set forth herein.

               182.      This Count VII is a claim for trespass to chattels, under the common law of the

      State of Florida, and is directed against all Defendants.




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              183.    Between October 2013 and the present, Defendants knowingly, willfully, and

      unlawfully committed a trespass to chattels of Kipu's property. Without authorization or

      permission, the Defendants trespassed upon the Kipu's property, namely its Kipu EMR System,

      all in order for the Defendants to employ this sensitive information-developed and wholly

      owned by    Kipu-for their own illicit   purposes.

              184.    The Defendants committed the aforementioned conduct with the intent             and

      purpose   of depriving Kipu of the competitive advantages, benefits, and value contained within

      the information taken, for the purposes of gaining an unfair competitive advantage in the market.

              185.    Kipu has suffered irreparable injury, and will continue to suffer irreparable injury

      without preliminary and permanent injunctive relief.

              186. Kipu has sustained monetary losses as a direct          and proximate result of the

      aforementioned conduct of the Defendants.


        TRADEMARI(CoUNTERF",,,*"ffi.o.S.C.$$1r14(1)ANDr1r6(dX1XB)
                                               (against all Defendants)

              187. Kipu re-alleges and incorporates by reference paragraphs         one (1) through one

      hundred eighteen (1 18) as iffully set forth herein.

              188. This Count VIII is an action for counterfeiting, under Sections 32(1) and
      34(dX1XB) Lanham Act, directed against all Defendants.

              189.    The Defendants'unauthorized use of the term "OTO option" constitutes use of

     spurious marks identical with, or substantially indistinguishable from, the OTO Mark, which is

     federally registered and owned by Kipu.

             190.     The Defendants'acts have caused and/or are likely to cause confusion, mistake,

     or deception as to the source, origin, sponsorship, or approval of Defendant's EMR software

     offerings.


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                191.    ZenCharts and the Defendants which own or control ZenCharts are advertising

     and promoting ZenCharts' competing EMR software, which uses and shows the OTO Mark.

     However, the ZenCharts System is of inferior quality to the Kipu EMR System.

                192.    The Defendants' acts constitute trademark counterfeiting in violation       of   Sections

      32(l)   and   34(dXlXB) of the Lanham Act,          15 U.S.C. $$ 1114(1) and 1116(dX1XB)

                193.    The Defendants' acts have, and continue to irueparably damage Kipu and Kipu

     will continue to sustain such damages.

                194.    Unless the Defendants are restrained by the Court, Kipu is without an adequate

      remedy at law.

                195.    Accordingly, Kipu is entitled to, among other relief, an order permanently

      enjoining and restraining Defendants from using the OTO Mark in connection with the sale of

      non-genuine EMR software offerings.

                                                      COUNT IX
                INF'RINGEMENT           OF''   UNITED STATES TRADEMARI( RT,GISTRATION
                                                        15 U.S.C. S 1114
                                                    (against all Defendants)

                196. Kipu re-alleges and incorporates by reference             paragraphs one   (1) through   one

      huncireci eighteen   (i i 8) as if firiiy   set ionh herein.

                197.    This Count IX is an action forwillful infringement of Kipu's federally registered

      trademark-the OTO Mark-- under 15 U.S.C. $1114.

                198.    Kipu maintains exclusive and unencumbered rights to United States Trademark

      Registration No. 5,127,508 for the standard character mark OTO in International Class 42 for

      "fp]roviding temporary use of a non-downloadable due diligence patient admission check/flag

      feature   of a web application for storage and management of electronic health records . . . for




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      addiction treatment facilities and other healthcare related facilities[.]" (as previously defined, the

      "OTO Mark").

                199.   United States Trademark Registration No. 5,127,508 identifies that the OTO

      Markwas first used in Interstate Commerce in January 2012-well priorto the October 1,2013

      demonstration    of the Kipu EMR System at Solutions Recovery's Coconut Creek facility,
      attended by Glaser, Sean Callahan, and Dan Callahan.

                200.   The underlying trademark application was filed on May 20,2016. On or about

      September 13, 2016, the USPTO trademark examining attorney issued an examiner's

      amendment noting how she "ha[d] searched the USPTO's database             of registered and pending

      marks and ha[d] found no conflicting marks that would bar registration under Trademark Act

      Section   2(d)." Thus, there was no office action ever issued during prosecution of the underlying

      trademark application, which became United States Trademark Registration No. 5,127,508.

                201.   On October 19,2016, a notice of publication was issued, denoting a publication

      date of November     8,2016. During the publication period     Q.{ovember 8,2016 to December 8,

      2016, no oppositions were filed regarding or opposing Kipu's exclusive rights to use the OTO

      Mark.

                202.   On January 24, 2017, the USPTO issued United States Trademark Registration

     No. 5,127,508 for the mark OTO.

              203.     Kipu's registration of its OTO Mark before the UPSTO is conclusive evidence of

     the validity and enforceability of Kipu's rights to the OTO Mark.

              204.     The Defendants' later adopted and wrongful use of the OTO Mark in conjunction

     with offering   a competing line of   EMR software used in the drug and alcohol addiction treatment

      industry, to the same target group       of customers, is likely to   cause confusion, mistake or




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     deception as to source, sponsorship, affiliation, or authorization by Kipu or alternatively, to

     destroy the origin-identifying function of Kipu's registered trademark.

             205.     As a proximate result of the Defendants' willful conduct and actions, Kipu         has

      suffered, and   will   continue   to suffer, significant damages to its business,       reputation, and

      goodwill, unless the Defendants are restrained by the Court, and Kipu is entitled to recover

      damages for this injury.

             206.     Kipu's remedy at law is inadequate to compensate it for the injuries it will suffer

      in the future for the continued acts of infringement alleged herein.

             207.     The foregoing acts of infringement by Defendants in appropriating the OTO mark

      has been, and continues to be, deliberate,       willful    and wanton, making this an exceptional case

      within the meaning of 15 U.S.C $1117.

             208.     Kipu is entitled to a permanent injunction against the Defendants, as well as all

      other monetary remedies available under the Lanham Act, including, but not limited to,

      compensatory damages, treble damages, disgorgement of profits, costs and afforney's fees.

                                          COUNT X
                         FEDERAL UNFAIR COMPETITION _ PASSING OFF
                                      ls U.S.c. $112s(a)
                                    (against aii Defendants)

              209. Kipu re-alleges and incorporates by reference              paragraphs one (1) through one

      hundred eighteen (118) as   if fully   set forth herein.

              210.    This Count X is an action for federal unfair competition under 15 U.S.C. $i 125(a)

      directed to all Defendants regarding the unauthorized use of Kipu's trade name OTO, as well          as


      associated indicia within the interfaces of its Kipu EMR System.

              2ll.    Kipu maintains exclusive, strong and unencumbered rights to the trade             name

      oro.


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              212.    The Defendants have knowingly and intentionally used the name "OTO" andlor

      "OTO Option" (the "Infrinsing Name") in their competing ZenCharts System           -   as   well   as in the

      related marketing and promotion of their competing EMR software.

              213.   The Defendants' use of the Infringing Name suggests to relevant and prospective

      customers seeking EMR software for addiction treatment centers that the ZenCharts System is

      affiliated, sponsored, endorsed, licensed or related to Kipu and/or the Kipu EMR System, and its

      related rights to the trade name OTO, when it is not.

              214.   Defendants' advertising and marketing of its misappropriated software under the

      Infringing Name all leads to the suggestion that there is some affiliation, endorsement, license or

      relationship between ZenChafis and Kipu, when there is not.

              215.   As such, the Defendants' improper and unauthorized use of the trade name OTO

      is .likely to cause, has caused, and    will   continue   to   cause, confusion among actual and/or

      potential customers of Kipu as to the origin, sponsorship or approval of the Defendants'

      software.

              216.   The Defendants' improper actions are in violation        of 15 U.S.C. $I225(a) in that

      Defendants have used and continue         to use, in relation to      commercial activities,        a   false

      designation of origin, or a false or rnisleading description that is likely to cause confusion, and to

      cause mistake, and to deceive, as to the affiliation, connection, or association of the Defendants

     with Kipu.

             217.    As a result of the foregoing, Kipu has suffered, and will continue to suffer,

      irreparable harm as a proximate and direct result of the foregoing acts of unfair competition

     caused by the Defendants.




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                218. Likewise, Kipu shall suffer          additional irreparable harm unless and until

     Defendants are preliminarily (and later permanently) enjoined by the Court from continuing

     those acts, which constitute unfair competition.

                219.   Kipu has no adequate remedy at law.

                220.   Upon information and belief, the Defendants' acts of unfair competition     are

     willful   and this is an exceptional case   within the meaning of 15 U.S.C.llI7.

                                                      COUNT XI
                          FLORIDA COMMON LAW UNFAIR COMPETITION
                                             (against all Defendants)

                221.   Kipu re-alleges and incorporates by reference paragraphs one (1) through    one

     hundred eighteen (118) as iffully set forth herein.

                222.   This Count XI is an action for unfair competition under the laws of the state of

     Florida.

                223.   The Defendants'actions regarding the advertising, marketing, offer for sale and

      sale   of EMR software in the drug and alcohol addiction treatment industry constitutes unfair

      competition and an infringement of Kipu's common law rights in the trade name OTO.

                224.   Kipu has been damaged by the Defendants' knowing and willful acts of unfair

      competition, including, but not limited to, the Defendants' adoption and continued use of the

      mark OTO with regards to selling and offering its competing line of EMR software.

                225.   These acts of common law unfair competition have caused and, unless enjoined,

      will continue to cause Kipu ireparable harm.

                226.   Kipu has no adequate remedy at law.




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                                           COUNT XII
                     FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                                   Florida Statute S 501.204(1)
                                                 (against all Defendants)

               227.      Kipu re-alleges and incorporates paragraphs one (l) through one hundred eighteen

      (1 18) as   if fully   set forth herein.

               228.      This Count XII is a direct claim under Florida Statute Chapter 501 against all

      Defendants pursuant Florida's Deceptive and Unfair Trade Practices Act (FDUTPA) under

      Florida Statute $501.204 (1).

               229.      Florida Statute $501.204 (1) declares that unfair and/or deceptive acts of practices

      in conduct of any trade or commerce are unlawful.

               230.      The Defendants have engaged in a carefully orchestrated plot of unauthorized

      access   to the Kipu System under false pretenses, resulting in the misappropriation and theft of

     Kipu's intellectual property. As such, all of the foregoing are deceptive and unfair               trade

     practices in    willful violation of Florida   Statute $501.204 (1).

               231.      The aforementioned acts of the Defendants have been injurious to the public and

     have resulted in damages to Kipu, and clearly          fall within the ambit of unfair and deceptive   acts

     and practices within the intent and meaning of Florida Statute $501 .204       (l).

               232.      The aforementioned acts and practices of the Defendants constitute unfair and

     deceptive trade practices within the intent and meaning            of the Federal Trade Commission Act

     and pursuant to the standards ofunfairness and deception set forth and interpreted by the Federal

     Trade Commission and federal courts.

               233.     The Defendants'acts violate the Florida Deceptive and Unfair Trade Practices

     Act and should be enjoined.




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             234.   The Defendants knew, or should have known that their acts and practices of

     hijacking the Kipu System and replication of the OTO Mark within the ZenCharts System were

     both unfair and deceptive actions.

             235.   Accordingly, Kipu is entitled        to entry of a      perrnanent injunction enjoining

     Defendants (and     all in privity with Defendants) from engaging in these illicit and clandestine

     acts, an award of reasonable attorneys fees pursuant to Florida Statutes, and assessment        of civil

     penalties pursuant   to Chapter 501 of the Florida Statutes, and any other and further relief the

     Court deems just and proper for these deceptive acts by the Defendants.

                                           COUNT XIII
                 TORTIOUS INTERX'ERT,NCE WITH BUSINESS RELATIONSHIPS
                   (against Sean Callahan, Dan Callahan, Glaser, and ZenCharts)

             236.    Kipu re-alleges and incorporates by reference parugraphs one (1) through            one

     hundred one hundred eighteen (118) as if fully set forth herein.

             237.    Kipu and its users have an economic relationship containing a probable future

     economic benefit.

             238.    Sean Callahan, Dan Callahan, Glaser, and ZenCharts knew              of the existence of

     Kipu's relationships with its users and that Kipu would receive future economic benefit from the

     user's continued employ of the Kipu EMR System for management of EMR.

             239.    Sean Callahan, Dan Callahan, Glaser, and ZenCharts intentionally engaged in

     wrongful acts or conduct designed to interfere with or disrupt the relationships between Kipu and

      its users.    These acts include these Defendants' use               of   technology and trade secrets

      misappropriated from Kipu, which were the foundation for the buildout and programing of the

      ZenChafts System. The ZenCharts System was then pitched to Kipu's customers and users at

      prices that significantly undercut   Kipu.   Such discounted pricing was made possible because the

      buildout of ZenCharts System was completed with the benefit of the millions of dollars of Kipu's

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      research and development, and thousands            of      hours   to time devoted to   creating the

      misappropriated technology and trade secrets.

              240.     Sean Callahan, Dan Callahan, Glaser, and ZenCharts also employed       Kipu's OTO

     mark in the ZenCharts System to appear to be Kipu-like or associated with Kipu such that Kipu

     users would be further enticed to break     off their economic relationship with Kipu and switch to

     the ZenCharts System.

              241.     Sean Callahan, Dan Callahan, Glaser, and ZenCharts' aforementioned

     interference with Kipu's economically advantageous user relationships was unjustified.

              242.     As a direct and proximate result of Sean Callahan, Dan Callahan, Glaser        and

      ZenCharts' actions     to associate    ZenChafts   with Kipu and solicit Kipu's users, Kipu's
     relationship with those users was disrupted.

              243. Kipu was damaged as a result of Sean Callahan,               Dan Callahan, Glaser and

      ZenCharts' acts which caused Kipu to lose a significant number of users and potential users.

                              PRAYER F'OR COSTS AND ATTORNEY FEES

              Plaintiff KIPU SYSTEMS LLC requests an award of reasonable costs and attorney fees

     pursuant   to   18 U.S.C.   $ 1836(b)(3)@); 15 U.S.C. g 1117(a)-(d); Fla. Stat. g 501.2105(1)-(3),'
     Fla. Stat. 668.804(2) as well as any other applicable basis for costs and attorneys based upon the

     claims brought herein.

                                        RT,OUEST FOR JURY TRIAL

              Plaintiff KIPU SYSTEMS LLC requests a jury trial of all matters so triable as a matter of

     right.




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                                         PRAYER F'OR RELIEF'

              WHEREFORE, Plaintiff KIPU SYSTEMS LLC respectfully prays that this Honorable

      Court enter such Orders and Judgments as are necessary to grant Plaintiff KIPU SYSTEMS LLC

      the following relief:

               (a)    Judgment against Solutions Recovery for Florida Common Law Breach of the

      2013 Licensing Agreement and associated damages and for such other further relief based upon

      thc aforeurentioned breach as this Ilonorable Court may deem just under the circumstances.

              (b)     Judgment against Defendants for Florida Common Law Breach of the Kipu TOS

      (including but not limited to the January 2014 version), including any and all applicable

      damages;

              (c)     Judgment against Glaser, Sean Callahan, Dan Callahan, Houlihan, Karkalichev,

      Seamus Callahan and Aladzhov for conspiracy to commit the foregoing acts of trade secret theft

      including any and all applicable damages caused by such conspiracy;

              (d)     Judgment against Defendants for violations of Florida's Computer Abuse and

      Recovery Act (Fla. Stat. $ 668.801 et al), including any and all applicable damages including but

      not limited to actual damages, lost profits, economic damages, violator's profits, recovery for

      harm and loss due to: improvement of the integrity, access of availability of the underlying Kipu

      EMR System, the cost of conducting a damage assessment, costs of remediation, consequential

      damages and/or damages for intenuption of service;

              (e)     Judgment against Defendants       for    Conversion   of Kipu's   confidential   and

      proprietary information, including any and all applicable damages;

              (t)     Judgment against Defendants tbr 'l'respass to Chattels against Kipu's property,

      including any and all applicable damages;




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              (g)    Judgment against Defendants for Counterfeiting a registered trademark under           l5

      U.S.C. $ 1116(dX1), including any and all applicable damages;

              (h)    Judgment against Defendants for        willful infringement of a registered   trademark

      under l5 U.S.C. $ 1114(l), including a disgorgement of profits and other applicable damages;

             (i)     Judgment against Defendants for Federal Unfair Competition under          l5 U.S.C.    $


      1125, including any and all applicable damages;

             0)      Judgment against Defendants        for Florida Common Law Unfair Competition,
      including any and all applicable damages;

             (k)     Judgment against Defendants for violations of the Florida Deceptive and Unfair

      Trade Practices Act under Fla. Stat. $ 501.201;

             (l)     Judgment against ZenCharts, Sean Callahan, Dan Callahan, and Glaser, (i)

      awarding Kipu its damages and lost profits in an amount to be determined at trial due to the

      aforementioned tortious interference;and (ii) enjoining ZenCharts, Sean Callahan, Dan Callahan,

      and Glaser from continuing to interfere with Kipu's business relationships;

             (m)     Judgment against Defendants and their agents, servants, employees, and those

      people in active concert or participation with them be preliminary and permanently enjoined

      under 18 U.S.C. $ 1836(bX3)(A) regarding and relating to the access, review, maintenance and/or

      use of Plaintiffs confidential and proprietary information. Such preliminary and then later

      permanent injunction should be sufficient in scope and effect so as to prevent any actual or

      threatened misappropriation, as identified above, on such terms as this Court deems reasonable

      to prevent Defendants from entering into relationships that may risk such misappropriation and

      should include conditions placed on any future employment so not                 to risk     threatened

      misappropriation. Such scope should include an order demanding the wiping andlor forensic

     removal of any and all sensitive information obtained by Defendants from the Kipu EMR System


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     and/or trade secrets (as previously defined), or related files, materials, forms, or related business

     documents from Plaintiff;

                  (n)      Plaintiffs be awarded all other monetary remedies available under both 18 U.S.C.

     $ 1836(bX3)(C)          as   well   as the common law, including but   not limited to, penalties and fines,

     compensatory damages, exemplary damages, disgorgement                     of profits,   interest, costs and

     attorney's fees as legaliy permitted by each count respectively;

                  (o)      Defendants and their agents, servants, employees, and those people          in   active

     concert or participation with them be preliminary and permanently enjoined under Florida

      Statute $668.80a(c)&(d) to prevent future unauthorized login-ins and/or improper access to the

     Kipu EMR System and to recover the underlying misappropriate information, program or code

      as   well   as   all copies thereof from Defendants;

                  (p)      Defendants and their agents, servants, employees, and those people          in   active

      concert or participation with them be preliminary and permanently enjoined from infringing

      Kipu's rights in the OTO Mark, including Defendants' use of the OTO Mark in the ZenCharts

      System or any colorable imitations thereof;

                  (q)      An order requiring Defendants to rebuild their EMR system in a clean             room

      environment by providing a specification sheet to new software developers who             will not have the

      benefit of any knowledge regarding the Kipu EMR System or the ZenCharts System; and

                  (r)      Compensatory and other damages allowed by law.




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            DATED this 3l't day of December,2077.

                                             Respectfully submitted,

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                            Exhibit                 6(A))
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                  Mark: OTO



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   US Serial   Number: 87044446                                                     Application Filing May 20, 2016
                                                                                                  Date:
     US Registration 5127508                                                        Registration Date; Jan. 24,2017
           Number:
       Filed as TEAS Yes                                                                Currently TEAS Yes
                Plus:                                                                             plus:
               Register: Principal
            Mark Type: Service Mark
                 Status: Registered. The registration date is used   to determine when poslregistration maintenance documents are due.

         Status Date: Jan. 24, 2017
    Publication Date: Nov. 08, 2016



                                                                     Mark Information
         Mark l-iteral OTO
            Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color
                 Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                   Goods and Services
Note: The following symbols indicate that the registranUowner has amended the goods/services:

             . Brackets [..] indicate deleted goods/services;
             o Doubleparenthesis((..))identifyanygoods/servicesnotclaimedinaSectionl5affidavitofincontestability;              and
             r Asterisks '..' identify additional (new) wording in the goods/services.
                    For: Providing temporary use of a non-downloadable due diligence patient admission check/flag feature of a web application for storage and
                         management of electronic health records, document management, forms processing, custom coding, billing, workflow, business
                         management, and facility operations for addiction treatment facilities and other healthcare related facilities and instructional user guides
        lnternational 042 - Primary     Class                                           U.S Class(es): 100,    10.1
            Class(es):
       Class Status: ACTIVE
                 Basis: 1(a)
            First Use:    Jan.16,2012                                              Use in Commerce: Jan. 16,2012

                                                       Basis Information (Case Level)
                 Filed Use: Yes                                      Currently Use: Yes                                       Amended Use: No
                 Filed ITU: No                                        Currently ITU: No                                        Amended ITU: No
                 Filed 44D: No                                       Currently 44D: No                                        Amended 44D: No
                 Filed 44E:   No                                     Currently 44E: No                                        Amended 44E: No
                 Filed 66A: No                                       Currently   664:   No
         Filed No Basis:      No                               Currently No Basis: No

                                                       Current Owner(s) Information
       Owner Name: Kipu Systems, LLC
    Owner   Address:      444 Brickell Ave. Ste. 850
                          Miami, FLORIDA 33131
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                           UNITED STATES
   Legal Entity    Type: LIMITED LIABILITY COMPANY                                             State or Country FLORIDA
                                                                                              Where Organized:

                                                       Atto rney/Correspondence Inform ation
                                                                                        Attomey of Record
      Attorney Name: Brian Bell
    Attorney Primary bell@kipusvstems.com                                                        Attorney Email Yes
      Email Address:                                                                                Authorized:
                                                                                          Correspondent
      Correspondent BRIAN BELL
      Name/Address: 444 BRICKELL AVE. STE. 850
                             MIAMI, FLORIDA 33131
                             UNITED STATES

                  Phone:     561 349591 8

    Correspondent e- bell@kipusvstems.com                                                      Gorrespondent e- Yes
               mail:                                                                            mail Authorized
                                                                                Domestic Representative - Not Found

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                                                                                                                                    Proceeding
   Date                Description                                                                                                  Number
Jan.24,2017          REGISTERED.PRINCIPAL REGISTER
Nov. 08, 2016       OFFICIAL GAZETTE PUBLICATION CONFIRMATION E-MAILED
Nov. 08, 2016        PUBLISHED FOR OPPOSITION
Oct.19,2016          NOTIFICATION OF NOTICE OF PUBLICATION E.MAILED
Sep. 23, 2016       APPROVED FOR PUB - PRINCIPAL REGISTER
Sep.13,2016          EXAMINER'S AMENDMENT ENTERED                                                                                 88888
Sep. 13,2016         NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                                                 6328
Sep.'13,2016         EXAMINERS AMENDMENT E.MAILED                                                                                 6328

Sep. 13, 2016        EXAMINERS AMENDMENT -WRITTEN                                                                                 68365
Sep. 06, 2016        ASSIGNED TO EXAMINER                                                                                         68365
May 26,2016          NOTICE OF PSEUDO MARK E-MAILED
May 25,2016          NEWAPPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
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                                                eighteen (18) Trademarkr, AIso. enclosed:is ourcheck no, 10166 in tf,c nrnouttof four-lundred
                                                sixfy-five dollars x"#100 fur recordatisn I'€e.

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                                                Shorrld yotr havs any questions rcgarding the encloscd, please t1o ur:1 hesitate lo cont{rct nrr:.

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          Fornr PTO-1594 (Rev. 6-12)                                                                                U.S. DEPARTMENT OF COMMERCE
          OMB Collection 065'1-0027 (exp. 04i30/2018)                                                          United States Patent and Trademark Office

                                                         RECORDATION FORM COVER SHEET
                                                           TRADEMARKS ONLY
               To the Dirsctor of the U, S. Patent and Trademark Office: Please record the attached documents or the new address(es) below.

          1, Name of conveying party(ies):                                        2. Name and address of receiving party{ies)
                                                                                 Additional names, addresses, or cltlzenshlp attached?
                                                                                                                                                    I Yes
                                                                                                                                                    Xl ruo
                                                                                    Name: CIW NATIONAL BANK OF FLORIDA

                                                                                    Street Address: 25 WEST FLAGLER STREET
           E      lndividual(s)                 I    Association

           lJ     Partnership                   L-l tirit*c   Partnership           City:     MIAMI
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          Additional names of conveying parties attached?          [Ves I          l-lAssociation         Citizenship

           3. Nature ofconveyance/Execution Date(s)                 :
                                                                                   nPartnership           Citizenship

           Execution Date(s)        tOouEMgER.           30, )Ol?                  f      Lirn"A Partnership   Citlzenship_
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           f Assignment                             f]   Merger
                                                                                    E]    otn"r-                  cjtizenship FLORIDA
           ffi    Security    Agreement E                Cnange of Name           lf assignee is not domiciled in the United Slates, a domestic

                 Other
                                                                                  representative designation is aitached;          n Yes E     t'to
                                                                                     (Designations must be a separate document from assignmenl)

           4. Application number(s) or registration number(s) and identification or descri ption of the Trademark,
           A. Trademark Application No.(s)             TeXt       B. Trademark Registration No.(s)
          See atlached Schedule        1


                                                                                                    Additional sheet(s) attached?       ffi   Ves      I   tto
           C. ldentification or Description of Trademark(s) (and Filing Date if                           or
          See attached Schedule       1




           5, Ndme & address of party to whom correspondence                      6. Total number of applications and
           concerninq document should be mailed:                                     ,^-i-4,-tt-*^
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                      Ang€lo & Banla, P.A., Attn: Sabrina Ramsundar

           lnternal   Address:_                                                   7, Total fee (37 CFR 2.6(bX6) & 3.41             )          465.00



           Street Address:
                                  515 E. Las olas Boulevard, Suite 850                f     Authorized to be charged to deposit account
                                                                                      E     Enclosed

           City: Fort   Lguderdale _           _                                  8. Payment lnformation

           g1s1s;   Floridq                          Zip   33301

           Phone Number: 954-766-9930
                                                                                          Deposit Account Number N/A
           Docket Number: n/u
                                                                                           Authorized User Name N/A
           Email

           9, Signature:
                                                                                                                                       Date
                                                                        ,At€tstal#                          Total number oi pages including cover
                                                                                                             sheet, attachmenls, and document:
                                              Name of Fersontsigning
                                   Documonts to be recorded (including cover sheot) should be fax€d to (571) 273-0140, or mailsd lo:
                             Mail stop Asslgnment Recordation Branch, 0irector oithe USPTo, P,O. Box 1450, Alexandrla, VA 22313-1450
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 59 of 162
  Case t:I7-cv-24733-XXXX Document 1-1 Entered on FLSD Docket I2l3Ll20I7 Page 6 of 41

     .,tt


                          Guidelines for Completing Trademarks Gover Sheets (PTO.1594)
                        Cover Sheet lnfotmation must be submitted with each document to be recorded. lf the docurnent to be recoded
              conc€rns both patents and lrademarks, separdte palent and trademark cover sheels, including any attached pages for
              continuing intormalion, must accompany th€ documont. All pagss of the covet sheet should be numbered conseculively fot
              example, If bolh a patent and lrademark cover she6t is used, and information is continuad on one additional page for both
              patents and trademarks, the pag6s of the cover sheet would be numbered from 1 to 4,

              Item 1, Name of Conveying Party(ies).
                      Enter the full name of ths party(l6s) conveying the interest. ll there is more lhan one conveying party, enter a check
              mark in thE "Yes" box to indicate that additional information is attached. Tho namo of the sacond and an:y subsequent
              conveylng party(les) should bo placed on an attaohed page clearly identified as a continuation ofthe lnformation in llem 1.
              Enter a check mark in the "No" box, if no information is contained on an attached page.
              Item 2, Name,Address, Legal Entlty Type, and Citizenship ofAssignee.
                        Entsrthenameandcompletoaddressoftholirslpartyreceivingtheinterest.                             lfthoroismorethanonereceiving
               party,chock tho "Yos" box to indicata that additional information is attached and write the wording "Soe additional sheet" on the
               citizenship line. On a separate sh6et, provide all of lho nocessary information about the other receiving parties, as explalnod
               below' lfthereceivingpartyisanlhdlvldual,checkths"lndividual"boxandenterthecitizenshlpofthereoeivinglndividual,                      lfthe
               receiving party ls a legal entity, i,e., corporation, association, limitsd pa|tnsrship, etc., designale the legal entltyand citizenshlp of
               the recaiving party by checking lhe appropriate box and fllling in the citiz€nshlp informatlon, tf a box is not provided for the legal
               entity, check tho "Othof box and wrile th€ naturo of the legal ontlty. e.g,, iimilod liabllity company, trust, estate, etc., and its
               citizenshlp. lnlormatlon about the sntity type and citizenshlp ls rnandatory.
                      The citlzenshlp of a legal entity is as follows: tor a Gorporalion, it is the U.S. state (or foreign country) of lncorporatjon; for
               an associallon, it ls lhe U,S, state (or forelgn country) undor which lt is organized; tor a partnorship or jolnt ventwe, it is lhe U.S.
               state(orforeigncountry)underwhlchitisorganizsd,etc.                   lnaddilion,foradomasficpa.tnershipordomeslicjointventure,the
               cover eheet must lnclude the names, legal enlities, and nalional citizsnship (or the slate or country of organlzation) of a// general
               parlners ot active members thai. compose the domeslic partnsrshlp or domgslic jolnt venture. For a lrust or eslale, lhe same
               informalion should bo p.ovid6d. lf addltional space is needed, check lhe "Yos" box to indicat6 that additional informallon ls
               altached, write lhe wording 'See additional sheel" next to ths appropria(e enlity designation, and provide the requked information
               on the additional sheet.
                      lf the receiving parly is not domlcilad in the United Statss, a designation of domestlc represontative is gncouraged. Check
               the appropriate box to indicate whether or nol a designation of domesllc represontative is attachsd. Check the ,'No', box if no
               information is altached.
              Itom 3, Nature of Convsyance/Executlon Date(s),
                      Enter thg execution date(s) of the document. lt is preferable to us6 lhe name of lhe monlh, or an abbreviatlon of lhat
              name. to mlnlmhe oonfusion over dates. ln addition, place a check mark in the appropriate box describing lhe nature of the
              conveying document. tf tho "Other" box is ohacked, spedry the nature of the conveyance, ThB "Other" boi should be
              checked lf the conveying/receiving party is correcting a previously fll€d document.

              Item 4. Applicalion Number(s) or Registration Number(s).
               . .   .lndlcate the applicatlon number(s) lncludlng series code and serial number, and/or reg:stration numbe(s) against
              which lhe document is to be recorded. Tha identification of the trademark should be provided lor all properties't6 avoid
              lecordation_against the wrong propsrty. A liling date should be provided only when tha application dr rdgistration number is
              unknown, Enter a chsck mark in the appropriate box: "Yes" or "No" if additional numbers appear on attaihed pagss. B€
              sure to ldentify numbers lncluded on ailached pages as the continuation of ltem 4.

              Itsm 5. Name and Address of Party to whom correspondence concerning doeument should be mailed.
                     Enter the namo and lull address of the party to whom correspondenco ls lo bo mailed,

              Item 0. Total Applications and Trademarks lnvolved,
                      Enter thB lotal numb€r of applications and trademarks identified lor recordatlon. Be 6u16 to include all appllcations
              and reglstrations idsntifled on the cover sheet and on addittonal pagos.
              Item 7. Total Fee Enclosod.
                      Enler the total fee enclosed or authorized to be charged, A fee ls required for eaoh application and registration
              agalnst whlch the documont is recorded,

              Item 8. Payment lnformation.
                      Enter the deposit account number and authorized user name to aulhorize charges.
             Item 9. Slgnatura,
                      Enter the name of the person submitting lhe document, Tha submitter rnust sign and date lho cover sheet, Enter the
             lotal numbsr of pages including the cover sheet, attachments, and docum€nt.


             This collection of infom8tion is required by l5 USC 26t and 261 ond I 5 USC 1057 and I 060. The infomalio! is used by thc puhlic io submit (ary.l by tto
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 60 of 162
  Case 1:17-cv-24733-XXXX Document L-1 Entered on FLSD Docket I2l31,l2OL7 Page 7 of 4L




                                               TRADEMARK SECURITY AgREEMENT

                   THIS TRADEMARK SECURITy ACnrpvmNT (rhis "Aereemenr"), dated as of November 30,2017 by
            KIPU SYSTEMS LLC, a Florida limited liability company (the "Grantor"), in favor of CITY NATIONAL BANK
            OF FLORIDA (the "Lender").

                                                                 RXCTJALS

                     A.       The Grantor has entered into that certain Loan Agreement dated as ofeven date herewith (as may
            bc anrcndcd, rcatated, supplemented or otherwise modified from time to time, the t'tss4-4gqga94") with the
            Lender, pursuant to which the Lerrder has agreed to nake a loan to Grantor.

                     B.       In   connection therewitb Grantor and lcnder are entering into this Agreement           to   secure the
            payment of all amounts owing by the Grantor under the Loan Agreement.

                      In consideration of the mutual agreements set foth herein and in the Loan Agreement, the Grantor does
            hereby grant to the Lender, a continuing security interest in all of Grantor's right, title and interesl in, to and under
            the following, whether presently existing or hereafter created or acquired:

                     (1)      each trademark and trademark application, including, without limitation, each trademark and
                              trademark application referred to in Schedule 1 attached hereto, together with any reissues,
                              coilinuations or extensions thereofand all goodwill associated therewith;

                     (2)      each trademark license, including, without limitation, each trademark license listed orr Schedule     I
                              attached hereto, together With all goodwill associated therewith;

                     (3)      all products and proceeds ofthe foregoing, including, without limitation, any claim by the Grantor
                              against third parties for past, pr€sent or future infringement of any trademark, including, without
                              limitatioru any hademark referred to in Schedule I attached hereto, any trademark issued pursuant
                                                                                        I
                              to a tradimark application refened to in Schedule and any trademark licensed under any
                              trademark license listed on Schedule I attached hereto (items 1 through 3 being herein collectively
                              referred to as the   "I&dg0glkea[4el4l");

            The Grantor hereby acklowledges and affirms that the rights and remedies of the Lender with respect to the security
            interest in the Trademark Collateral made and granted hereby are more fully set forth in the.Loan Agreement, the
            terms and provisions of which are incorpomted by reference herein as if fully set forth herein. Capitalized terms
            used but not defined herein have the respective meanings ascribed thereto in the Loan Agreement.


                                                            Isignature page follows]
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  Case t:17-cv-24733-XXXX Document 1-l- Entered on FLSD Docket I2l3Ll2OL7 Page 8 of 41




                      The Grantor has caused this Tradomark Security Agreement to be duly executed by its duly authorized
            officer thereunto as ofthe d'ate fiist set forth above.


                                                               GRANTOR:

                                                               KIPU SYSTEMS LLC,                a    Florida limited liability
                                                               company

                                                               By:
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            STATE OFFLORIDA                  )
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            corrNrYo"     I4loul\U.c         )


                      The foregoing instrument was acknowledged before    tm, r.         dAaay
                                                                                          of Novernbe r,2017,by Jeffrey
            Fiorentino, as Chief Executive                          LLC, a Florida limited liability company, on behalf of
            and as an act of the company,       ts personally         me or has produced a                              as
            identification, and took an oatb-



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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 62 of 162
  Case 1:l-7-cv-24733-XXXX Document             1-1 Entered on FLSD Docket I2l3Ll20L7                                      Page 9 of   41-




                                                          SCHEDULE     1

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            Kipu LabScan    Trademark          86677404                 489s375         June 29, 2015        Fehruary 2,2016

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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 63 of 162
  Case L:I7-:v-24733-XXXX Document 1-1 Entered on FLSD Docket L2l3Ll2OI7 Page 10 of 41-




             DAL]PHIN       Service    77842294    390t682    October 6, 2009    January 4, 201 I
                             Mark

             MCONSUTT       Service    779tt148    3901 891     January 13,      January 4, 201      I
                             Mark                                  2010

           TIEALTHALBUM     Service    85t37239    4003902    September 24,       July 26, 201   1

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            TreatmentEMR   Trademark   86784735   Abandoned     October 12,        Abandoned
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             CHOPRAJ        Service    7?84047s               October 2,2009    November23,2010
                             Mark                  3881276.
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 64 of 162
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Reg. No. 5,1270508               Kipu Systems, LLC (FLORIDALIMITED LIABILITY COMPANY)
                                 444 Brickell Ave. Ste. 850
Registered Jan. 24, 2017         Miami, FL 33131

                                 CLASS 42: Providing temporary use of a non-downloadable due diligence patient admission
lnt.   Cl.z 42                   check/flag feature of a web application for storage and management of electronic health
                                 records, document management, folms processing, custom coding, billing, wottflow,
Service   Mark                   business management, and facility operations for addiction treatment facilities and other
                                 healthcare related faciiities and instructional user guides
Principal Register
                                 FIRST USE 1-t6-2012; IN COMMERCE 1-16-2012

                                 THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                 PARTICULAR FONT STYLE, SIZE OR COLOR

                                 sER. NO. 87-044,446, FILED 05-20-2016
                                 CHzuSTINA B KING, EXAMINING ATTORNEY




fut*,u.k                /^
 Director of the United States
 Patent and Trademark   0ffice
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 65 of 162
  Cas                                                                                                                              2of4t
           WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                              BELOW DURING THE SPECIFIED TIME PERIODS.

        Requirements in the First Ten Years*
        What and When to tr'ile:

            .   Firsl Filing Deadline.' You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
                years after the registration date. See 15 U.S.C. $$1058, 1141k. If the declaration isaccepted, the
                registration will continue in force for the remainder of the ten-year period, calculated from the registration
                date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


            .   Second Filing Deudline.' You must file a Declaration of Use (or Excusable Nonuse) and an Application
                forRenewal between the 9th and l0th years afterthe registration date.* See l5 U.S.C. $1059.


        Requirements in Successive Ten-Year Periods*
        What and When to File:

            . You must file a Declaration o{ Use (or Excusable               Nonuse) and       an Application for       Renewal
                between every 9th and 10th-year period, calculated from the registration date.*



        Grace Period Filings*

        The above documents will be accepted as timely        if filed within six months after the deadlines listed   above with
        the payment of an additional fee.

         *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
        extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
        (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
        The time periods for filing are based on the U.S. registration date (not the international registration date). The
        deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
        nationally issued registrations. See 15 U.S.C. $$1058, 1141k. However, owners of international registrations
        do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
        international registration at the International Bureau of the World Intellectual Property Organization, under
        Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
        date of the international registration. See 15 U.S.C. $1141j. For more information and renewal forms for the
        international registration, see http://www.wipo.int/ma dridl enl.

        NOTE:    Fees and requirements for maintaining registrations are subject to change. Please check the
        USPTO website for further information. With the exception of renewal applications for registered
        extensions of protectionr /ou cflrr file the registration maintenance documents referenced above online at h
        ttp://www.uspto.gov.

        NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
        owners/holders who authorize e-mail communication and maintain a current e-mail address with the
        USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
        Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
        available at http://www.uspto.gov.




                                                     Page:2   of2lRN #5127508
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 66 of 162
     Case 1-:L7-:v-24733-XXXX Document                                        1-1      Entered on FLSD Docket I2l3Ll2OL7 Page L3 of 4L



From:                        TMOfficialNotices@USPTO.GOV
Sent:                        Tuesday, November 8, 2016 00:46 AM
To:                          bell@kipusystems.com
Subject:                     Official USPTO Notice of Publication Confirmation: U.S. Trademark SN 87044446: OTO


                                            TRADEMARK OFFIC IAL GAZETTE                          PU B   LICATION CON FIRMATION

        Number: 87044446
U.S. Serial
Mark: OTO
lnternational Class(es): 042
Owner: Kipu Systems, LLC
DockeUReference Number:

The mark identified above has been published in the Trademark Official Gazeite (TMOG) on Nov 08, 2016.

To Review the Mark in the TMOG:

    ClickonthefollowinglinkorpastetheURLintoaninternetbrowser:


USPTO error, the applicant should immediately email the requested correction to TMPostPubQuerv@uspto.qov.                For applicant corrections or amendments after publication,

Assistance Center at 1-800-786-9199.

Significance of Publication for Opposition

        Any party who believes it will be damaged by the registration of the mark may flle a notice of opposition (or extension of time therefo4 with the Trademark Trial and Appeal
        Board. lf no party files an opposition or extension request within thirty (30) days afer the publication date, then eleven (1 1 ) weeks after the publication date a certificate of
        registration should issue.

To check the status ofthe application, go to httpJ/tsdr.uspto.qov/#caseNumber=87044446&caseType=SERIAL                  NO&searchTvpe=statusSearch or contact the Trademark
AssistanceCenteratl-800-786-9199.          Pleasecheckthestatusoftheapplicationatleasteverythree(3) monthsaftertheapplicationiilingdate.

To view this notice and other documents for this application on-line, go to
http://tsdr.uspto.gov/#caseNumber=87044446&caseTvpe=SERIAL               NO&searchTvpe=documentSearch.          NOTE: This notice will only become available on-line the next business
day after receipt of this e-mail.
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 67 of 162
  Case L:I7-cv-24733-XXXX Document 1-1 Entered on FLSD Docket L2l3Ll2OI7 Page 1-4 of 41



                         UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                                                                                                    Commissioner for Trademarks
                                                                                                                                                                  P.O. Box 1451
                                                                                                                                                     Alexandria, VA 223'13-'1 45 1
                                                                                                                                                                  www.uspto.gov

                                                                                 Oct 19, 2016

                                                                    NOTICE OF PUBLICATION
     Serial No.:                                                                        2.       Mark:
     87-044,446                                                                                  oTo
                                                                                                 (STANDARD CHARACTER MARK)

3.   lnternationalClass(es):
     42

4.   Publication Date:                                                                       Applicant:
     Nov 8, 201 6                                                                            Kipu Systems, LLC




The mark of the application identified appears to be entitled to registration. The mark will, in accordance with Section 12(a) of the Trademark Act of 1946, as amended, be
published in Ihe Official Gazefte on the date indicated above for the purpose of opposition by any person who believes he will be damaged by the registration of the mark. lf no
opposition is flled within the time specified by Section 13(a) of the Statute or by rules 2.101 or 2. 102 of the Trademark Rules, the Commissioner of Patents and Trademarks may
issue a certiticate of registration.

copies of the trademark portion ot the orrictat cazette containins the                              be obtalned from
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                                                               U.S. Government Printing Office
                                                               PO Box 371954
                                                               Pittsburgh, PA 15250-7954
                                                               Phone: 202-51 2-1 800

By direction of the Commissioner




              Email Address(es):

              bell@kipusystems.com
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 68 of 162
   Case 1":L7-cv-24733-XXXX Document 1"-1 Entered on FLSD Docket tZl3LlzOIT Page 15 of 4L



From:                      TMOff icialNotices@USPTO.GOV
Sent:                      Wednesday, October 19, 2016 04:06 AM
To:                        bell@kipusystems.com
Subject:                   Offieial USPTO Notification of Notice of Publication: U.S. Trademark SN 87044446: OfO

                                                                NOTIFICATION OF "NOTICE OF PUBLICATION'

Yourtrademarkapplication(Serial No.87A44446)isscheduledtopublishinlheOfflclal             GazetleonNov8,2016. TopreviewtheNoticeofPublication,goto
http:/ltdr.uspto.qov/search.action?sn=87044446.    lf you have difficulty accesslng the Notice of Publication, contact TDR@uspto.qov.

PLEASE NOTE:
  1. The Notice of Publication may not be immediately available but will be viewable within 24 hours of this e-mail notification.
  2. You will receive a second e-mail on the actual "Publication Date," which will include a link to the issue of the Official Gazette in which the mark has published.

Do NOT hit "Reply" to this e-mail notification. lf you have any questions about the contenl of the Notice of Publication, contaot   MPggllguQ!9lyl@llptgJg!.
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 69 of 162
  Case L:L7-cv-24733-XXXX Document 1-1 Entered on FLSD Docket I2l3Ll20L7 Page 1-6 of 41


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                                                                    OVERVIEW
 SERIAL NUMBER                                      47044446                 FILING DATE                                05120t2016

 REG NUMBER                                         0000000                  REG DATE                                      N/A

 REGISTER                                          PRINCIPAL                 MARK   ryPF                              SERVICE MARK

 INTL REG #                                               N/A                INTL REG DATE                                 N/A

 TM ATTORNEY                                  KING, CHRISTINA B              L,O. ASSIGNED                                 109



                                                                PUB INFORMATION
 RUN DATE                            09124t2016

 PUB DATE                            N/A

 STATUS                              680-APPROVED FOR PUBLICATON

 STATUS DATE                         0912312016

 LITERAL MARK ELEMENT                oTo

 DATE ABANDONED                                           N/A                DATE CANCELLED                                N/A

 SECTION 2F                                               NO                 SECTION 2F IN PART                            NO

 SECTION 8                                                NO                 SECTION 8 IN PART                             NO

 SECTION 15                                               NO                 REPUB 12C                                     N/A

 RENEWAL FILED                                            NO                 RENEWAL DATE                                  N/A

 DATE AMEND REG                                           N/A



                                                                   FILING BASIS
                  FILED BASIS                                      CURRENT BASIS                                 AMENDED BASIS

 1 (a)                          YES               1 (a)                                YES               1 (a)                       NO

 I   (b)                        NO                1 (b)                                 NO               1 (b)                       NO

 44D                            NO                44D                                   NO               44D                         NO

 44E                            NO                44E                                   NO               44E                         NO

66A                             NO                664                                   NO

NO BASIS                        NO                NO BASIS                              NO




                                                                   MARK DATA
STANDARD CHARACTER MARK                                                      YEJ

LITERAL MARK ELEMENT                                                         oTo
: MARK DRAWING CODE                                                         4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                           NO




                                                     CURRENT OWNER INFORMATION
PARTY TYPE                                                                   1O-ORIGINAL APPLICANT

NAME                                                                        Kipu Systems, LLC

ADDRESS                                                                     444 Brickell Ave. Ste. 850
                                                                            Miami, FL 33131

ENTITY                                                                       16.LTD LIAB CO
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 70 of 162
    Case I:L7-Iv-24733-XXXX Document                   l--1     Entered on FLSD Docket                         I2l3Ll20I7         Page 17 of 41,

: CITIZENSHIP                                                            Florida



                                                     GOODS AND SERVICES
 INTERNATIONAL CLASS                                                     042

        DESCRIPTION TEXT                                                 Providing temporary use of a non-downloadable due diligence patient admission
                                                                         checUflag feature of a web application for storage and management of electronic
                                                                         health records, document management, forms processing, custom coding, billing,
                                                                         workflow, business management, and facility operations for addiction treatment
                                                                         facilities and other healthcare related facilities and instructional user guides




                                         GOODS AND SERVICES CLASSTFICATION
 INTERNATIONAL     042          FIRST USE DATE    01t16t2012             FIRST USE IN             01t16t2012        CLASS STATUS         6.ACTIVE
 CLASS                                                                   COMMERCE
                                                                         DATE



                                      MISCELLANEOUS INFORMATION/STATEMENTS
 CHANGE IN REGISTRATION                                                  NO

 PSEUDO MARK                                                             ONE TIME ONLY



                                                    PROSECUTION HISTORY
 OATE                       ENT CD      ENT TYPE      DESCRIPTION                                                                               ENT NUM

 0912312016                 CNSA            o         APPROVED FOR PUB - PRINCIPAL REGISTER                                                         009

 09t13t2016                 XAEC                      EXAMINER'S AMENDMENT ENTERED                                                                  008

 09t1312016                 GNEN            o         NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                                  007

                            GNEA            F         trMtvilt\trxo Atvttrt\utvttrt\ I   E-tvtAtLEU                                                 006

 0911312016                 CNEA            R         EXAMINERS AMENDMENT -WRITTEN                                                                  005

 09/06/2016                 DOCK            D
                                                     I
                                                       assrcr.reo   ro   EXAMTNER                                                                   004

 0512612016                 MPMK            E         NOTICE OF PSEUDO MARK E-MAILED                                                                003

 0512512016                 NWOS                      NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                          002

 a5!24!2016                 Nt\A/Ap                   NEW APPLICATION E\]TFF.FD II! TRAIV                                                           001




                                      CLTRJ.F'   NT COR3.tr'.SPOND RNCN INF'OB}AATION
 ATTORNEY                                                                Brian Bell

 CORRESPONDENCE ADDRESS                                                  BRIAN BELL
                                                                         444 BRICKELL AVE. STE, 850
                                                                         MtAMt, FL 33131

I DOMESTIC REPRESENTATIVE                                                NONE
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 71 of 162
  Case 1:17-cv-24733-XXXX Document L-1 Entered on FLSD Docket tZlstlzotT Page 18 of 41
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 72 of 162
   Case 1:17-cv-24733-XXXX Document                              1-1 Entered on FLSD                 Docket        12l3Ll2ot7 Page      1-9      of 41



                                    Tradern*rk Snap Shot Arnendment & Mail Processing Styleshetl
                                          (Table presents the data on Arnondrflsnt & MailrFfoees$ing co$iplete)



                                                                    OVERVIEW
SERIAL NUMBER                                        87044446                 FILING DATE                                      05t20t2016

REG NUMBER                                           0000000                  REG DATE                                            N/A

REGISTER                                         PRINCIPAL                    MARK   ryPE                                    SERVICE MARK

INTL REG #                                                 N/A                INTL REG DATE                                       N/A

TM ATTORNEY                                  KING, CHRISTINA B                L.O. ASSIGNED                                       109




                                                                 PUB INFORMATION
RUN DATE                            0sh4t2016

PUB DATE                            N/A

STATUS                              647-EXAMINERS AMENDIVENT - MAILED

STATUS DATE                         0911312016

LITERAL MARK ELEMENT                oTo

DATE ABANDONED                                             N/A                DATE CANCELLED                                      N/A

SECTION 2F                                                 NO                 SECTION 2F IN PART                                  NO

SECTION 8                                                  NO                 SECTION 8 IN PART                                   NO

SECTION 15                                                 NO                 REPUB 12C                                           N/A

RENEWAL FILED                                              NO                 RENEWAL DATE                                        N/A

DATE AMEND REG                                             N/A




                                                                   FILING BASIS
                 FILED BASIS                                        CURRENT BASIS                                       AMENDED BASIS

1 (a)                          YES               1 (a)                                   YES               1 (a)                            NO

1 (b)                          NO                I   (b)                                  NO               1 (b)                            NO

44D                            NO                44D                                      NO               44D                              NO

44E                            NO                44E                                      NO               44E                              NO

664                            NO                664                                      NO

NO BASIS                       NO                NO BASIS                                 NC)




                                                                   M,ARK D,A,TA
STANDARD CHAMCTER MARK                                                        YES

LITERAL MARK ELEMENT                                                          oTo
MARK DRAWING CODE                                                             4-STANDARD CHARACTER IVARK

COLOR DRAWING FLAG                                                            NO




                                                      CURRENT OWNER INFORMATION
PARTY TYPE                                                                    lO.ORIGINAL APPLICANT

NAME                                                                          Kipu Systems, LLC

ADDRESS                                                                       444 Btickell Ave. Ste. 850
                                                                              Miami, FL 33131

ENTITY                                                                        16-LTD LIAB CO
    Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 73 of 162
      Case L:L7-cv-24733-XXXX Document 1-L Entered on FLSD Docket 1213112017 Page 20 of 41

    CITIZENSHIP                                                      Florida



                                                       GOODS AND SERVICES
    INTERNATIONAL CLASS                                              042

           DESCRIPTION TEXT                                          Providing temporary use of a non-downloadable due diligence patient admission
                                                                     check/flag feature of a web application for storage and management of electtonic
                                                                     health records, document management, forms processing, custom coding, billing,
                                                                     workflow, business management, and facility operations for addiction treatment
                                                                     facilities and other healthcare related facilities and instructional user guides




                                           GOODS AND SERVICES CLASSIFICATION
    INTERNATIONAL     042         FIRST USE DATE    0111612012       FIRST USE IN         0111612012            CLASS STATUS         6.ACTIVE
    CLASS                                                            COMMERCE
                                                                     DATE



                                       MISCELLANEOUS INFORMATION/STATEMENTS
    CHANGE IN REGISTRATION                                           NO

    PSEUDO MARK                                                      ONE TIME ONLY



                                                      PROSECUTION HISTORY
    DATE                      ENT CD      ENTryPE      DESCRIPTION                                                                          ENT NUM

    0911312016                XAEC                      EXAMINER'S AMENDMENT ENTERED                                                            008

    09t13t2016                GNEN            U         NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                            007

    0911312016                GNEA            F         EXAMINERS AMENDMENT E-MAILED                                                            006

    0911312016                CNEA            R         EXAMINERS AMENDMENT .WRITTEN                                                            005

    0910612016                DOCK            D        ASSIGNED TO EXAMINER                                                                     004

:   ostzanorc                 MPMK            E         NOTICE OF PSEUDO MARK E-MAILED                                                          003

    0512512016                NWOS                     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                     002

    0512412016                NWAP                     NEW APPLICATION ENTERED IN TRAM                                                         001



                                        CURRENT CORRESPONDENCE INFORMATION
    ATTORNEY                                                         Brian Bell

    CORRESPONDENCE ADDRESS                                           BRIAN BELL
                                                                     444 BRICKELL AVE. STE. 850
                                                                     MIAMI, FL 33131

    DOMESTIC REPRESENTATIVE                                          NONE
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 74 of 162
  Case L'.17-:v-24733-XXXX Document l--1 Entered on FLSD Docket L2l31,l2OL7 Page 2L ot 4t
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 75 of 162
  Case 1,:I7-cv-24733-XXXX Document 1-1 Entered on FLSD Docket L2l3Ll20I7 Page 22 of 4L



                                                NOTE TO THE FILE

   SERIALNUMBER:                   8',1044446

   DATE:                           09113D016

   NAME:                           cking2



   Searched:                                        Discussed ID with:
   _     GoogJ-e                                    _     Senior Atty
   _     T,exis/Nexis                               _     Managing   Atty
   _     Onelook
   _     Wikipedia
         Acron)rm Finder                                  Protest evidence reviewed
         other:
   -
   Checked:                                         Discussed Geo. Sig. with:
   _     ceographic significance                    _    Senior Atty
   _     Surname                                    _    Managing    Atty
   _     Translation
         ID with ID/CLASS mail-box

   _   Checked list ofapproved Canadian attomeys and agents

   Discussed file with
   Atborney/Applicant via    :
      _     phone                                        Left message with
            email                                        Attorney/Applicant

         Requested l,aw l,ibrary    search          X     Issued Examiner's     Amendment
         for:                                             and entered changes     in   TRADEUPS


             PRrNr _        DO NOT PRrNT        _       Added design code in     TRADEUPS
   _     Description of the mark
   _     Translation statement                           Re-imaged standard character
                                                         drawing
         Negative translation statement
         Consent    of livinq individual                  contacred TM MADRID IDICI,ASS
                                                          about misclasslfied definite ID
         Chanqed TRADEUPS to:

         OTHER




                                                                                                  l




                                                                                                  )
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 76 of 162
      Case 1:17-cv-24733-XXXX Document                                    l--l-   Entered on FLSD Docket        I2l3Ll20L7 Page 23 of 41


To:                       Kipu Systems, LLC (bell@kipusystems.com)
Subject:                  TJ.S.   TRADEMARK APPLICATION NO. 8'7044446 - OTO - N/A
Sent:                     9/13/2016 5:37:54 PM

Sent As:                  ECOM109@USPTO.GOV

Attachments:

                                          UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                             OFFICE ACTION (OFFICIAL L[,TTER) ABOUT APPLICANT'S TRADEMARK APPLICATION


          U.S.   APPLICATION StrRIAL NO. 81044446

          MARK: OTO
                                                                                        *87 044446*
          CORRESPONDENT ADDRESS:
             BRIAN BELL                                                                 G EN  BRAL TRADEMARK TN FORMATION:
             444 BRICKELL AVE. STE. 850                                                 http://www.uspto,gov/trademarks/index.isp
            MIAMI, FL 3313I
                                                                                        VIEW YOUR APPLICATION FILE

          APPLICANT: Kipu Systems, LLC

          CORRESPONDENT'S REFERENCE/DOCKET NO
                 N/A
          CORRtrSPONDENT E-MAIL ADDRESSI
                 bell@kipusystens.corn



                                                               EXAMINER'S AMENDMENT
ISSI IFI,/MA   ILING DATE: I       113   12016



DATABASE SEARCH: The tlademark examining attorney has searched the USPTO's database of registered and pending marks and has
found no conflicting marks that would bar registration under Trademark Act Section 2(d). TMEP $704.02; see 15 U.S.C. $1052(d).

APPLICATION HAS BEEN AMENDED: In accordance with the authorization granted by Brian Bell on September 13,2016, the trademark
examining attorney has amended the application as indicated below. Please advise the undersigned immediately of any objections. Otherwise"
no response is necessary. TMEP $707. Any amendments to the identification of goods and/or services may clalify or limit the goods and/or
services, but may not add to or bloaden the scope of the goods and/or services. 37 C.F.R. $2.71(a); see TMEP $$1402.06 et seq.

RECITATION OF SERVICES

The identification of services is amended to read as follows:

Providing temporary use of a non-dorvnloadable due diligence patient admission check/flag feature of a web application for storage and
management of electronic health lecords, document management, forms processing, custom coding, billing, workflow, business management.
and facility operations fol addiction treatment facilities and other healthcare related facilities and instructional user guides.

See   TMEP $$1402.01, 1402.01(e).




                                                 /Chrisie Brightmire King/
                                                 Trademark Attorney
                                                 Law Office 109
                                                 (s7     t)   272-9179
                                                 cliri   si   e.   kin g(@u spto. gov
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 77 of 162
  Case L:I7-cv-24733-XXXX Document 1--1 Entered on FLSD Docket L2131,120I7 Page 24 of 4t



PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://ts4r.usoto.eov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http ://www.uspto. gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the Trademark Electronic Application System (TEAS) form at
http ://www,uspto. gov/trademarks/teas/correspondence.   i   sp.
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 78 of 162
      Case L:I7-Iv-24733-XXXX Document                     1-1    Entered on FLSD Docket L2l3Ll2OI7 Page 25 of 41




                                                                                  -   oT0 -N/A




                             UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)


                                        IMPORTAI{T NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                  USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                  ON 9/13/2016 FOR U.S. APPLICATION SERIAL NO.87044446

Please lollow the instructions below:

(1) TO       READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov/, enter the U.S. application serial number, and click on
"Documents."

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) QUESTIONS: For questions       about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.sov.


                                                               WARNING

IRIYATE COi'iPAiiY SCLICITATICI{S REGARDII{G YCUR                  AilLiCATiOii: irivate coiiipaiiies iioi associate'i wiili ilie US|TO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
..t.bes'''


Please carefully review all correspondenco you receive regat'ding this application to make sule that you are responding to an official document
from the USPTO rather than a private company solicitation. Al1 official USPTO correspondence will be mailed only from the "United States
Patent and Trademark Office" in Alexandria, VA; or sent by e-mail from the domain "@uspto.gov." For more information on how to handle
private company solicitations, see http;//www.uspto.gov/trademarks/solicitation  warnings.isp.
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 79 of 162
  Case 1:17-cv-24733-XXXX Document 1-1 Entered on FLSD Docket I2l3Ll2Ot7 Page 26 of 4L



                                                    NOTE TO THE FILE

   SERIALNUMBER:                       87044446

   DATE:                               09113t2016

   NAME:                               cking2



   Searched:                                            Discussed ID with:
   -{-  Google                                       _      Senior Atty
   -{_     Lexis/Nexis                               _      Managing Atty
     X     Onelook
   _       wikipedia
    x      Acronym Fj.nder                                  Protest evidence reviewed
           Other:

   Checked:                                             Discussed Geo. Sig. with:
   _       Geographic significance                  _       Senior Atty
   _       Surname.                                 _       Managing Atty
   _       Translation
           ID hriLh ID/CLASS mail-box

   _     Checked list of approved Canadian attorneys and agents

   Discussed file,with
   Attorney/Applicant        via   :
      _    phone                                            Left message with
               email                                        Att,orney/Applicant

           Requested Law l,ibrary       search              Issued Examiner' s      Amendment
           for:                                             and entered changes       in   TRADEUPS


               PRIMT           DO NOT FRINT               Added design code in       TRADEUPS
   _       Description of the mark
   _       Translation statement                            Re-imaged standard character
                                                            drawing
           Negative translation statement
           Consent of liwing individual                     Contacted TM MADRID ID/CLASS
                                                            about misclassified definite ID
           Changed TRADEUPS to:

           OTHER:
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 80 of 162
     Case t:I7-cv-24733-XXXX Document                           l--1   Entered on FLSD Docket L2l3Ll2Ot7 Page 27 of 4L


**+ User:cking2 +**
#     Total           Dead          Live     Live     Status/           Search
      Marks           Marks         Viewed   Viewed   Search
                                    Docs     Images   Duration
01    83              0             83       78       oioz              ("oto" or "o t o" or "ot o" or "o to")[bi,ti] and livefld]
02    951   1         N/A           0        0        0:02              *oto*[bi,ti]   and   live[d]
03    161             N/A           0        0        0:02              oto+[bi,ti] and livefld]
04    124             0             124      114      0:01              3notl

Session started 9/7/2016 8:45:34   AM
Session finished 9/7/2016 9:0818    AM
Total search duration 0 minutes 7 seconds
Session duration 22 minutes 44 seconds

Defaut NEAR     limielADi limit=1


Sent to TICRS as Serial Number:87044446
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 81 of 162
  Case L:I7-cv-24733-XXXX Document 1-1 Entered on FLSD Docket 12131,12017 Page 28 of 4I



From:                                         TMDesignCodeComments
Sent:                                         Thursday, May 26, 2016 00:22 AM
To:                                           bell@kipusystems.com
Subject:                                      Official USPTO Notice of Pseudo Mark: U.S. Trademark SN: 87044446: OTO

Oocket/Reference Number:


The USPTO may assign pseudo marks, as appropriate, to new applications to assist in searching the USPTO database for confllcting marks. They have no legal significance
and will not appear on the registration certificate.

A PSEUDO MARK may be assigned to marks that include words, numbers, compound words, symbols, or acronyms that can have alternative spellings or meanings. For
example, if the mark comprises the words 'YOU ARE' surreunded by a design of a box, the pseudo mark field in the USPTO database would display the mark as 'YOU ARE
SQUARE'. A mark filed as 'URGR8' would receive a psefdd'rhark of 'YOU ARE     GREAT'.        "!;''
Response to this notice is not required; however, to suggest additions or changes to the pseudo mark assigned to your mark, please e-mail
TMDesignCodeComments@USPTO.GOV. You must reference your application serial number within your request. The USPTO will review the proposal and update the
record,ifappropriate. Forquestibns,pleasecalll-800-786-9l99tospeaktoaCustomerServicerepresentative.

The USPTO will not send any further response to your e-mail. Check TESS in approximately two weeks to see if the requested changes have been entered. Requests deemed
unnecessary or inappropriate will not be entered.


next business day after receipt of this e-mail.

Pseudo marks assigned to the referenced serial number are listed below.

PSEUDO MARK:

ONE TIME    ONLY          I
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 82 of 162
 Case 1-:I7-cv-24733-XXXX Document   1-1 Entered on FLSD Docket I2l3Ll2OI7   Page 29 of   4I
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 83 of 162
  Case L:L7-cv-24733-XXXX Document 1-1 Entered on FLSD Docket I2l3Ll20I7 Page 30 of 41

    5119t2016                                                    Kipu Records Release Notes for 3/912016


          Subscribe                Share    -         Past lssues                                                             Translate

                    Kip* Recotds: latest updaies and leature$.




                                                                                                            KIFU
                                                                                                            SY$TEMS


                    Kipu Records Release Notes for 319/20{6

                     ln today's release note, KIPU ix outlining the The naxt $uperAdmin Training in Florida
                     latest enhancernents and                                   will be held at the Duncan Conference
                     improvements; including updates                            Center in Delray Seach on Tuesday, March
                    ,kr   Reporting and access information to                   15, 2016. We will be "Foeusing on the Top
                     KlPUpedial                                                 Row"
                                                                                Contact u* if ycu would like informalion on
                     C*ntact us at {56'l} 349-5911 for further                  hsw to attendl
                    e;<planation or training.




                    EN HAN CEM EN TSII M PROVE M ENTS

                    Reports
                   .AllGo-pay nnd Deductible fields are nsw gather*d from the lnsurance Verification and
                    show cansisfently on the Reports.


                    Billable Reports evaluation dat* presentaticn was improved.


                    The Allow*UR field *n th* pati*nt facc sheet is now available in Reports.


                    Ccntacts
                    $uper admins can n&w expcrt all Contacts into a C$V file. To expor* Click the Export
                    button in the upper right of the Contaets tab.


                   Vital $igns History
                    tn the history view, the vilal signe will appear in          th* sanre order ycu have as when enter
                    vitalsigns.
    http//usT,campaign-archivel   -com/?u=1 039cn7321 66e064401 3'l cd3&id=c5Bbc56c88&e=c42Ae1489a                                   1E
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 84 of 162
 Case 1:17-cv-24733-XXXX Document                           1-l-    Entered on FLSD Docket             t2l31,l2oI7 Page 3L of 41,

   5k9t2416                                                  Kipu Records Release Notes tor 3t912016



                 KlPUpedia
                 Look for the FIELP button in the upper right with lhe next update. There you wlll find new
                 tips and training tools.



                 DID YOU KNOW?

                  Restore Functionality
                 A $uper Admin can retrieve deleted patients, forme, and templates under
                 $ettlngs/Restor*. However, did you know that deleting documents take* time? This is why
                 $uper Admine need to be very careful when trying to restore an item that has just been
                 deleted. One should re$erve a few hours after a deleiion has occurred before trying to
                 restore it, in order to avoid a restorution that is not complete.


                 Signature Psd$. - $criptel
                 $ciptel Fade are no$/ suppoded on Mac and PCs. They're supported in Chrame, Firefux,
                 lnternet Explorer, and $afari. You can find more infnrmation on $ciptel
                 here: httpj/scriot€l.com


                 What is OTOrM?
                 Working clasely with a detox facility to create KIPU@, we created a way to document that
                 a patient, after discharge: may not be welcome back for readmission. This is the genesis
                  of OTOrM    -   ehort for "One Time Onlf'.


                  This unique identifiel when checked, will cause an "OTO!" to display next to the patient'a
                  name ln the header ef his/her chart. lt dnss not prevent a patientfrom being readmifted;
                  rather, it serves as a flag on lhat individual thal extra due diligence may be required before
                  actually doing so.


                  March is National Nutrition Month!
                  Good nutrition is the cornerstone of a happy and healthy lifestyle. lt positively affects both
                  mind and body and helps prornote longevity.


                  Every March,'the Academy of Nutrition and Dietelics run$ an educational campaign that
                  focures on the importance of m*king informed food chsices, developing sound eating,
                  and physical activity habit       .




                  ln Kipu Resords, you h*v* scme great toole ta help manage nutrition and special dietary
                  needs. On the fa*e shegt; you 6re able to document both food allergies and restrictions.
                  You can select ihe appropriate nutritional needs frorn a customizable list of common

    http://usT"campaign-archivel.com/?u=1039ef2732166e054401.31 cd3&id=c58bcs6c88&e =c428a1489a-                             ula
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 85 of 162
  Case t:t7-cv-24733-XXXX Document l--1 Entered on FLSD Docket I2l3Ll20L7 Page 32 of 4I

    5119t2016                                                  Kipu Records Release Notes for 3/91201 6

                  dietary options as well as free type any additional requirements. This in turn allows you to
                  generate a fcod merno complete with the client photo for the facility chef.


                  We also offer a greal nutritional screen that can be used to identify clients who require
                  additional health education and treatment, lf you do not currently have a copy in your
                  system, please contact your Kipu repr*senlative or the Client $ervices team at 561-349-
                  5911.


                  For some great ideas on how to integraie nutrition education at your facility this month,
                  please visit     http://wwv.eatright"orglresEurces                anth


                 As always     -   please feel free to contact us ai {561) 343-5911 with your questions and your
                  comments.


                 Allthe best,
                  Tobias




                                                       follorrv on   TWilter I forward to a friend

                  A*pyrighl $ 2A 1 $ Kipu Syefems, All rights reeeryed.


                                           ung-ubsctibgliromlhisllst I up'Jate subrcripdon nr:e rences




   http://usT.campaign-archivel.com/?u=1039en732166e05440131   cd3&id=c58bc56c88&e=c428a1489a                      3i3
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 86 of 162
   Case 1:17-cv-24733-XXXX Document                                         1-1          Entered on FLSD Docket L2l3Ll20L7 Page 33 of 41


                                   Act of l ees no persons are required to respond to    a collection   of infortnation unless it displavs   a valid   oMB control nrulber
*1111[:kfu*lif,:.:::"'*
                                   Trademark/Service Mark Application, Principal Register
                                                                     TEAS PIus Application
                                                                           Serial Num ber : 87044446
                                                                           Filing Date:        0512012016


  NOTE: DataJields ryith tlre * are nmndatory under TEAS Plus. TIre wording "(if applicuble)" appears wlrere theJield is only nnndatory
                                               ander tlte facts ofthe particular application.




                                                         The table below presents the data as entered.



          TEAS Plus                                                       YES

          MARK INFORMATION
          *\{ARK                                                          oro
          *STANDARD CI'IARACTtrRS                                         YES

          TISPTO.GENERATED IMAGE                                          YES

          LITERAL ELEMENl'                                                oTo
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          REGISTER                                                        Principal

          APPLICANT INFORMATION
          *OWNDR       O[ MARK                                            Kipu Systems, LLC

       : *STREET                                                          444    Blickell Ave. Ste. 850
          *CITI'                                                          Miami
          *STATI'
                                                                          Florida
          (Required for U.S. applicants)

          *COTINTRY                                                       United States
          *ZIPlPOS'TAL CODI
                                                                           33131
          (Required for Li.S. applicants)

       : PHONE                                                             561 349590 I

          LEGAL ENTITY INFORMATION
          *TYPE                                                           LIMITED LIABILITY COMPANY
          * S'[.{TE/COUNTRY WI{ER.E LEGALL}'
                                                                           Florida
          ORGANIZED

          GOODS AND/OR SERVICES AND BASIS INFORMATION
       :*     IN'I'IIRNATIONAI, CI,ASS                                     042

                                                                           Providing temporal'y use of a non-downloadable rveb application for storage
                                                                           and management of electronic health records, document management,
          *   IDIIN'I'IFICAI'ION                                           forms processing, custom coding, billing, workflow, business
                                                                           management, and facility operations for addiction treatment facilities
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 87 of 162
  Case 1:17-cv-24733-XXXX Document L-L Entered on FLSD Docket L2l3tl2OI7 Page 34 of 41-


                                              and other healthcare related facilities and instructional user guides.
    *FILING BASIS                             SECTION 1(a)
         FIRST USE ANYWHERE DATE              At least   as early as 01/1612012

        FIRST USE IN COMMERCE DATE            At least   as early as 01116/2012

        SPECIMEN FILE NAME(S)

        ORIGINAL PDF FILE                     SPE0-173 199229130-20160520100335347004          .   OTO.pdf
        CONVERTED PDF FILE(S)
        (3 pages)
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        SPECIMEN DESCRIPTION
                                              Promotional newsletter describing the service as an already-existing feature   of
                                              the software platform. Mark appears in the middle of page 2.

    ADDITIONAL STATEMENTS INFORMATION
    iTRANSLATION
    (ifapplicable)
    *TRANSLITERATION
    (ifapplicable)

    *CLAIMED PRIOR REGISTRATION
    (if applicable)
    *CONSENT (NAME/LIKENESS)
    (ifapplicable)
    *CONCURRENT USE CLAIM
    (ifapplicable)

    ATTORNEY INFORMATION
    NAME                                      Brian Bell

    STREET                                    444 Brickell Ave. Ste. 850

    CITY                                      Miami
    STATE                                     Florida

    COUNTRY                                   United States

    ZIPIPOSTAL CODE                           3313   I
    PHONE                                     56134959t8

    EMAIL ADDRf,SS                            bell@kipusystems.com

    AUTHORIZED TO COMMUNICATE VIA EMAIL       Yes

    CORRESPONDENCE INFORMATION
    *NAME                                     Brian Bell
    *STREET                                   444 Brickell Ave. Ste. 850
    *CITY                                     Miami
    *STATE
    (Required for U.S. addresses)
                                              Florida

    *COI]NTRY                                 United States
    iZIPIPOSTAL CODE                          33131

    PHONE                                 i 56134es918
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 88 of 162
 Case I:17-cv-24733-XXXX Document                   1-1   Entered on FLSD Docket L213L12O17 Page 35 of 4L

    *EMAILADDRESS
                                            i bell@kipusystems.com
    *AUTHORIZED TO COMMUNICATtr VL{ EMAIL   iI Yes

    FEE INFORMATION

    APPLICATION FILING OPTION                   TEAS Plus

    NUMBER OF CLASSES                           I

    FEE PER CI-ASS                              225
    *TOTAL FEE PAID                         i 22s

    SIGNATURE INFORMATION
    * SIGNA'I'URtr                              /Brian D. Bell/
    * SIGNATORY'S NAME                          Brian D. Bell
    * SIGNATORY'S POSITION                      Corporate Counsel, Attorney of Record, Florida bar member

    SIGNATORY'S PHONE NUMBER                i
                                            I
                                                ser:+sssra
    * DATE SIGNED                               05120/2016
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 89 of 162
   Case I:17-cv-24733-XXXX Document 1-1 Entered on FLSD Docket L2l31"l2OI7 Page 36 of 41

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OMa No. 0651{009 (Exp 0212812018)




                                           Trademark/Service Mark Application, Principal Register

                                                                      TEAS Plus Application

                                                                        Serial Number : 87044446
                                                                        Filing Date: 0512012016
To the Commissioner for Trademarks:

MARK: OTO       (Standard Characters, see mark)
The literal element of the mark consists of OTO.
The mark consists of standard characters, without claim to any particular font, style, size, or color

The applicant, Kipu Systems, LLC, a limited liability company legally organized under the laws of Florida, having an address of
   444 Brickell Ave. Ste. 850
   Miami, Florida 33131
     United States
     56 13495901(phone)


requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Tabte.
    International Class 042: Providing temporary use of a non-downloadable web application for storage and management of electronic health
records, document management, forms processing, custom coding, billing, workflow, business management, and facility operations for addiction
treatment facilities and other healthcare related facilities and instructional user guides.

Use in Commerce: The applicant is using the mark in commerce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.

In International Class 042, the mark was first used by the applicant or the applicant's related company or licensee predecessor in interest at least
as early as 0111612012, and first used in commerce at least as early as 0111612012, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Promotional newsletter describing the service as an already-existing feature of the software platform. Mark
appears in the middle of page 2..

Original PDF file:
SPE0-173199229130-20160520100335347004                    .   OTO.pdf
Converted PDF file(s) (3 pages)
Specimen       Filel
Specimen File2
Specimen File3




The applicant's current Attorney Information
   Brian      Bell444 Brickell Ave. Ste. 850
    Miami, Florida 33131
    United States
    5613495918(phone)
    bell@kipusystems.com (authorized)

The applicant's current Correspondence Information:
    Brian Bell
    Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 90 of 162
       Case I:I7-cv-24733-XXXX Document                                   1-1       Entered on FLSD Docket t2l3Ll2OL7 Page 37 of 41


      444 Brickeli Ave, Ste. 850
      Miami, Flolida 33131
       56 1 349591 8(phone)
     bell@kipusystems. com (authorized)
E-mail Authorization: I autholize the USPTO to send e-rnail correspondence concerning the application to the applicant or applicant's attomey
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Tradernark Electronic Application System (TEAS). Failure to
do so will result in an additional processing fee of$50 per international class ofgoods/services.

A fee payment in the amount of $225 has been submitted with the application, representing payment for I class(es).

                                                                                   Declaration

The sigr.ratoiy believes that: if the applicant is filing the application under l5 U.S.C. $ 105 1(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under l5 U.S.C. $ 105 1(b), 0 I 126(d), and/or $ ll26(e), the applicant has a bona fide intention, and is entitled, to use the mark in
commerce on or in connection with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and
belief, no other persons, except, ifapplicable, concurrent users, have the right to use the mark in commerce, either in the identical form or in such
near resemblance as to be likely, when used on or in connection with the goods/services ofsuch other persons, to cause confusion or mistake, or
to deceive. The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
$ 1001, and that such willful false statements and the like may jeopardize the validity of the application or any registration resulting therefrom,
declares that all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.



Signature: /Brian D. Bell/ Date Signed: 05/2012016
Signatory's Name: Brian D. Bell
Signatory's Position: Corporate Counsel, Attorney of Record, Florida bar member




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RAM Accounting Date: 0512012016

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  Case 1,:17-cv-24733-XXXX Document 1-1 Entered on FLSD Docket L2l3Ll2OI7 Page 38 of 41-




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   511   9/201 6                                                Kipu Records Release Notes for 3/9/2016


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                   Kipu Recards: late$t updates and teatores.




                                                                                                                   KIPU
                                                                                                                   $Y$TEM5


                   Kipu Records Release Notes for 3l9l2tl16

                    ln today's release note, KIPU is outlining the The next $uperAdmin Training in Florida
                   latest enhancernents and                                    will be held at the Duncan Ccnference
                   improvernents; including updates                            Center in Oelray Beach *n Tuesday, March
                   in Reporting and access information tc                      15, 2016, We will          be "Focusing on the {op
                   KlPUpedia!                                                  R0u"
                                                                               Contact us if you would like information on
                   Cantact us at {56't } 349-5911 for further                  how io attendl
                   explanation or training.




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                   Reports
                   All Co-pay and Deduciible fields are now gathered from lhe lnsurance Verification and
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                   Billahle Reports evaluation date presentation was imprav*d.


                   The Allow_UR field on the pati*nt face sheet is now available in Reports.


                   Ccntacts
                   $uper admins can n*w export all Cnntects int* a C$V file. To exporl Click th* Hxpod
                   buiton in the upper right of the Contacts tab.

                   Xfital Signe History
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                   vital signs.

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  Case 1:17-cv-24733-XXXX Document 1-1 Entered on FLSD Docket I2131,120L7 Page 40 of 41

    5t19/2016                                                          Kipu Records Release Notes tor 31912016



                   KlPUpedia
                   Look {or the HELP button in ihe upper right wiih the next update. There you wili find new
                   tips and training tools.



                    NID YOU KNOW?

                   Restore Functionality
                   A Super Admin can retrieve deleted patients, forms, and templates under
                   SettingslRestore. Howevel did you know that deleting documenls takes tinre? This is why
                   Super Admins need to be very careful when irying to reslore an item that has just been
                   deleted. One should reserve a fev'r hours after a deletion has occurred before trying to
                   restore it, in order to avoid a restoratisn that is noi complete.


                   $ignature Pads - Scriptel
                   $ciptel Pads are now supporled on Mac and PC.s. They're supported in Chrsme, Firefox,
                   lnternet Explorer, and Safari" You can find more infcrmation on Sciptel
                   here : htlp:l/s€{iptelcorn


                   What is OTOTM?
                   Working clasely with a detcx facility to create KlPUO, we created a way to document that
                   a patient, after discharge, may not be welcome back for readmission. This is the genesis
                   of OTOrrd * shorl far "One Time Only".


                   This unique identifier, rnrhen checked, will cause an "OTO!" to display next ta the patieni's
                   name in the header of hislher chart. lt does not prevent a patient frorn being readmilted;
                   rather, it serves as a flag on that individual that extra due diligence may be required before
                   actually doing so^


                   Ularch is National Nutrition Month!
                   Gaod nutrition is the cornerstone of a happy and healthy lifestyle. lt positively affects both
                   mind and body and helps pronrote longevlty.


                   Every March, the Academy af Nutrition and Dietelics runs an educational campaign thai
                   focuses on the inrportance of nraking informed food choices, developing saund eating,
                   and physical activity habits.


                   fn Kipu Records, you have some great tools to help manage nr:trition and special dietary
                   needs. On the face sheet, you are able to document both food allergies and restrictions.
                   You can select the appropriate nulritional needs from a custonrizable list of comrr"ton

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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 94 of 162
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   5/19/20 16                                                     Kipu Records Release Noles lor 3/9/20'16

                 dietary options as well as frqe type any additlonal requirements. This in turn allows you to
                 generale a food memo complete with the client photc for the facility chef"


                 We also offer a great nutritional screen that can be used to idenfify clients who rEquire
                 additional health education and treatment. lf you do not currently have a copy in your
                  system, plea*e contact your Kipu representative ar the Client $ervices team at 561-349-
                  5011.


                  For some great ideas on how io integrate nutrition education at your facility this rnonth,
                  please visit: http://unzuw.eatright.srylresourgesinatjqnql-ngtstian:rylsnth


                  As always      *   please feel free to contact us at {581) 349-5911 with your questions and your
                  comments.


                  Allthe best,
                  Tobias




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   Case L:17-cv-24733-XXXX Document 1-2 Entered on FLSD Docket L2l3Il2AL7 Page 1 of 6




                                               668))
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 96 of 162
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 100 of
 Case I:L7-cv-24733-XXXX Document 1-2 Entered
                                       162 on FLSD Docket L2l3Ll2OI7 Page 6 of 6

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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 101 of
                                       162 on FLSD Docket L2l3Il2OL7 Page 1- of 41
 Case L:L7-cv-24733-XXXX Document 1-3 Entered




                          Exhibit 4C))
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                                         162
   Case t:I7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket 12131,12017 Page 2 of 4L


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  US Serial   Number: 87044446                                                                            Application Filing May 20,2016
                                                                                                                                 Date:
     US   Registration 5127508                                                                            Registration Date: Jan. 24,2017
              Number:
      Filed as TEAS Yes                                                                                          Currently TEAS Yes
               Plus:                                                                                                       plus:

              Register: Principal
           Mark Type: Service Mark
                  Status:    Registered. The registration date is used to determine when post-registration maintenance documents are due.

          Status Date: Jan. 24. 2017
   Publication Date: Nov. 08, 2016



                                                                                     Mark Information
           Mark Literal OTO
            Elements:
 Standard Character Yes. The mark consists of standard characters wiihout claim to any particular font style, size, or color
                  Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                                    Goods and Services
Note: The following symbols indicate that the registranUowner has amended the goods/services

              .   Brackets [..] indicate deleted goods/services;
              .   Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              o   Asterisks -..' identify additional (new) wording in the goods/services.

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            Class(es):
          Class Status: ACTIVE
                   Basis;    1(a)

              First Use:     Jan.16,2012                                                                  Use in Commercel Jan. 16,2012

                                                                     Basis Information (Case Level)
                  Filed Use: Yes                                                          Currently Use: Yes                                                          Amended Use: No
                   Filed ITU: No                                                          Currently ITU: No                                                            Amended ITU: No
                  Filed 44D: No                                                           Currently 44D: No                                                           Amended 44D: No
                  Filed 44E:        No                                                    Currently 44E: No                                                           Amended 44E: No
                  Filed 664: No                                                           Currently 66A: No
           Filed No Basis:          No                                          Currently No Basis: No

                                                                     Current Owner(s) Information
       Owner Name: Kipu Systems, LLC
    Owner Address: 444 Brickell Ave. Ste. 850
                   Miami, FLORIDA 33131
  Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 103 of
                                         162 on FLSD Docket L2l31,l2OI7 Page 3 of 41
   Case 1:17-cv-24733-XXXX Document 1-3 Entered

                        UNITED STATES
   Legal Entity   Type: LIMITED LIABILITY COMPANY                     State or Country FLORIDA
                                                                     Where Organized:

                                         Attornev/Corresnon dence Inform ation
                                                               Attorney of Record
     Attorney Name: Brian Bell
    Attorney Primary bell@kipusvstems.com                               Attorney Email Yes
      Email Address:                                                       Authorized:
                                                                 Correspondent
      Correspondent BRIANBELL
      Name/Address: 444 BRICKELL AVE. STE. 850
                        MIAMI, FLORIDA 33131
                        UNITED STATES
                Phone: 5613495918
    Correspondent e- bell@kipusvstems.com                             Correspondent e- Yes
               mail:                                                   mail Authorized:
                                                     Domestic Representative - Not Found

                                                     Prosecution History
   Date               Description                                                                       Proceeding
                                                                                                        Number
Jan.24,2017        REGISTERED-PRINCIPAL REGISTER
Nov. 08,2016       OFFICIAL GMETTE PUBLICATION CONFIRMATION E.MAILED
Nov. 08, 2016      PUBLISHED FOR OPPOSITION
Oct.19,2016        NOTIFICATION OF NOTICE OF PUBLICATION E-MAILED
Sep. 23, 2016      APPROVED FOR PUB - PRINCIPAL REGISTER
Sep.13,2016        EXAMINER'S AMENDMENT ENTERED                                                       88888
Sep.13,2016        NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                       6328
Sep.13,2016        EXAMINERS AMENDMENT E-MAILED                                                       6328
Sep. 13, 2016      EXAMINERS AMENDMENT -WRITTEN                                                       68365
Sep. 06, 2016      ASSIGNED TO EXAMINER                                                               68365
May 26,2016        NOTICE OF PSEUDO MARK E.MAILED
May 25,2016        NEWAPPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
May 24,2016        NEW APPLICATION ENTERED IN TRAM

                                            TM Staff and Location Information
                                                           TM Staff lnformation - None
                                                                  File Location
   Current Location: PUBLICATION AND ISSUE SECTION                    Date in Location: Jan.24,2017
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 104 of
                                       162
 Case 1:17-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l3Il2OI7 Page 4 of 41




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                                       162 on FLSD Docket 12l3Il2OI7 Page 5 of 41-
 Case L:I7-cv-24733-XXXX Document 1-3 Entered


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         Fornr PTO-1594     (Rev.6-12)                                                                               U.S. DEPARTMENT OF COMMERCE
         OMB Coilection 0651-0027 (exp.       04i30/20'181                                                      United States Patent and Trademark Offlce

                                                      RECORDATION FORM COVER SHEET
                                                         TRADEMARKS ONLY
              To the Director of the U, S. Patent and Trademark office: Pldase record the attached documents or the new address(es) below,

         1, Name of conveying party(ies)                                         2. Name and address of receiving party(ies)
                                                                                 Additional names, addresses, or citizenship attached?
                                                                                                                                                      I     Yas
                                                                                                                                                      Xruo
                                                                                   Name: CIW NATIONAL BANK OF FLORIDA

          E      lndividual(s)                       Association                   Street Address: 25 WEST FLAGLER STREET

          tl    Partnership                           Limited Partnership          City:      MIAMI
          I     Corporation-     State:-                                           State:      trt   natna
                Other Limited Liability Company
                                                                                   Country:    Usn                                Zipl   331 30
         Citizenship (see guidelines) Florida
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                                                                                         Other_                   Citizenship FLORIDA
          ffi Security Agreement f]                    Cnange of Name             lf assignee is not domiclled in the United Slales, a domestic
                                                                                  representative designation is attached:           I Yes E     ttto
          I     ott'r"r.                                                             (Designations must be a separate document from assignment)
         4. Application number(s) or registration number(s) an identiflcation or description of the Trademark,
         A. Trademark Application          No.(s)    Text      B. Trademark Registration No.(s)
         See attached Schedule       1


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         C, ldentification or Description of Trademark(s) (and Filing Date if                           on or                                u       nown
         See attached Schedule       1




                                 to whom correspondence
         5. Name & address of party                                              6. Total number ol applications and
         concerning document should be mailed:                                         registrations involved:                                       18
         11s66. Angelo & Banta, P.A., Attn: Sabrina Ramsundar

         lnternal Address:                                                       7. Total fee (37 CFR 2.6(bX6) & 3.41)                   $ 46s.00


         Street Address
                                515 E. Las Olas Boulevard, Suite 850                   !    Authorized to be charged to deposiiaccount
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 106 of
                                        162
 Case t:17-cv-24733-XXXX Document 1-3 Entered on FLSD Docket 12131,12017 Page 6 of 41

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                        Guidelines for Completing Trademarke Govor Shcots (PTO.1694)
                      Cover Sheet lnlotmation must be submitted with sach document to be record€d. lf the documenl to be r6corded
            concerns both patsnts and trademarks, 66parate palent and trademark cover sheets, including sny attached pages for
            continuing information, must accompany the documont. All pagss of the cover shest should be numbered consecutively for
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             Item 1. Name of Conveying Party(ies).
                     Ent€r the full name of the party(ies) conveying the interesl. lf there is more than one conveying party, enter a check
             mark in the "Yes'' box to indicate that additional information ls attached. ThB namo of tho socond and any subsaqu6nt
             conveying party(ies) should be placed on an attaohed page clearly identified as a continuation oFthe information in ltom 1.
             Enter a check mark in the "No" box, if no information is contained on an attached page,
             Item   2. Name,Address, Legal Entlly Type, and Citizenship ofAssignee.
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             tho r€caiving parly by checking the appropriate box and filllng in the citizenshlp information, lf a box is not provided for the legal
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            recordation against lho wrong propsrty. A filing date should be provided only when tha apptication dr regiskation number is
            unknown, Enter a check mark in tho appropriate box: "Yes" or "No" lf additlonal numbers appear on attached pages, Be
            sure to ldentlfy numbers lnclrJded on aliached pages as the conlinuation of ltem 4.

             Itsm 5. Nam€ and Address of Party to whom correspondonce concerning document should be mailed.
                    Enter the nam€ and full address of lhe party to whom corespondenco ls lo bs mailed.

             Item 6, Total Applications and Trademarks lnvolved,
                     Eni^/ lho l^tal n, 'lfh6r ^a a^^li^^r
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             and reglstratlons ldsntlfled on tho cover sheBt and on addltlonal pages,

             Item 7, Total Feo Enclosed.
                     Enler the total fee enclosed or authorized to be charged, A fee is required ior eaoh application and registration
             agalnst whlch tho document is recorded,

             Item 8. Paymont lnformation,                                                                                                                               l
                    Enter the deposit account numbar and authorized user name to aulhorize charqes.                                                                     I


                                                                                                                                                                        l
             Item   9. Slgnature,                                                                                                                                       l

                    Enter lhe name of the person submitting lhe document, Tha submitter must sign and dato lhB cover sheet. Enter the
            lotal number of pages including the cover sheet, attachments, and documont.


            This collection of infomation is rcquired by 35 UsC 26t and 262 and l5 USC 1057 Bnd I 060. The infomation is used by the puhlic to submit (6nd by ths
            USPTO to process) pltent 8trd trsdcoalk asslgnnent rcquesis, A{lerthe USPTO records th€ infomatioD, thc records forpal€nt and trademarks, assigments,
            lnd oih€r ossocisted doculnenls can be ihspected by th€ prblic. To view documenls recorded undet secrecy orders or documents recorded due to the interesl
            oflhc fcdcral govcmctrl, a wlilleu authoriz.tioD uust bc submitted. Ttls collection ls sstinlated to tokc 30 minures to complcte, itrcluding Batberirg,
            prepting, md subnitting th€ fom to thc USPTO. Ary commenls on the amount oftimc you require to coo)plctc t$is fom and.Tdr suggestions for reducing
            thls buden, should bc scnl to lhc Mrnager ofthe Assigrueil Rccordation Branch, Randolph S$mre, Room 5D01, 2800 South Randollh Srreet, fulin$oD; VA
            22206, DO NOT SEND FEES OR COMPLSTED FORMS TO THlS ADDR-ESS. SEND TO: Mai[ Sbp Assiguretrt Rccordatiou Emch, Director of the
            USPTO, P,O, Box 1450, Alexandria, VA 22313-14J0.
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 107 of
                                       162 on FLSD Docket L2l3Ll20L7 Page 7 of 41
 Case L:I7-cv-24733-XXXX Document 1-3 Entered




                                             TRApEMARK SECUBTIY AGREEMENT

                 THIS TRADEMARK SECURITY aCREPIMEWT (this "t!gre9r0e41J, daled as of November 30,2017 by
          KIPU SYSTEMS LLC, a Florida limited ]iability company (the "Gran!gl"), in favor of CITY NATIONAL BANK
          OF FLORIDA (the "Lender").

                                                               RpcrTA:IiS

                    A,      The Grantor has entered into that certain Loan Agreement dated as of even date herewith (as may
          be anrended, restated, supplemented or otherwise modified from time to time, the t'tSg4-Ag'rq0.9[!") with the
          Lender, pursuant to which the Lerrder has agreed to make a loan to Grantor.

                    B.      In   connection therewith Grantor and Lender are entering into this Agreement          to   secure the
          payment   ofall amounts owing by the Grantor under tho Loan Agreement.

                    In consideration of the mutual agreements set forth herein and in the Loan Agreement, the Grantor does
          hereby grant to the Lender, a continuing seourity interest in all ofGrantor's right, title and interest in, to and under
          the following, whether presently existing or hereafter created or acquired:

                    (1)     each trademark and trademark application, including, without limitatiol, each tmdemark and
                            trademark application refered to in Schedule 1 attached heretq together with any reissues,
                            continuations or extensions theleofand all goodwill associated therewith;

                    (2)     each trademark license, including, without limitation, each trademark license listed orr Schedule   I
                            attached hereto, together with all goodwill associated therewith;

                    (3)    all products and proceeds ofthe foregoing, including, without linritation, any clainr by the Grantor
                           against third parties for past, present or future infringement olany trademark, including, without
                           limitation, any hademark referred to in Schedule I attached hereto, any trademark issued pursuant
                           to a trademark application referred to in Schedule 1 and any trademark licensed under aly
                           trademark license listed on Schedule I attached hereto (items 1 through 3 being herein collectively
                           refened to as the "Tradelqgtk_eelalqal");

          The Grantor hereby acknowledges and affirms that the rights and remedies of the Lender with respect to the security
          interest in the Trademark Collateral made and granied hereby are more fully set forth in the Loan Agreement; the
          term$ and provisions of which are incorporatod by reference herein as if fully set forth herein. Capitalized terms
          used but not defined herein have the respective meanings ascribed thereto in the Loan Agreement,


                                                         Isignature page followsJ
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 108 of
                                       162
 Case t:I7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket L213L12O17 Page 8 of 41




                    The Grantor has caused this Tradornark Security Agreement to be duly executed by its duly authorized
          officer thereunto as ofthe date first set forth above.


                                                             GRANTOR:

                                                            KIPU SYSTEMS LLC, a Florida limited liahility
                                                             company

                                                            By:
                                                                Jeffrey                          Officer


          STATE OFFLORIDA                   )
                                            )ss
          COIJNTY OF    14io*\a L           )


                    The foregoing instrument was acknowledged before me tni,          dAauv
                                                                                        ofNovernber, 2017, by Jeffrey
          Fiorentino, as Chief Executive                          LLC, a Florida limited liability company, on behalf of
          and as an act of the company,       is personally         me or has produced a                              as
          identification, and took an oath.


                                                    NOT
                                                    Print Name                           _s
                                                    My Commission



                                                                    I'ERCEOEs      NET
                                                            t'lotatY Publlc - Slatr ol Flotlda
                                                              comillEslor # lF 237957
                                                            My Comm. Expkes Jun 4,2019
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 109 of
                                       162 on FLSD Docket I2l3Ll2OL7 Page 9 of 4L
 Case L:I7-Iv-24733-XXXX Document 1-3 Entered




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                                                                      Nunrtrtr                          Regisfratira

               Kipu         Trademryk         8J835534                4442681       Jannniy ?9.       Doceinber 3.2013
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           KipuLabSmn       Tradsmark         86677404                48953?5      June 29, 2015      February 2,2016

               0T0            Service         ti?044446               512?5i|8     L{ay ?{). 2016     January 24. 2017
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 110 of
                                       162
Case I:t7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l31,l2OI7 Page 10 of 41-




            DAUPHIN        Service    7'.7842294    3901682       October 6, 2009    January 4, 201      I
                            Mark

           MCONSULT        Service    779rt148      3901 891        January 13,      January 4, 201      1

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                           Service    8sr3'1239     4003902       September 24,       July 26, 201   1

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                           Service    7791 1081     3901 888        January 13,      Ianuary4,2011
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           TreatmentEMR   Trademark   86784735     Abandoned        0ctober 12,        Abandoned
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            CHOPRAJ        Service    77840475                    October 2, 2009   November23,2010
                            Mark                    3   88 1276
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 111 of
 Case 1:17-cv-247',                  162




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                                                     T
R.g.No. 5,127,508               Kipu Systems, LLC (FLORIDALIMITED LIABILITY COMPANY)
                                444 Brickell Ave. Ste. 850
Registered Jan. 24, 2017        Miami, FL 33131

                                CLASS 42: Providing temporary use of a non-downloadable due diligence patient admission
Int. Cl.: 42                    check/flag feature of a web application for storage and management of electronic health
                                records, document management, forms processing, custom coding, billing, wor.kflow,
Service Mark                    business management, and facility operations for addiction treatment facilities and other
                                healthcare related facilities and instructional user guides
Principal Register
                                FIRST USE t-16-2012; IN COMMERCE 1-16-2012

                                THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                                PARTICULARFONT STYLE. SIZE OR COLOR

                                sER. NO. 87-044,446, FILED 05-20-2016
                                CHRISTINA B KING, EXAMINING ATTORNEY




fut*.urk /^
Director of the United States
Patent and Trademark Office
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 112 of
                                     162
                                                                                                                                 of 4L

      WAR,NING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                          BELOW DURING THE SPECIFIED TIME PERIODS

    Requirenients in the First Ten Years*
    What and When to File:

       .   Firsl Filing Deadline.' You must file a Declaration of Use (or Excusable Nonuse) between the 5th and           6th
           years after the registration date. See 15 U.S.C. $$1058, 1141k. If the declaration isaccepted,                  the
           registration   will continue in force for the rernainder of the ten-yeat period, calculated from   the registration
           date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


       ,   Second Filing Deadline.' You must file a Declaration o{ Use (or Excusable Nonuse) and an Application
           forRenewal betweenthe 9th and lOthyears afterthe registration date.* See 15 U.S.C. $1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

       . You must file a Declaration of Use (or Excusable                 Nonuse) and      an Application for        Renewal
           between every 9th and 10th-year period, calculated from the registration date.*



    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with
    the payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with                                an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
    (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
    The time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
    nationally issued registrations. See 15 U.S.C. $$1058, 1141k. However, owners of international registrations
    do not trle renewal appllcatrons at the USPIU. lnstead, the holder must trle a renewal ol the uncleriying
    international registration at the International Bureau of the World Intellectual Property Organization, under
    Afticle 7 of the Madrid Protocol. before the expiration of each ten-year term of protection, calculated from the
    date of the international registration. See 15 U.S.C. $1141j. For more information and renewal forms for the
    international registration, see http://www.wipo.int/madrid/enl.

    NOTE:    tr'ees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at h
    ttp://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http ://www.uspto.gov.




                                                   Page:2   of2lRN #5127508
          Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 113 of
                                                  162 on FLSD Docket L2l3Il20I7 Page 13 of 41
           Case t:L7-cv-24733-XXXX Document 1-3 Entered



    From:                         TMOfficialNotices@USPTO.GOV
    Sent:                         Tuesday, November 8, 2016 00:46 AM
    To:                           bell@kipusystems.com
    Subject:                      Ofiicial USPTO Notice of Publication Confirmation: U.S. Trad6mark SN 87044446: OTO


                                                TRADEMARK           O   F FICIAL GAZETTE          PUBLICATION CONFIRMATION
    U.S. Serial Number: 87044446
    Mark:   OTO
    lnternational Class(es): 042
    Owner: Kipu Systems, LLC
    DockeUReference Number:

    The mark identiiisd above has been published in the Trademark Official Gazette (TMOG) on Nov 08, 2016.

    To Review the Mark in the TMOG

          Click on the following link or paste the URL into an internet browser: https://tmog.uspto.gov/#issueDate=2016-'11-08&serialNumber=87044446


    USPTO enor, the applicant should immediately email the requested correction to TMPostPubQuerv@uspto.gov.              For applicant corrections or amendments after publication,

    Assistance Center at 1 -800-786-91 99.

    Significance of Publication for Opposition:
      .     Any party who believes it will be damaged by the registration of the mark may file a notice of opposition (or extension of time therefor) with the Trademark Trial and Appeal

            registration should issue.

    To check the status of the application, go to http://tsdr.uspto.qov/4cqgeNumbef=87044446&caseTvpe=SER|AL            NO&sea                           or contact the Trademark
    Assistance Center at 1-800-786-9199. etea

    To view this notice and other documents for this application on-line, go to
    htto://tsdr.uspto.gov/#caseNumber=87044446&caseTvpe=SERIAL            NO&searchTvpe=documentSearch.          NOTE:Thisnoticewillonlybecomeavailableon-linethenextbusiness
    day after receipt of this e-mail.




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     Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 114 of
                                              162
      Case t:L7-cv-24733-XXXX Document 1--3 Entered on FLSD Docket 12131,120L7 Page 14 of 41



                          UNITED STATES PATENT AND TRADEMARK OFFICE


                                                                                                                                                    Commissioner for Trademarks
                                                                                                                                                                   P.O. Box 1451
                                                                                                                                                     Alexandria, v A 22313-1451
                                                                                                                                                                 M.uspto.gov
                                                                               Oct 19,2016

                                                                   NOTICE OF PUBLICATION
      Serial No.:                                                                       z.    Mark:
      87-044,446                                                                              oTo
                                                                                              (STANDARD CHARACTER MARK)

3.    lnternationalClass(es):
      42

4.    Publication Date:                                                                       Applicant:
      Nov 8, 2016                                                                             Kipu Systems, LLC




The mark of the application identified appears to be entitled to registration. The mark will, in accordance with Section 12(a) of the Trademark Act of 1946, as amended, be
published in lhe Official Gazefte on the date indicated above for the purpose of opposition by any person who believes he will be damaged by the registration of the mark. lf no
opposition is filed within the time specified by Section 13(a) of the Statute or by rules 2.101 or 2.102 of the Trademark Rules, the Commissioner of Patents and Trademarks may
issue a certificate of registration.

Copies of the trademark portion of lhe Official Gazetfe containing the publication of the mark may be obtained from:
                                                               The Superintendent of Documents
                                                               U.S. Government Printing Office
                                                               PO Box 371954
                                                               Pittsburgh, P A 1 5250-7 954
                                                               Phone: 202-5'l 2-1 800

By direction of the Commissioner




               Emall Address(es):

               bell@kipusystems.com
      Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 115 of
                                              162 on FLSD Docket L2l3Ll2Ot7 Page 1-5 of 41
       Case 1:17-cv-24733-XXXX Document 1-3 Entered



From:                      TMOfficialNotices@USPTO.cOV
Senl:                      Wednesday, October 19, 2016 04:06 AM
To:                        bell@kipusystems.com
Subject:                   Official USPTO Notification of Notice of Publication: U.S. Trademark SN 87044446: OTO

                                                               NOTIFICATION OF'NOTICE OF PUBLICATION"

Your trademark application (Serial No. 87044446) is scheduled to publish in lhe Official Gazetle on Nov 8, 2016 . To preview the Notice of Publication, go to
http://!dr.uspto.qov/search.action?sn=87044446. lfyou have difficulty accessing the Notice of Publication, contact TDR@uspto.gov.

PLEASE NOTE:
 1.  The Notice of Publication may not be immediately available but will be viewable within 24 hours of this e-mail notification.
 2.  You will receive a second e-mail on the actual "Publication Date," which wjll include a link to the issue of the Official Gazefte in which the mark has published

Do NOT hit "Reply" to this e-mail notification. lf you have any questions about the content of the Notice of Publication, contact TMPostPubQuerv@uspto.qov.
  Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 116 of
                                            162
   Case 3.:!7-cv-24733-XXXX Document l--3 Entered on FLSD Docket I2l3Ll20L7 Page 16 of 41


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                                                                        OVERVIEW
SERIAL NUMBER                                          47044446                   FILING DATE                                 05t20t2016

REG NUMBER                                             0000000                    REG DATE                                       N/A

REGISTER                                            PRINCIPAL                     MARK ryPE                                 SERVICE MARK

INTL REG #                                                   N/A                  INTL REG DATE                                  N/A

TI\,4   ATTORNEY                               KING. CHRISTINA B                  L.O. ASSIGNED                                  109




                                                                   PUB INFORMATION
RUN DATE                              0912412016

PUB DATE                              N/A

STATUS                                680-APPROVED FOR PUBLICATON

STATUS DATE                           0912312016

LITERAL MARK ELEMENT                  oTo

 DATE ABANDONED                                              N/A                  DATE CANCELLED                                 N/A
. SECTION 2F                                                 NO                   SECTION 2F IN PART                             NO

 SECTION 8                                                   NO                   SECTION 8 IN PART                              NO

 SECTION 15                                                  NO                   REPUB 12C                                      N/A

i RENEWAL FILED                                              NO                   RENEWAL DATE                                   N/A

 DATE AMEND REG                                              N/A



                                                                       FILING BASIS
                   FILED BASIS                                          CURRENT BASIS                                  AMENDED BASIS

 1(a)                            YES               I   (a)                                    YES              1 (a)                       NO

 1 (b)                           NO                1 {b)                                       NO              1 (b)                       NO

 44D                             NO                44D                                         NO              44D                         NO

 44E                             NO                44E                                         NO              44E                         NO

 66A                             NO                66A                                         NO

 NO BASIS                        NO                NO BASIS                                    NO




                                                                        MARK DATA
 STANDARD CHAMCTER MARK                                                           YES

 LITERAL MARK ELEMENT                                                             oTo
 MARK DRAWING CODE                                                                4-STANDARD CHARACTER IVARK

 COLOR DRAWING FLAG                                                               NO



                                                        CURRENT OWNER INFORMATION
 PARTY TYPE                                                                        1O-ORIGINAL APPLICANT

 NAME                                                                             Kipu Systems, LLC

 ADDRESS                                                                          444 Brickell Ave. Ste. 850
                                                                                   l\4iami, FL 33131

 ENTITY                                                                            16-LTD LIAB CO
  Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 117 of
                                          162 on FLSD Docket I2l3Il2OI7 Page 17 of 4J,
   Case t:L7-cv-24733-XXXX Document 1-3 Entered

CITIZENSHIP                                                          Florida



                                                      GOODS AND SERVICES
INTERNATIONAL CLASS                                                  042

       DESCRIPTION TEXT                                              Providing temporary use of a non-downloadable due diligence patient admission
                                                                     check/flag feature of a web applicatjon for storage and management of electronic
                                                                     health records, document management, forms processing, custom coding, billing,
                                                                     workflow, business management, and facility operations for addiction treatment
                                                                     facilities and other healthcare related facilities and instructional user guides




                                         GOODS AND SERVICES CLASSIFICATION
INTERNATIONAL     042        FIRST USE DATE        0111612012        FIRST USE IN         0111612012            CLASS STATUS         6-ACTIVE
CLASS                                                                COMMERCE
                                                                     DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTMTION                                                NO

PSEUDO MARK                                                          ONE TIME ONLY



                                                     PROSECUTION HISTORY
DATE                      ENT CD        ENT TYPE       DESCRIPTION                                                                          ENT NUM

09t23t2016                CNSA             o           APPROVED FOR PUB - PRINCIPAL REGISTER                                                    009

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                                                       EXAMINER'S AMENDMENT ENTERED                                                             008

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0911312016                GNEA             F           EXAMINERS AMENDMENT E-MAILED                                                     i
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09t1312016                CNEA             R           EXAMINERS AMENDMENT -WRITTEN                                                             005

09t06t2016                DOCK             D          ASSIGNED TO EXAMINER                                                                      004

05t26t20'16               MPMK             E           NOTICE OF PSEUDO MARK E-MAILED                                                           003

05125t2016                NWOS                         NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAIV                                    002

05t2412016                NWAP                         NEW APPLICATION ENTERED IN TRAM                                                          001




                                       CURRENT CORRESPONDENCE INFORMATION
ATTORNEY                                                             Brian Bell

CORRESPONDENCE ADORESS                                               BRIAN BELL
                                                                     444 BRICKELL AVE. STE. 850
                                                                     MIAMI, FL 33131

DOMESTIC REPRESENTATIVE                                              NONE
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 118 of
                                        162
Case 1:l-7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l3Ll2Ot7 Page 18 of 41
   Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 119 of
                                            162 on FLSD Docket 1213L120L7 Page 19 of 41
    Case l-:17-cv-24733-XXXX Document 1-3 Entered


                                      Trademar.k Snap $hot Am,endment & Mail Processing Sfy,lesheet
                                           (Tabt€,pr€sents the data on Arnendrnen! & M6il Processing:Complote)



                                                                    OVERVIEW
 SERIAL NUMBER                                      87044446                  FILING DATE                                0512012016

 REG NUIVIBER                                       0000000                   REG DATE                                      N/A

 REGISTER                                         PRINCIPAL                   l\ilARK TYPE                             SERVICE MARK

 INTL REG #                                               N/A                 INTL REG DATE                                 N/A

 TM ATTORNEY                                  KING, CHRISTINA B               L.O. ASSIGNED                                 109



                                                                PUB INFORMATION
 RUN DATE                            0911412016

 PUB DATE                            N/A

 STATUS                           i 647-EXAMINERS AMENDMENT - MAILED

 STATUS DATE                         0911312016

 LITERAL MARK ELEMENT                oro

 DATE ABANDONED                                           N/A                 DATE CANCELLED                                N/A

. SECTION 2F                                              NO                 SECTION 2F IN PART                             NO

 SECTION 8                                                NO                 SECTION 8 IN PART                              NO

 SECTION 15                                               NO                 REPUB 12C                                      N/A

 RENEWAL FILED                                            NO                 RENEWAL DATE                                   N/A

 DATE AMEND REG                                           N/A



                                                                   FILING BASIS
                  FILED BASIS                                       CURRENT BASIS                                 AMENDED BASIS

  (a)                           YES               1 (a)                                 YES               1 (a)                   NO

  (b)                           NO                1 (b)                                  NO               1 (b)                   NO

, 44D                           NO                44D                                    NO               44D                     NO

 44E                            NO                44E                                    NO               44E                     NO

 664                            NO                664                                    NO

 NO BASIS                       NO                NO BASIS                               NO




                                                                   MARK DATA
 STANDARD CHARACTER MARK                                                     YES

 LITERAL MARK ELEMENT                                                        oTo
MARK DRAWING CODE                                                            4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                           NO




                                                     CURRENT OWNER INFORMATION
PARTY TYPE                                                                   1O-ORIGINAL APPLICANT

NAME                                                                         Kipu Systems, LLC

ADORESS                                                                      444 Brickell Ave. Ste. 850
                                                                             Miami, FL 33131

ENTITY                                                                       16-LTD LIAB CO
   Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 120 of
                                            162
   Case 1-:I7-cv-24733-XXXX Document l--3 Entered on FLSD Docket t2l3tl2oI7 Page 20 of 4L

crtzeusntp                                                       Florida



                                                   GOODS AND SERVICES
. INTERNATIONAL CLASS                                            042

        DESCRIPTION TEXT                                         Providing temporary use of a non-downloadable due diligence patient admission
                                                                 checldflag feature of a web application for storage and management of electronic
                                                                 health records, document management, forms processing, custom coding, billing,
                                                                 workflow, business management, and facility operations for addiction treatment
                                                                 facilities and other healthcare related facilities and instructional user guides




                                       GOODS AND SERVICES CLASSIFICATION
 INTER.NATIONAL    042        FIRST USE DATE   o1t16t20'12       FIRST USE IN         0111612012            CLASS STATUS         6-ACTIVE
CLASS                                                            COMMERCE
                                                                 DATE



                                    MISCELLANEOUS INFORMATION/STATEMENTS
CHANGE IN REGISTRATION                                           NO

 PSEUDO MARK                                                     ONE TIME ONLY




                                                 PROSECUTION HISTORY
 DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                          ENT NUM

 0911312016                XAEC                     EXAMINER'S AMENDMENT ENTERED                                                            008

 09/1 3/201 6              GNEN           o         NOTIFICATION OF EXAMINERS AIVIENDMENT E-MAILED                                          007

 09t13t2016                GNEA           F
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                                                    exnurruens AMENDMENT    E-MATLED                                                        006

 09t13t2016                CNEA           R         EXAMINERS AMENDMENT -WRITTEN                                                            005

 09/06/201 6               DOCK           D        ASSIGNED TO EXAMINER                                                                     004

 0512612016                MPMK           E         NOTICE OF PSEUDO MARK E-MAILED                                                          003

 0512512016                NWOS                     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM                                    002

 0512412016                NWAP                     NEW APPLICATION ENTERED IN TRAM                                                         001



                                    CURRENT CORRESPONDENCD INFORMATION


 CORRESPONDENCE ADDRESS                                          BRIAN BELL
                                                                 444 BRICKELL AVE, STE. 850
                                                                 MtAMr, FL 33131

 DOMESTIC REPRESENTATIVE                                         NONE
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 121 of
                                        162 on FLSD Docket I2l3tl21t7 Page 21, of 4t
 Case L:L7-Iv-24733-XXXX Document 1-3 Entered
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 122 of
                                        162
Case 1,:17-cv-24733-XXXX Document 1-3 Entered on FLSD Docket LZ|3I|2OIT Page 22 of 41"



                                                         NOTE TO THE FILE

 SERIALNUMBER:                            87044446

 DATE:                                   0911312016

 NAME:                                   cking2



 Searched:                                                       Discussed ID with:
 _    Google                                                 _        genior Atty
 _     Lexis/Nexis                                           _        Managing Atty
 _     Onel,ook
 _     Wikipedia
 _     Acronl.m Finder                                                Protest evl-dence reviewed
       Other:

 Checked:                                                        Discussed Geo. Sig. with:
 _     ceographic significance                               _        Senior Atty
 _     Surname                                               _        Managing   Atty
 _     Translation
       ID with rD/cLAss rnailbox

 _   Checked list ofapproved Canadian attorneys and agents

 Discussed file with
 ,Attorney/Appl.icant via          :

     _    phone                                                       l,eft mesFage with
          email                                                       Attorney/Appl-i cant

       Requested Law Library search                              X     fssued Examiner's Amendment
       for   :                                                         and entered changes in TRADEUPS

             PRINT            DO NOT PRINT               _           Added design code in    TRADEUPS
 _     Description of che              mark
 _     Translation- statement                                _         Re-imaged standard characLer
                                                                       drawing
 _     r\gvdLrve   Ll4rtFtcLfurr          bLaLcttrcrrL
 _     consent of living               individual                      Contacted TM MADRID ID/CLASS
                                                                       about misclassified    definite   ID
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       OTI{ER:
      Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 123 of
                                               162 on FLSD Docket I2l3Ll2OI7 Page 23 of 4I
       Case l-:17-cv-24733-XXXX Document 1-3 Entered


 To:                   Kipu Systerns, LLC (bell@kipusystems.com)
 Subject:              U.S. TRADEMARK APPLICATION NO. 87044446 - OTO - NiA

 Sent:                 9l13/2016 5:37:54 PM
 Sent As:              ECOM109@USPTO.GOV

 Attachments:

                                       UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                          OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT'S TRADEMARK APPLICATION


           U.S. APPLICATION SERIAL       NO.   87044446

           MARK: OTO
                                                                            *87 044446*
           CORRESPONDENT ADDRESS:
              BRIAN BELL                                                    GENERAL TRADEMARK INFORMATION:
              444 BRICKELL AVE. STE. 850                                    http://wnrv.uspto.qov/tradcmarks/index.isp
             MIAMI, FL 33I3I
                                                                            VIEW YOUR APPLICATION FILE

          APPLICANT: Kipu Systems, LLC

           CORRBSPONDENT'S REFERENCE/DOCKET NO
              N/A
           CORRESPONDENT E-MAIL ADDRESS:
              bell@kipusystems.com



                                                          EXAMINER'S AMENDMENT
ISSUE/MAILING DATE:          9   ll3 12016


DATABASE SEARCH: The trademark examining attorney has searched the USPTO's database of registered and pending marks and                    has
found no conflicting marks that would bar registration under Trademark Act Section 2(d). TMEP S704.02; see 15 U.S.C. $1052(d).

APPLICATION HAS BEEN AMENDED: In accordance with the authorization glanted by Brian Bell on September 13,2016, the trademark
examining attorney has amended the application as indicated below. Please advise the undersigned immediately of any objections. Otherwise,
no response is necessary. TMEP $707. Any amendments to the identification of goods and/or services may clarify or limit the goods and/or
services, but may not add to or broaden the scope of the goods and/or services. 37 C.F.R. $2.71(a); see TMEP $$1402.06 et seq.

RECITATION OF SERVICES

The identification of services is amended to read as follows:

Providing temporary use of a non-downloadable due diligence patient admission check/flag feature of a web application for storage and
management of electronic health records, document management, forms processing, custom coding, billing, workflow, business management,
and facility operations for addiction treatment facilities and other healthcare related facilities and instructional user guides.

See   TMEP $$1402.01, 1402.01(e).




                                                /Chrisie Brightmire King/
                                                Trademark Attorney
                                                Law Office 109
                                                (s7r) 272-9179
                                                chrisie.king@uspto. gov
   Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 124 of
                                           162
   Case t:t7-cv-24733-XXXX Document l--3 Entered on FLSD Docket I2l31,l21t7 Page 24 of 4L



PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To                             ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Dooument Retrieval (TSDR) systetn at
http://tsdr.uspto.eov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call l-800-786-9199. For more information on checking
status, see http ://www.usDto. gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the Trademark Electronic Application System (TEAS) form at
http ://www. uspto. gov/trademarks/teas/correspondence.   i   sp.
   Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 125 of
                                            162 on FLSD Docket t2l3Ll20L7 Page 25 oI 4L
    Case 1:l-7-cv-24733-XXXX Document 1-3 Entered


 To;                   Kipu Systems, LLC (bell@kipusystems.com)
 Subject:              U.S. TRADEMARK APPLICATION NO. 87044446 - OTO - NiA

 Sent:                 9l13/2016 5:37:56 PM

 Sent As:              ECOM109@USPTO.GOV

 Attachments:

                             UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)


                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                  USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                  ON 9/13/2016 FOR U.S. APPLICATION SERIAL NO.87044446

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov/,               enter the U.S. application serial number, and click on
"Documents."

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) QUESTIONS: For questions about the contents of the Office action itself, please    contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                                  WARNING

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private                               companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
"fees."

                      all correspondence you receive regarding this application to make sure that you are lesponding to an official document
Please carefully review
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the "United States
Patent and Trademark Office" in Alexandria, VA; or sent by e-mail from the domain "@uspto.gov." For more information on how to handle
pt'ivate company solicitations, see http://www.uspto.gov/trademarks/solicitation   warnings.isp.
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 126 of
                                       162
Case L:L7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l3Ll2O17 Page 26 of 41



                                                        NOTE TO THE FILE

 SERIALNUMBER:                            87044446

 DATE:                                    0911312016

 NAME:                                    ckingZ



 Searched:                                               Discussed ID with:
 J4_   Googl-e                                           _       Senior Atty
 _I_   Lexis/Nexis                                       _       Managing   Atty
       Onelook
 -I_
 _     Wikipedia
   x   Acron)m Finder                                            Protest evidence reviewed
       ottrer:

 Checked:                                                    Discussed Geo. Sig. with:
 _     ceographic significance                           _       Senior Atty
 _     Surname                                           _       Managing Atty
 _     Translation
       ID with ID/CLASS mailbox

 _   Checked list of approved Canadian attorneys and agents

 l)iscussed lile with
 Attorney/Applicant         via     :
    _    phone                                                   Left message with
            emaiL                                                Attorney/Appl i cant

       Requested Law Library search                              Issued Examiner' s Amendment
       for:                                                      and entered changes in TRADEUPS

          PRINT           DO NOT PRINT                         Added design code in      TRADEUPS
       uescrfptron ot the mark
 _     Translation - statement                                   Re-imaqed standard character
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                                                                 about misclassified definite ID
       Changed TRADEUPS             tor

       OTHER:
     Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 127 of
                                             162 on FLSD Docket I2l3Ll20L7 Page 27 of 4I
      Case 1:17-cv-24733-XXXX Document 1-3 Entered


*** User:cking2 ***
      Total               Dead            Live     Live     Status/    Search
      Marks               Marks           Vlewed   Viewed   Search
                                          Docs     Images   Duration
0t    83                  0               83       78       0:02       ("oto" or "o t o" or "ot o" or "o to")[bi,til and livefldl
02    9s1   1            N/A              0        0        0:02       *oto*[bi,ti]   and livefld]
03    161                N/A              0        0        0:02       oto*[bi,ti] and live[d]
04    124                0                124      114      0:01       3notl

Session started 9/7 /2016 8:45:34     AM
Session finished   917   /2016 9:08:18 AM
Total search duration 0 minutes 7 seconds
Session duration 22 minutes 44 seconds

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Sent to TICRS as Serial Number: 87044446
   Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 128 of
                                          162
   Case 1:17-cv-24733-XXXX Document 1-3 Entered on FLSD Docket \21311201-7 Page 28 of 41,



From:                                        TMDesignCodeComments
Sent:                                        Thursday, May 26, 2016 00:22 AM
To:                                          bell@kipusystems.com
Subject:                                     Official USPTO Notice of Pseudo Mark: U.S- Trademark SN: 87044446: OTO

DockeUReference     N   umber:


The USPTO may assign pseudo marks, as appropriate, to new applications to assist in searching the USPTO database for conflicting marks. They have no legal significance
and will not appear on the registration certificate.

A PSEUDO l\tlARK may be assigned to marks that include words, numbers, compound words, symbols, or acronyms that can have alternative spellings or meanings. For
example, if the mark comprises the words 'YOU ARE' surrounded by a design of a box, the pseudo mark field in the USPTO database would display the mark as 'YOU ARE
SQUARE'. A mark filed as 'URGRB'would receive a pseudo mark of 'YOU ARE GREAT'.

Response to this notice is not required; however, to suggest additions or changes to the pseudo mark assigned to your mark, please e-mail
TMDesignCodeComments@USPTO.GOV. You must reference your application serial number within your requesi. The USPTO will review the proposal and update the
record,ifappropriate. Forquestions,pleasecalll-800-786-9l99tospeaktoaCustomerServicerepresentative.

The USPTO will not send any further response lo your e-mail. Check TESS in approximately two weeks to see if the requested changes have been entered. Requests deemed
unnecessary or inappropriate will not be entered.

To view this notice and other documenls for this application on-line, go to http://tdr.uspto.gov/search.action? sn=87 044446   NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.

Pseudo marks assigned to the referenced serial number are listed below.

PSEUDO MARK:

ONE TIME ONLY
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 129 of
                                         162 on FLSD Docket L2l31,l2OI7 Page 29 of 4I
 Case 1,:L7-cv-24733-XXXX Document 1-3 Entered
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 130 of
                                        162
Case L:\7-cv-24733-XXXX Document l--3 Entered on FLSD Docket I2l31,l2OI7 Page 30 of 41

  5/19/2016                                                    Kipu Records Release Notes for 3r'92016


      Subscribe              Share     v          Past lssues                                                                Translate


                Kipu Recards: latesi updates and teatures.




                                                                                                           KIPU
                                                                                                           SYSTEtvtS


                Kipu Records Release Notes for 3fgt20{6

                 ln today's release note, KIPU is cuilining the The next $uperAdmin Training in Florida
                 latest enhancements and                                       will be held at the Duncan Conference
                 imprcvements; including updates                               Center in Delray Beach on Tuesday, March
                 in Reporting and aceess information to                        15; 2016" We will be "Fccusing cn the Top
                 KlPUpedia!                                                    Rsw."
                                                                               Contact us if you would like infcrmation on
                 Conlacl us at {561} 349-5S11 fcr further                      how to attend!
                 explanalion or training.




                EN HAN CE M EN TSII M PROVE MENTS

                Reports
                All Co-pay and Deductible fields are now gathered from the fnsurance Verification and
                sh*w consistently on the Reports,

                Billable R*ports evaluation date presentation was improved


                The Allow*UR field on the patient face sheet is now available in Reports.


                Gcntacts
                $uper admins can now export all Contacts intc a C$V file. Tp export Click th* Hxp**
                button in ihe upper right *f thc Contacts tah.


                Vital $igns llistcry
                ln *he hi*tcry view, the vital signe will appear in the sarne order you have as when ent*r
                vital signs.

  httpJ/us7-campaign-archivel.coml?u=1 039D127321 66e054401   31   cd3&id=c58bc56c88&e= ?A28a1489a                                  1E
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 131 of
                                        162 on FLSD Docket 1213L12017 Page 31- of 41
 Case 1.17-cv-24733-XXXX Document 1-3 Entered

  il19t2416                                                          Kipu Records Release Notes for 3/9/2010



                  KlFUpedia
                  Look for the HELP button in the upper right with the next update. There you will find new
                  iips and training tools.



                  DIil YOU KNOW?
                  Restore Functionality
                  A Super Adrnin can retrieve deleted patients, forms, and templates under
                  SettingslRestore. However, did you know that deleting documents takes tinre? This is why
                  Super Admins need to be very careful wlren trying to reslore an item that has just been
                  deleted. One should reserve a fev'r hours after a deletion has occurred before trying to
                  restore it, in order to avoid a restoration lhat is not compiete.


                  $ignature Fads - Scriptel
                  Sciptel Fads are no\,v supported on Mac and PC's. They're supported in Chrome, Firefox,
                  lnternet fxplorer, and $afari" You can find more infarmation on Sciptel
                  here : ht1p,#rcripJel. cqm


                 What is OTOrM?
                 Working closely with a detox facility to create KlpU6, we creaied a way to document that
                 a patient, after discharge, may not be weicome back for readmission. This is the genesis
                 of OT01tu1 - short for "One Time Only".


                 This unique identifier, when elrecked, will cause an "OT0!" to display next to the patient's
                 name in the heacler of hislher chart. lt does not prevent a patient frorn being readmitted;
                 rather, it $erves as a flag on thal individual that extra due diligence may be required before
                 actually doing so^


                 l*crch is ]trational F,lutrition MCInth!
                 Good nutrttion is the eornerstone of a happy and healthy lifestyle. lt positively affects both
                 mind and body and helps pronrote longevity.


                 Every March, the Academy of lrtutrition and Sietetics run$ an educational rampaign that
                 focuses on the impartance of nraking informed foad choices, developing sound eating,
                 and physical aciivity habits.


                 ln Kipu Reeords, you have sonre great tools ta help manage nr-rtrition and special dietary
                 needs. On the face sheet, you are able to document both food allergies and restrictions.
                 You can select tlre apptopriate nutritipnal needs from a custonrizable list af common

  http://usT,campaign-archive'l .com/?u=1039c12732166e054401   3'1   cd3&id=c58bc56c88&e =c428a1489a              2t3
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 132 of
                                       162
Case L:t7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l31l2OI7 Page 32 of 4I

  il19t2A16                                                     Kipu Records Release Noles for 3/912016

                dietary options as well as free type any additional requirements. This in turn allows you to
                generate a food memo complete with the client photo for the facility chef.


                We also offer a great nutritional screen ihat can be used ta identify clients who require
                additisnal health education and treatnrent. lf you do not currently have a copy in your
                system, please contact your Kipu representative or the Client $ervices team at 561-349-
                5911.


                For some great ideas on haw io integrate nutrition educaiion at your facility this month,
                please visit: http://www"eatri$ht.oru


                As always     *   please feel free to contact us at (5E1) 349-5911 with your questions and your
                comments.


                Allthe best,
                Tobias




                                                       fpllqw on Twiiter I fsredls.a_friend

                Copyr.glf 6 ?016 Kipu Sysfemq All rights rc.served.

                                           qtlsubscribe fiom this |ist I urrdate subscripticn preference€




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    Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 133 of
                                            162 on FLSD Docket I2l3Ll20L7 Page 33 of 41
     Case 1:17-cv-24733-XXXX Document 1-3 Entered


PTO Fom 1478 {Rev 09/2006)
OMa No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                          TBAS Plus Application
                                                                 Serial Number: 87044446
                                                                 Filing Date: 05120 12016

   NOTE: Datafields with the * are mandatory under TEAS Plas, The wording "(if upplicuble)" appears where theJiekl is only mandatory
                                              under tlte facts of llrc particular application,




                                                   The table below presents the data as entered.

                                     Input Fiold                                                     Enter.ed

             TEAS Plus                                           YES

             MARK INFORMATION
             *MARK                                               oTo
             *STANDARD CIIARACTERS                               YES

            LTSPTO-GENf, RATED IMAGE                             YES

             LITERAL ELEMENT                                     oTo
             *MARK STATEMENT                                     The mark consists of standard characters, without claim to any particular font,
                                                                 style, size, or color.

            REGISTER                                             Plincipal

            APPLICANT INFORMATION
            *OWNER OF MARK                                   :Kipu Systems, LLC
            *S'TRF,ET                                        ,   444 Brickell Ave. Ste. 850
            *clTl'                                               Miami
            *STATE
                                                                 Florida
            (Required for Lr.S. applicants)

            *COTiNTRY
                                                                 United States
            *ZIPIPOS'I'AL CODE
            (Requircd for U.S. applicants)
                                                                 33131

            PHONE                                                561 349590   1



            LEGAL ENTITY INFORMATION
            *TYPE                                                LIMITED LIABILITY COMPANY
            * STATE/COUN'I'RY WI'IERE LEGALLI'
                                                                 Flolida
            ORGANIZED

            GOODS AND/OR SERVICES AND BASIS INFORMATION
          :*    INTf,RNATIONAL CLASS                             042

                                                                 Providing temporary use ofa non-downloadable web application for storage
                                                                 and management of electronic health records, document management,
            *   IDENTI['ICATION                                  forms processing, custom coding, billing, workflow, business
                                                                 management, and facility operations for addiction treatment facilities
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 134 of
                                       162
Case L:17-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l31,l2OI7 Page 34 of 41

                                             and other healthcare related facilities and instructional user guides.
   *FILING BASIS                             SECTION 1(a)
       FIRST USE ANYWHtrRE DATE              At least   as early as 0111612012

       FIRST USE IN COIVI]VTERCE DATE        Al   least as early as 0111612012

       SPECIMEN FILD NAME(S)

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                                             Promotional newsletter describing the service as an already-existing feature   of
       SPECIMEN DESCRIPTION
                                             the software platform. Mark appears in the middle of page 2.

   ADDITIONAL STATEMENTS INFORMATION
   *TRANSLATION
   (ifapplicable)
   *TRANSLITERATION
   (if applicable)
   *CLAIMED PRIOR REGISTRATION
   (ifapplicable)
                                         I
   *CONSENT (NAME/LIKENESS)              I
                                         I
   (ifapplicable)
   *CONCURRENT USE CLAIM
   (ifapplicable)

   ATTORNEY INFORMATION
   NAME                                      Brian Bell

   STREET                                    444 Brickell Ave. Ste. 850

   CITY                                      Miami
   STATE                                     Florida

   COUNTRY                                   I Inited Stales

   ZIPIPOSTAL CODE                           33 131

   PHONE                                     s6t3495918

   EMAILADDRESS                              bell@kipusystems.com

   AUTHORIZED TO COMMUNICATE VIA EMAIL       Yes

   CORRESPONDENCE INFORMATION
   *NAME                                     Brian Bell
   *STREET                                   444 Brickell Ave. Ste. 850
   *CITY                                     Miami
   *STATI
                                             Florida
   (Required for U.S. addresses)

   *COUNTRY                                  United States
   *ZIPIPOSTAL CODE                          33 131

   PIIONE                                    5613495918
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 135 of
                                        162 on FLSD Docket I2l3Ll2OI7 Page 35 of 41
 Case 1:17-cv-24733-XXXX Document 1-3 Entered

                                          I
   *EMAIL ADDRESS                             bell@kipusystems.com
                                          I
   *AUTHORIZED TO COMMUNICATE VIA EMAIL       Yes

   FEE INFORMATION

   APPLICATION FILING OPTION                  TEAS Plus
   NUMBER OF CI-ASSf,S                        I
   FEE PER CT-{SS                             225
   *TOTAL FEE PAID                            225

   SIGNATURE INFORMATION
   * SIGNATURE                                /Brian D. Bell/
   * SIGNATORY'S NAME                         Brian D. Bell
   * SIGNATORY'S POSITION                     Corporate Counsel, Attorney of Record, Florida bar member

   SIGNATORY'S PHONE NUMBER                   5613495918
   * DATE SIGNED                              05120t2016
     Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 136 of
                                             162
     Case 1:17-cv-24733-XXXX Document l--3 Entered on FLSD Docket L2l3Ll2OL7 Page 36 of 41-

Under the Paperwork Reduction Act of I 995 no persons are required to respond to a collection of information unless it displays a valid OMB control number
PTo Form 1478 (Rev 0s/2006)
ONIB No. 0651-0009 (Exp o2l28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                     TEAS Plus Application

                                                                       Serial Number: 87044446
                                                                       Filin g Date: 05 120/2016
To the Commissioner for Trademarks:

MARK: OTO       (Standard Characters, see mark)
The literal element of the mark consists of OTO.
The mark consists of standard characters, without claim to any particular font, style, size, or color

The applicant, Kipu Systems, LLC, a limited liability colnpany legally organized under the laws of Florida, having an address of
      444 Brickell Ave. Ste. 850
      Miami, Florida 33131
      United States
      5613495901(phone)

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specilic filing basis information for each item, you must view the display within the Input Table.
     International Class 042: Providing temporary use of a non-downloadable web application for storage and management of eiectronic health
records, document management, forms processing, custom coding, billing, workflow, business management, and facility operations for addiction
treatment facilities and other healthcare related facilities and instructional user guides.

Use in Commerce: The applicant is using the mark in commsrce on or in connection with the identified goods/services. The applicant attaches, or
will later submit, one specimen as a JPG/PDF image file showing the mark as used in commerce on or in connection with any item in the class of
listed goods/services, regardless of whether the mark itself is in the standard character format or is a stylized or design mark. The specimen image
file may be in color, and the image must be in color if color is being claimed as a feature of the mark.


as early as 0111612012, and first used in commerce at least as early as 0l/1612012, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Promotional newsletter describing the service as an already-existing f'eature of the soltware plattbrm. Mark
appears in the middle of page2..

Original PDF file:
SPE0-173199229130-20160520100335347004                    .   OTO.pdf
Converted PDF file(s) (3 pages)
Specimen         Filel
Specimen File2
Specimen File3




The applicant's current Attorney Information:
   Brian        Bell
                  444 Brickell Ave. Ste. 850
   Miami, Florida 33131
   United States
      561349591 8(phone)
      bell@kipusystems. coln (authorized)

 The applicant's current Correspondence Information:
       Rrian Bell
      Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 137 of
                                              162 on FLSD Docket I2l3Ll2OI7 Page 37 of 41
       Case t:I7-cv-24733-XXXX Document 1-3 Entered


       444 Brickell Ave. Ste. 850
       Miami, Florida          33 13   1


       56 1349591 8(phone)

       bell@kipusystems. com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attolney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to
do so     will result in       an additional processing fee   of$50 per international class ofgoods/services.

A fee payment in the amount of $225              has been submitted    with the application, representing payment for I class(es).

                                                                                    Declaration

The signatory believes that: if the applicant is filing the application under l5 U.S.C. $ 1051(a), the applicant is the owner of the
trademark/service malk sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under l5 U. S.C. $ 105 1(b), $ I 126(d), and/or $ I 126(e), the applicant has a bona fide intention, and is entitled, to use the mark in
commerce on or in connection with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and
belief, no other persons, except, if applicable, concurrent users, have the right to use the mark in commerce, either in the identical form or in such
near resemblance as to be likely, when used on or in connection with the goods/services of such other persons, to cause confusion or mistake, or
to deceive. The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
$ 1001, and that such willful false statements and the like may jeopardize the validity of the application or any registration resulting therefrom,
declares that all statements made of his/her own knowledge are true and all statements made on information and belief are believed to be true.



Signature: /Brian D. Bell/ Date Signed: 05120/2016
Signatory's Name: Brian D. Bell
Signatory's Position: Corporate Counsel, Attorney of Record, Florida bar member




RAM Sale Number: 87044446
RAM Accounting Date: 0512012016

Serial Number : 87 044446
Internet Transmission Date: Fri May 20 l0:34:05 EDT 2016
TEAS Stamp : USPTOIFTK-XXX.XXX.XXX.XXX-20                            I 605 20 103   405
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 138 of
                                       162
Case L:t7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket L2l31,l2OI7 Page 38 of 41
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 Case 1:17-cv-24733-XXXX Document 1-3 Entered

  il19t2416                                                  Kipu Records Refease Notes for 3lgf2016


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                 Kipu Reeolds: ldte$t updates and bature$.




                                                                                                        KIPU
                                                                                                        $YSTEfri$

                 Kipu Records Relea$e Notes for 3/912016

                 ln today's relqase nCIte, KlpU is outtining the The next $uperAdmin Training in Florida
                 latest enhancements and                                   will be hsld at lhe Duncan Conference
                 improvements; incl*ding updates                           Center in Delruy Beach on Tuesday, March
                 in Reportin$.and ascess informaiion to                     15;   20!6. We wiil be "Fosusing on the Top
                 KlFUpedia!.                                                Row."
                                                                            Contact ue if you would like information on
                 Contect ue at {$61}.349-5911 for further                   how to attsnd!
                 explanalionor lraining.




                EN HANCEMENTS/I MPROVE M ENTS

                Repoits
                .All Co"pay and Deduetible fields ar* now gathercd from the lnsuranee Verification and
                show consistentty on the Reports.


                Billable Reports evaluation date presentation was improved.


                ThE Allaw*UR field *n lhe patient face sheet i* now *vailable in Reports.


                Gontacts
                Super admin$ ean nfrw expcrt all C*ntacts int* a C$V file. To export Gliek the Export
                button in the upper right of the Contacts tab.


                Vital Signs His:CIry
                ln the history view, the vital signs will appear in the same order you have as when enter
                vitalsigns.
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                                       162
Case L:I7-cv-24733-XXXX Document 1-3 Entered on FLSD Docket I2l3Ll2OI7 Page 4Q of 4L

  il19t2416                                                 Kipu Records Release Notes for 31912016



                KlPUpedia
                Look for the I-{ELP button in the upper right with the next update. There you will find new
                tips and training tools.



                DID YOU KNOW?

                Restore Functicnality
                A $uper Adrnin can retrieve deleted patients, forms, and templates under
                $ettings/Restore. However, did you knsw that deleting documenls takes time? This is why
                $uper Admrns need to be very sareful when irying to restore an item that has just been
                deleted. One should reserye a few hours after a deletion has occurred before trying to
                restore it, in order to avoid a restoration that is not complete.


                Signature Pads - Scriptel
                ,$ciptel Fads are now supported on Mac and PCs. They're supported in Chrome, Firefox,
                lnternei Explorer, and $afari. You can find more information on Scrptel
                here: htto://scriptel.com


                What is OTOTM?
                Working closely with a detox facility to create KIPUA, we created a way to document that
                a paiient, afier discharge! fiay not be welcome back for readmission. This is the genesis
                of OTOrtd    -   shorl for "One Time Only".

                This unique identifier, when checked, will cause an "OTOI" to display next to the paiient's
                name in the header of hislher chart. lt does not prevent a patient from being readmitted;
                rather, it serves as a flag on thai individualthat extra due diligence may be required before
                actually doing so"


                Mqrch is National Nutrition Month!
                Good nutrition is the cornerstone of a happy and healthy lifestyle. lt positivety affects both
                mind and body and helps prornote longevity.


                Every March, the Academy of Nutrition and Sieteiics run$ an educational campaign that
                facuses on the importance of making informed food choices, developing sound eating,
                and physical activity lrabits.


                ln Kipu Records, you have scme great tools to help manage nutritian and special dieiary
                needs. On the fase sheet, yoil are able to document both food allergies and restrictipns.
                You can select the appropriate nutritional needs from a customizable list of common

  hitp://usT,campaign-archivel.com/?u=1 039cf27321 66e05440'131 cd3&id=c58bc56c88&e=c428a'1489a                  213
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 141 of
                                        162 on FLSD Docket L2l3tl2OI7 Page 41, of 4L
 Case I:I7-cv-24733-XXXX Document l"-3 Entered

   511912016                                                             Kipu Records Release Notes for 3/g/20'16

                  dietary options as well as kee type any additional requirements. This in turn allows you to
                  generate a food memo complete with the client photo for the facility chei.


                  We alsc sffer a great nutritional screen that can be used to identify clienls who require
                  additiqnal health education and treatrnent. li you do not currently have a copy in your
                  $y$tem, please contact your Kipu repr*sentative or the Client $ervices team at 561-349-
                   tro44


                  For some great ideas on how to integrate nutrition,education at your facility this month,
                  please visit http ://unzuw"eatrisht,afgtesAlnceslnaIiAfiatnuldtian:mqnth


                  As always         *   please feel {ree to contact us ai {561) 349-5911 with your quesiions anci your
                  commenls.


                  Allthe begt,
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 Case L:t7-cv-24733-XXXX Document l--4 Entered on FLSD Docket L2l3Il2OI7 Page 1- of 2




                  Exhibit D
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                  Exhibit E
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                        Registrar Abuse Contact Email: icann-abuse-
                        reports@tierra.net
                                                                                                                               Go
                        Registrar Abuse Contact Phone: +1 .6193932105
                        Reseller:
                        Domain Status: clientTransferProhibited
                        Registry Registrant I D:
                        Registrant Name: Rick Glaser
                        Registrant Organization: Website Consultants
                        Registrant Street: 2743 F|rst Street


https://www.godaddy.com/whois/results.aspx?domain=solutionsrehab....OMBitj80XH0gg_p45paNbnTETLSbH5elea4YjNxtxg6Fgklln24dKlEfTcDZWTgVw Page L of            4
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                              Registrant Street: Unit 306
                              Registrant City: Fort Myers
                              Registrant State/Province: FL
                              Registrant Postal Code: 33916
                              Registrant Country: US
                              Registrant Phone:                +1 .51   86690420
                              Registrant Phone Ext:
                              Registrant Fax:
                              Registrant Fax Ext:
                              Registrant Email: rick@websiteconsultants.org
                              Registry Admin lD:
                              Admin Name: Rick Glaser
                              Admin Organization : Website Consultants
                              Admin Street: 2743 Firsl Street
                              Admin Street: Unit 306
                              Admin City: Fort Myers
                              Admin State/Province: FL
                              Admin Postal Code: 33916
                              Admin Country: US
                              Admin Phone:           +1 .51      86690420
                              Admin Phone Ext:
                              Admin Fax:
                              Admin Fax Ext:
                              Admin Email: riek@websiteconsultants.org
                              Registry Tech lD:
                              Tech Name: Rick Glaser
                              T.   ech Organization : Website Consultants
                              Tech Street:2743 First Street
                              r,ech Street: Unit 306
                              Tech City: Fort Myers
                              Tech State/Province: FL
                              Tech Postal Code: 33916
                              Tech Country: US
                              Tech Phone: +1 .5186690420
                              Tech Phone Ext:
                              Tech Fax:
                              Tech Fax Ext:
                              Tech Email: rick@websiteconsultants.org
                              Name Server: NS1 .KOALAFIED.NET
                              Name Server: N52.KOALAFIED.NET
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https: / /www. godaddy. com /whois / resu lts.aspx?domai   n   =sol utionsrehab....ON4Bitj 8OXH0gg_p4   5   paN bnTETLSbH   5   elea4YjNxtxg6 Fgkl   1 n 2   4d Kl   EfTCDZWT9VW   Page 2 of 4
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                          27f 10:02:072 <<<

                          This WHOIS database is provided for information
                          purposes only. We do
                          not guarantee the accuracy of this data. The
                          following uses of this
                          system are expressly prohibited: (1) use of this
                          system for unlawful
                          purposes; (2) use of this system to collect
                          information used in the
                          mass transmission of unsolicited commercial
                          messages in any medium;
                          (3) use of high volume, automated, electronic
                          processes against this
                          database. By submitting this query, you agree to
                          abide by this
                          policy.


                          Registrar: TierraNet lnc. d/b/a DomainDiscover
                          Whois Server: whois.domaindiscover.com
                          Creation Date: 201 1 - 10-04T22:02:302
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                          Nameserver: NS1 .KOALAFI ED.N ET
                          Nameserver: N52.KOALAFI ED.N ET


                          Registry Status: clientTransferProhibited
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  Need help? Cqll our qword-winning support teqm 24/7 qt (480) 505-8877


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https://www.godaddy.com/whois/results.aspx?domain=solutionsrehab....OMBitjSOXH0gg_p45paNbnTETLSbH5elea4YjNxtxg6Fgklln24dKlEfTCDZWT9Vw       Page 3   of4
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of initiating the civil docket sheet. (sEIt INSTRilcTroNS oN NLxT pAGu otT l'Hts ltoR\,/, NOTICE: .\ttorneys VILTST Indicate All Re-file d                                                                      C--ases   Belorv.
I.   (a)        PL.{INTIFFS XtpU SySTEMS                                        LLC                                                                  DEFENDANTS ZSNCUaRTS LLC,                                         et al



     (b)       County of Residence of First Listed                  Plaintilf MIAMI-DADE                                                             County ofResidence ofFirst Listed Defendant
                                          (DXC   li PT' IN   U. S. Pl.A t   Nl'l FIt (:ASllS)                                                                                           (]N U.S. P],A]NTIFF CASDS ONLY)
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     (C)      Attorneys (F-irn Nane, Atltlress,          anel Telepltone Ntnnhet)                                                                     Attorneys (f'Knotn)

     Robert H. Thornburg, ALLEN, DYER, DOPPELT + GILCHRIST, P.A
     1221 Brickell Ave, Ste 2400, Miami, FL 33131 (305) 374-8303
(d)CheckCor,rntyWhereActionArose:                               (    r,rr.+vr-o,rnn El NroNRoE                 tr   BRowARD oIAT.MBEACH EMARTTN                          nsr.r-ucrE      OTNDTANRTvER floKF:EcHoBr:E DHlclrlANDS


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E    190    Other Cortract                               Product Liability                  E     380 other Personal                 E    740 Railway Labor Act                     E   864 ssID Titte    xvl                      Exchange
E    I 95   Contract Product Liabilit),      E     360 othcr Personal                                 Propefiy Danragc               n    75 I Fatrrily and Nledical                [   865 RsI (405(s)                       E    890 Othcr Statutory Actions
[    196    Franchise                                    Injury                             E     385 Property Danrage                         Leave Act                                                                      tr   891 Agricullrral Acts
                                             !     362 Personal Injury -                              Product Liability                   790 Other Labor Litigation                                                          !    893 EnYironnrental Matters
                                                       Med. Malpractice                                                                   791 Empl. Rct. lnc.                                                                 tr   895 Freedom of lntbrmation
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E     210 Laud Condennation                  E     440 other Crvil Rights                      Habeas Corpus:                                                                       [   870'Iaxes (U.S. Plaintiff             tr   896 Arbitratiorr
[     220 Foreclosure                        E     +4   t Voting                            E 463 Alien Derainee                                                                             or Defendalt)                    tr   899 Adnrinistrative Procedure
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E     240 Torts to Land                      u     Acconrrrrodalions                                 C)ther:                                                                                                                       ,4gcncy Dccision

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D     290 All Othcr Rcal Properly                        Iirnploynrelt                      fl    535 Dcath Penalty                  E    462 Naturalization Application
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                                                                                                                                                                                                                          File

VI. RELATED/                                            (See instructions): a)          Re-filed Case trYES                               NO                   b) Related Cases nYES    NO
RE-FILED CASE(S)                                                                JUDGE:                                                                                           DOCKET NUMBER:


VII.        CAUSE OF ACTION Trade Secret Theft, Cotnputer Abuse &Data Recovery Act Violations, Trademark Infringernent, Conspiracy, etc.
                                                        LENGTII OF IRIAL via                      10     davs estimated (for both srdes to try entire case)
VIII.         REQUESTED IN                                   CI]ECK ]F THIS IS A CLASS ACTION
                                                                                                                                          DE]VIAND $                                            CI-IECK YES onl)/ if demanded in cornplaint:
            COMPLAINT:                                       UNDER T-.R.C,P. 23
                                                                                                                                                                                              JURY    DEMAND: tf Yes E No
ABOVE INFORMATION IS TRUE & CORRECT TO ]'TIE BEST OF MY KNO\I/LEDGE
DATE                                                                                                   SIGNATURE OF ATTORNEY OF RECORD
            December 31,2017
                                                                                                               s/Robefi H. Thornburg
I.-OR OI-FICE USE ONLY
RECEIPT #                                        AIVJOUNl'                           II]P                           JUDGE                                                       J\4AC JTJDGE
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 150 of
                                        162
  Case 1:17-cv-24733-XXXX Document 1-7 Entered on FLSD Docket t2l3Ll2OI7 Page 1 of 1

AO 440 (Rev. 06/12) Sumrnons in a Civil Action


                                       UNrrp,n Srarps Drsrrucr CoURT
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                                                         Southern District of Florida


                     KIPU SYSTEMS LLC                                      )
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                             Plaintiff(s)                                  )
                                                                           )           Civil Action No
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                   ZENCHARTS LLC, et al                                    )
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                                                                           )
                           Defendant(s)                                    )

                                                     SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)        ZENCHARTS LLC
                                            c/o Richard Glaser, Registered Agent
                                            777 Glades Rd, Suite 100
                                            Boca Raton, FL 33434




          A lawsuit has been filed against you.

         Within 21 days after seruice of this summons on you (not counting the day you received it)     or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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n 1al^\/a\^../.\                                 +1-^.^l^:.^a:ff^                   +^+1-^^a^^l-^l^^.----1^:--1     ^,--,--^+:^,-,.-^l^..D,,1^14^f
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                  -
the Federal Rules of Civil Procedure. The answer or motion must be seled on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburq
                                ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                1221 BrickellAvenue, Suite 2400
                                Miami, FL 33131
                                (305) 374-8303
                                rthornburg@allendyer.com

       If you fail to respond, judgrnent by default wiil be entered against you for the relief demanded in the complaint
You also must file your answer or lrotion with the court.



                                                                                           CLERK OF COURT


Date
                                                                                                         Signature of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 151 of
                                       162
  Case 1:17-cv-24733-XXXX Document 1-8 Entered on FLSD Docket L2l31,l2OI7 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Crvil Action


                                      UNIrpn Srerps Drsrnrcr                           CoTJRT
                                                                  for the

                                                       Southern District of Florida


                    KIPU SYSTEMS LLC                                 )
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                                                                     )      Civil Action No.
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                  ZENCHARTS LLC, et al                               )
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                          Defendant(s)                               )

                                                   SUMMONS IN A          CIVI   ACTION

To:   (Defendant's name and address)      ZEN MEDICAL, LLC
                                          c/o David Langle, Registered Agent
                                          7777 Glades Rd, Suite 100
                                          Boca Raton, FL 33434




          A lawsuit has been filed against you

          Within 21 days after service of this summons on you (not counting the day you received it)    or 60 days if you
                                                                                                               -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P . 12 (a)(2) or (3)  you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be serued on the plaintiff or plaintiff s attorney,
whose name and address         are:
                                  Robert H. Thornburg
                                  ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                          1221Brickell Avenue, Suite 2400
                                          Miami, FL 33'131
                                          (305) 374-8303
                                          rthornburg@allendyer. com

          If you fail to respond, judgrnent by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERKOF COURT


Date
                                                                                         Signature of Clerk or Deputy Clerk
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 152 of
                                         162
  Case 1:l-7-cv-24733-XXXX Document 1-9 Entered on FLSD Docket I2l3Ll2OL7 Page 1 of 1

AO 440 (Rcv. 06/12) Summons in a Civil Aclion


                                         Umrnn Srarss Drsrzucr CoURT
                                                                           for the
                                                             Southern District of Florida


                      KIPU SYSTEMS LLC                                       )
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                    ZENCHARTS LLC, et al                                     )
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                               Defendant(s)                                   )

                                                        SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)          SOLUTIONS RECOVERY CENTER, LLC
                                              c/o Daniel Callahan, Registered Agent
                                              6115 Lyons Road
                                              Coconut Creek, FL 33073




          A lawsuit has been filed against you

         Within 21 days after service of this summons on you (not counting the day you received it)        or 60 days if you
ale the United States or a United States agency, or an officer or eurployee of the Unitctl States dcscribetl in Fetl. R. Civ.         -
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburg
                                ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                1221 BrickellAvenue, Suite 2400
                                Miami, FL 33131
                                (305) 374-8303
                                rthorn burg@allendyer.com

       If you fail to respond, judgrnent by default will be entered against you for the relief demanded in the cornplaint.
You also must file your answer or motion with tlre court.



                                                                                             CLERK OF COURT


Date:
                                                                                                           Signattrre of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 153 of
                                       162
 Case 1:L7-cv-24733-XXXX Document L-10 Entered on FLSD Docket I2l3Ll2O17 Page 1- of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      Uurpo Srarps Drsrrucr                             CoURT
                                                                   for the
                                                        Southern District of Florida


                    KIPU SYSTEMS LLC                                   )
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                            Plaintiff(s)                               )
                                                                       )      Civil Action No
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                  ZENCHARTS LLC, et al                                 )
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                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A           CIVI   ACTION

To:   (Defendant's name and address)       SOLUTIONS RECOVERY LLC
                                           c/o Daniel Callahan, Registered Agent
                                           16145 State Rd 7, Unit D
                                           Delray Beach, FL 33446




          A lawsuit has been filed against you.

          Within 2l days after service of this summons on you (not counting the day you received it)    or 60 days if you
                                                                                                                 -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P . 12 (a)(2) or (3)  you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be seryed on the plaintiff or plaintiff s attorney,
whose narre and address are: Robert H. Thornburg
                                  ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                           1221 BrickellAvenue, Suite 2400
                                           Miami, FL 33131
                                           (305) 374-8303
                                           rthornburg@allendyer. com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date
                                                                                           Signahtre of Clerk or Deputy Clerk
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 154 of
                                          162
  Case 1,:I7-cv-24733-XXXX Document 1-11 Entered on FLSD Docket L2l3Ll2OI7 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      Umrpo Srarps Drsrrucr CoURT
                                                                   for the

                                                        Southern District of Florida


                    KIPU SYSTEMS LLC                                  )
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                            Plaintiff(s)                              )
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                  ZENCHARTS LLC, et al                                )
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                           Defendant(s)                               )

                                                    SUMMONS IN A CTVL ACTION

To:   (Defendant's name and address)       WEBSITE CONSULTANTS INC
                                           c/o Sean Callahan, Registered Agent
                                           1 1680 Tundra Drive
                                           North Fort Myers, FL 339'17




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)      or 60 days if you
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are the United States or a United States agency, or an officer or employee of the United States desuibed in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must sen/e on the plaintiff an answer to the attached ccitplaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburg
                                           ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                           1221 BrickellAvenue, Suite 2400
                                           Miami, FL 33131
                                           (305) 374-8303
                                           rthornburg@allendyer.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLEKKOF COURT


Date
                                                                                         Signature of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 155 of
                                        162
 Case 1:l-7-cv-24733-XXXX Document 1-12 Entered on FLSD Docket L2l3tl2OL7 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civrl Action


                                       Umrpn SrarBs Drsrrucr                              CoURT
                                                                      for the

                                                        Southern District of Florida


                    KIPU SYSTEMS LLC                                    )
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                   ZENCHARTS LLC, et al                                 )
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                            Defendant(s)                                )

                                                    SUMMONS IN A            CIVI   ACTION

To:   (Defendant's name and address)       CALLAHAN HOLDINGS, lNC.
                                           c/o Seamus Callahan, Registered Agent
                                           150 East Palmetto Park Road, #800
                                           Boca Raton, FL 33432




          A lawsuit has been filed against you.

          Within   2l   days after   selice of this summons     on you (not counting the day you received it)            or 60 days if you
                                                                                                                   -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. n  (AQ) or (3) you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                        -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or                plaintiff   s attorney,
whose name and address are: Robert H. Thornburg
                                           ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                           1221 BrickellAvenue, Suite 2400
                                           Miami, FL 33131
                                           (305) 374-8303
                                           rthornburg@allendyer.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
 Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 156 of
                                         162
  Case L:L7-cv-24733-XXXX Document 1-13 Entered on FLSD Docket 1213112017 Page 1 of 1-

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      Umrpo Srarns Drsrrucr CoURT
                                                                  for the

                                                       Southern District of Florida


                    KIPU SYSTEMS LLC                                 )
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                            Plaintiff(s)                             )
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                                                                     )      Civil Action No.
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                   ZENCHARTS LLC, et al                              )
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                           Defendant(s)                              )

                                                    SUMMONS IN A         CIVI   ACTION

To:   (Defendant's name and address)       RICHARD "RICK" GLASER
                                           7777 Glades Road, Suite 100
                                           Boca Raton, FL 33434




          A lawsuit has been filed against you.

          Within   2l days after seruice of this summons       on you (not counting the day you received it)        or 60 days if you
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are flre United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)    you must serve oR the plaintiff an answer to the attaclred complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburg
                                ALLEN, DYER, DOPPELT + GILCHRIST, P,A.
                                1221 Brickell Avenue, Suite 2400
                                Miami, FL 3313'1
                                (305) 374-8303
                                rthornburg@allendyer.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or nrotion with the court.



                                                                                CLERK OF COURT


Date
                                                                                          Signature of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 157 of
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      Uxtrpn Srarps Drsrnrcr CoURT
                                                                   for the

                                                       Southern District of Florida


                    KIPU SYSTEMS LLC                                   )
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                  ZENCHARTS LLC, et al                                 )
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                           Defendant(s)                                )

                                                   SUMMONS IN A            CIVI   ACTION

To:   (Defendant's name and address)      KEITH HOULIHAN a/k/a KEITH HOOTIE
                                          18008 JazzLane
                                          Boca Raton, FL 33496




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)     or 60 days if you
                                                                                                                 -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburg
                                          ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                          1221 BriekellAvenue, Suite 2400
                                          Miami, FL 33131
                                          (305) 374-8303
                                          rthorn burg@allendyer. com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with tlre court.



                                                                                  CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 158 of
                                       162
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNrrpo Srarps Drsrrucr CoURT
                                                                             for the

                                                              Southern District of Florida


                      KIPU SYSTEMS LLC                                          )
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                              Plaintiff(9                                       )
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                    ZENCHARTS LLC, et al                                        )
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                             Defendant(s)                                       )

                                                        SUMMONS IN A                CIVI     ACTION

To:   (Defendant's name and address)        SEAN CALLAHAN
                                            11680 Tundra Drive, Unit 3103
                                            North Fort Myers, FL 33917




          A lawsuit has been filed against you.

           Within 2l days after seruice of this summons on you (not counting the day you received it)                                            or 60 days if you
are the United States or a United States agency, ol'all officer or employee of the United States described in Fed. R. Civ.            -
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the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburg
                                            ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                            1221 BrickellAvenue, Suite 2400
                                            Miami, FL 33131
                                            (305) 374-8303
                                            rthornburg@allendyer.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the cornplaint.
You also must file your answer or notion with the court.



                                                                                              CLERK OF COURT


Date
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Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 159 of
                                       162
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A0 440 (Rev. 06/12) Summons in a Civil Action


                                      Umren SrarBs Drsrrucr CoURT
                                                                   for the
                                                        Southern District of Florida


                    KIPU SYSTEMS LLC                                    )
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                                                                        )      Civil Action No
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                  ZENCHARTS LLC, et al                                  )
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                           Defendant(s)                                 )

                                                    SUMMONS IN A            CIVI   ACTION

To:   (Defendant's name and address)       DANIEL J. CALLAHAN
                                           6115 Lyons Road
                                           Coconut Creek, FL 33073




          A lawsuit has been filed against you

          Within 21 days after service of this sumrrons on you (not counting the day you received it)                 or 60 days if you
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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attolney,
whose name and address         are: Robert H. Thornburg
                                           ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                           1221 BrickellAvenue, Suite 2400
                                           Miami, FL 33'131
                                           (305) 374-8303
                                           rthorn burg@allendyer. com

       If you fail to respond, judgrnent by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date
                                                                                            Signature of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 160 of
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AO 440 (Rev. 06/12) Sumrnons in a Civil Action


                                             Umrsn Srarps Drsrrucr CoURT
                                                                                   for the

                                                                   Southern District of Florida


                      KIPU SYSTEMS LLC                                                )
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                    ZENCHARTS LLC, et al                                              )
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                                                                                      )
                               Defendant(s)                                           )

                                                             SUMMONS IN A                  CIVL ACTION
To:   (Defendant's name and address)           SEAMUS CALLAHAN
                                               '150 East Palmetto Park Road, Suite 800
                                               Boca Raton, FL 33432


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           A lawsuit has been filed against you                                                                                                                               I
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         Within 2l days after seruice of this summons on you (not counting the day you received it)     or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.                     -
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                           -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Robert H. Thornburg
                                ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                1221 BrickellAvenue, Suite 2400
                                               Miami, FL 33131
                                               (305) 374-8303
                                               rthornburg@allendyer.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with tlre court.



                                                                                                     CLEKKOF COURT


Date:
                                                                                                                    Signature of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 161 of
                                       162
 Case t:I7-cv-24733-XXXX Document 1-18 Entered on FLSD Docket I2l3Ll2OI7 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UmrEo SrarBs Drsrnrcr CoURT
                                                                   for the

                                                        Southern District of Florida


                    KIPU SYSTEMS LLC                                     )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )   Civil Action No.
                                                                         )
                   ZENCI-{ARTS LLC, et al                                )
                                                                         )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)       YANKO KARKALICHEV
                                           '16145 State Road 7, Unit D
                                           Delray Beach, FL 33446




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)                    or 60 days if you
are the United States or a United States agency, or an officer or employee
                                                                                                                 - in Fed. R. Civ.
                                                                                       of the United States described
P . 12 (a)(2) or (3)  you must selve on the plaintiff an answer to the attaclied complaint or a motion under Rule 1 2                of
                       -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attol'ney,
whose name and address          are:       Roberl H. Thornburg
                                           ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                           1221 BrickellAvenue, Suite 2400
                                           Miami, FL 33131
                                           (305) 374-8303
                                           rthorn burg@allendyer.com

          If you fail to respond, judgment by default will        be entered against you for the relief demanded in the complaint.
You also must file your answer or lrotion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                             Signatr.tre of Clerk or Deputy Clerk
Case 0:18-cv-60839-CMA Document 5-1 Entered on FLSD Docket 04/18/2018 Page 162 of
                                       162
 Case I:17-cv-24733-XXXX Document 1-19 Entered on FLSD Docket I2l3J,l20t7 page 1- of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


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                                                                    for the
                                                        Southern District of Florida


                    KIPU SYSTEMS LLC                                    )
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                                V                                       )     Civil ActionNo
                                                                        )
                   ZENCHARTS LLC, et al                                 )
                                                                        )
                                                                        )
                                                                        )
                          Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)      ANTON ALADZHOV
                                          16145 State Road 7, Unit D
                                          Delray Beach, FL 33446




          A lawsuit has been filed against you.

          Within   2l
                    days after service of this summons on you (not counting the day you received it)      or 60 days if you
are the United States or a                                                                                      -
                           Unitcd Statcs agency, or an officer or employee of the United States tlescribetl in Fetl. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                      -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s altorney,
whose name and address         ale:
                                  Robert H. Thornburg
                                          ALLEN, DYER, DOPPELT + GILCHRIST, P.A.
                                          1221 Brickell Avenue, Suite 2400
                                          Miami, FL 33'131
                                          (305) 374-8303
                                          rthorn burg@allen dyer. com


       If you fail to respond, judgrnent by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with tlre court.



                                                                                CLEKKOF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
